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                         UNITED STATES DISTRICT COURT
  11
                        CENTRAL DISTRICT OF CALIFORNIA
  12
       Yalcin Ayasli,                         CASE NO. 2:20-cv-09388-CAS-PD
  13
                        Plaintiff,
  14
             v.                               VERIFIED FIRST AMENDED
  15                                          COMPLAINT
       Sezgin Baran Korkmaz; Lev Aslan
  16   Dermen; Jacob Ortell Kingston; Isaiah
       Elden Kingston; Fatih Akol; Kamil
  17   Feridun Ozkaraman; Washakie
       Renewable Energy, LLC; SBK
  18   Holdings A. S., Inc.; SBK Holdings
       USA, Inc.; Bugaraj Elektronik Ticaret
  19   ve Bilisim Hizmetleri A.S.; Mega      JURY TRIAL DEMANDED
       Varlik Yonetim A.S.; Alptekin Yilmaz;
  20   Olessia Zoubkova; Bukombin Bilisim
       ve Teknoloji Anonim Sirketi; Noil
  21   Energy Group, Inc.; Speedy Lion
       Renewable Fuel Investments, LLC;
  22   G.T. Energy, LLC; United Fuel Supply,
       LLC; Isanne, Biofarma Ilac Sanayi ve
  23   Ticaret A.S.; Blane Teknoloji
       Sistemleri Sanayi Ve Ticaret Anonim
  24   Sirketi; Stone Isi Yalitim Sanayi Ve
       Ticaret Anonim Sirketi; and Komak Isi
  25   Yalitim Sistemleri;
  26                    Defendants.
  27
  28

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   1        Plaintiff Yalcin Ayasli (“Dr. Ayasli”) brings this Complaint for violations of
   2 the Racketeer Influenced and Corrupt Organizations Act (18 U.S.C. § 1964(c))
   3 (“RICO”) against Defendants Sezgin Baran Korkmaz; Lev Aslan Dermen; Jacob
   4 Ortell Kingston; Isaiah Elden Kingston; Fatih Akol; Kamil Feridun Ozkaraman;
   5 Washakie Renewable Energy, LLC; SBK Holdings A. S., Inc.; SBK Holdings
   6 USA, Inc.; Bugaraj Elektronik Ticaret ve Bilisim Hizmetleri A.S.; Mega Varlik
   7 Yonetim A.S.; Alptekin Yilmaz; Olessia Zoubkova; Bukombin Bilisim ve
   8 Teknoloji Anonim Sirketi; Noil Energy Group, Inc.; Speedy Lion Renewable Fuel
   9 Investments, LLC; G.T. Energy, LLC; United Fuel Supply, LLC; Isanne, Biofarma
  10 Ilac Sanayi ve Ticaret A.S.; Blane Teknoloji Sistemleri Sanayi Ve Ticaret Anonim
  11 Sirketi; Stone Isi Yalitim Sanayi Ve Ticaret Anonim Sirketi; and Komak Isi Yalitim
  12 Sistemleri; and alleges as follows:
  13                                   INTRODUCTION
  14        1.     Featuring a continuous pattern of racketeering that has endured for
  15 more than a decade, this case began with a half billion dollar fraudulent fuel tax
  16 credit scheme (“U.S.-based Fraudulent Fuel Tax Credit Scheme”) perpetrated
  17 against the U.S. Government by a RICO Enterprise that was founded, and
  18 principally operated in, Los Angeles, California and Salt Lake City, Utah.
  19        2.     The U.S.-based RICO Enterprise, led by Defendant Lev Aslan Dermen
  20 (“DERMEN,” formerly known as Levon Termendzhyan), employed a sophisticated
  21 scheme involving trucks, trains, freighters, shell companies, and false invoices to
  22 fleece the U.S. Treasury out of more than $470 million in renewable fuel credits
  23 (“Fraud Proceeds”) without producing any qualifying renewable fuel.
  24        3.     The co-conspirators then laundered over $300 million of the Fraud
  25 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme through the
  26 Turkey-based arm of the RICO Enterprise, which was led by Defendant Sezgin
  27 Baran Korkmaz (“Defendant KORKMAZ”). Defendant KORKMAZ used an
  28 elaborate network of primarily Turkish shell companies under his dominion and

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  1 control to “invest” more than $133 million in Fraud Proceeds that the Enterprise
  2 directed to remain in Turkey, or to conduct “round trip” transactions where the
  3 balance of the Fraud Proceeds were returned to the U.S. for the continued use of the
  4 RICO Enterprise.
  5        4.     Having generated almost a half-billion dollars in just a few years’
  6 time, the RICO Enterprise then devised another scheme, similarly grand in scope,
  7 and first announced in the spring of 2016 at a Los Angeles meeting: to use funds
  8 from the U.S.-based Fraudulent Fuel Tax Credit Scheme to conduct the takeover of
  9 BoraJet, a Turkish regional airline backed by Dr. Ayasli, a Turkish-American
 10 businessman. In short order, this scheme would develop into a multi-staged effort
 11 to divest Dr. Ayasli of his business and property by: (1) destabilizing and devaluing
 12 BoraJet so that it could be acquired greatly below its market value; (2) forcing Dr.
 13 Ayasli to use his personal funds to pay off more than $28 million of BoraJet’s
 14 existing debt; and (3) extracting tens of millions of dollars in additional payments
 15 from Dr. Ayasli through manufactured claims of fraud and acquiring liens on Dr.
 16 Ayasli’s commercial and residential real estate interests in Turkey valued at
 17 approximately $150 million through which it could then acquire or liquidate these
 18 properties.
 19        5.     In July 2016, a failed coup attempt, since tied to exiled cleric Fetullah
 20 Gulen, was launched against the government of Turkey. In the aftermath, the
 21 Turkish government quickly, forcefully, and publicly cracked down on individuals
 22 and businesses within Turkey associated in any manner with Gulen or his “FETO”
 23 movement, with tens of thousands people arrested -- many of whom were
 24 imprisoned and stripped of their property.
 25        6.     Seizing the opportunity presented by the attendant chaos and media
 26 frenzy, and using the nearly limitless Fraud Proceeds available to it from the U.S.-
 27 based Scheme, the RICO Enterprise executed its plan to acquire BoraJet and to
 28 target Dr. Ayasli’s broader wealth. Led by Defendant KORKMAZ, the RICO

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  1 Enterprise conducted a relentless and devastatingly effective media disinformation
  2 campaign, advanced by journalists operating under Defendant KORKMAZ’s
  3 influence, that falsely, repeatedly, and prominently tied Dr. Ayasli and BoraJet to
  4 Gulen, FETO and the coup attempt.
  5        7.     Meanwhile, Defendant KORKMAZ, using Fraud Proceeds from the
  6 U.S.-based Fraudulent Fuel Tax Credit Scheme, curried favor with individuals at
  7 the highest levels of Turkish business and government, both through political and
  8 charitable donations and by publicly touting his association with what he falsely
  9 identified as a U.S.-based investment team (i.e., Defendants DERMEN and
 10 KINGSTON, the leaders of the RICO Enterprise) that was investing hundreds of
 11 millions of dollars of Fraud Proceeds into Turkish companies.
 12        8.     Unable to return to Turkey to properly defend himself, his business, or
 13 his property, Dr. Ayasli watched in disbelief from the United States as the
 14 withering media disinformation campaign waged against him caused the value of
 15 BoraJet to plummet from an appraised value in the hundreds of millions of dollars
 16 to nearly nothing in under four months. During this time, Turkish Airlines
 17 cancelled its codeshare and wet lease agreements with BoraJet, wanting nothing to
 18 do with a FETO-tainted brand. Banks called their loans and terminated lines of
 19 credit for the same reason. Dr. Ayasli was placed under significant financial
 20 duress, forced to spend tens of millions of dollars of his own savings to try to keep
 21 BoraJet operational and satisfy the company’s financial obligations.
 22        9.     After placing Dr. Ayasli and BoraJet under sufficient duress,
 23 Defendant KORKMAZ, through Defendant BUGARAJ, and, aided by others
 24 including BoraJet’s General Manager, Defendant Fatih AKOL, fraudulently caused
 25 Dr. Ayasli to sell BoraJet, as well as Dr. Ayasli’s private long-range XRS Global
 26 executive aircraft, held by Aydin Jet, to the RICO Enterprise.
 27        10.    As first demonstrated through its U.S.-based Fraudulent Fuel Tax
 28 Credit Scheme, the brazenness through which the Enterprise pursued additional

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  1 funds increased exponentially with each success. Almost immediately after
  2 acquiring BoraJet, it subsequently targeted Dr. Ayasli’s broader wealth through a
  3 series of sham criminal and civil lawsuits. Most notably, Defendant KORKMAZ
  4 filed a criminal terrorism complaint alleging that Dr. Ayasli was a FETO member
  5 and principal coup-plotter. Other cases advanced trumped-up criminal and civil
  6 fraud charges. The RICO Enterprise aggressively pursued these cases utilizing
  7 Fraud Proceeds from the U.S.-based Scheme to hire lawyers; file complaints; bribe
  8 witnesses, experts, and others; pursue liens on Dr. Ayasli’s more than $150 million
  9 in Turkish real estate holdings; and attempt to coerce Dr. Ayasli into paying tens of
 10 millions of additional dollars from his U.S.-based accounts to settle these sham
 11 suits.
 12          11.   As was the case with its mail fraud scheme, the RICO Enterprise’s
 13 initial efforts proved successful. Under Defendant KORKMAZ’s influence and
 14 representations, the Turkish anti-terror police raided the offices of Dr. Ayasli’s
 15 legal counsel, seized computers and documents, and detained his lawyers. Dr.
 16 Ayasli’s CFO was arrested and imprisoned. Travel bans were imposed. At a
 17 hearing in which Dr. Ayasli was neither present nor represented by counsel, a
 18 Turkish court imposed a substantial damage award and granted liens to Defendant
 19 BUGARAJ on all of Dr. Ayasli’s commercial and residential properties in Turkey.
 20 While the decision granting those liens was (and remains) on appeal in Turkey,
 21 Defendant BUGARAJ commenced auctions on some of the most commercially
 22 prominent or personally meaningful properties as the Enterprise brazenly sought to
 23 pillage Dr. Ayasli’s residential properties of their substantial collections of period
 24 furniture and artwork and fought to secure financial windfalls by breaking Dr.
 25 Ayasli’s spirit.
 26          12.   The artifice of the RICO Enterprise, however, is now crumbling. Its
 27 three founding members, Defendants DERMEN, KINGSTON, and ISAIAH
 28 KINGSTON, were arrested by federal authorities in the District of Utah in August

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  1 2018 on sweeping fraud, money laundering, and obstruction of justice charges. The
  2 KINGSTONS subsequently pled guilty to three dozen felony counts. Defendant
  3 DERMEN proceeded to a jury trial where he was convicted in March 2020 of the
  4 ten counts of money laundering and mail fraud with which he was charged.
  5 Defendant KORKMAZ was charged in a companion indictment, captured while
  6 hiding in Austria after fleeing Turkey, and recently extradited to the United States.
  7 He presently awaits trial in the District of Utah on an indictment that alleges
  8 multiple counts of conspiracy to commit money laundering, wire fraud, and
  9 obstruction of justice and that expressly references how the Enterprise’s Fraud
 10 Proceeds were used to invest in the companies that “acquire[d] a Turkish airline
 11 called BoraJet and an aviation company in Turkey named Aydin Jet, which later
 12 changed to SBK Air.”
 13         13.     The Turkish government also indicted Defendants KORKMAZ,
 14 DERMEN, KINGSTON and ISAIAH KINGSTON, and other members of the
 15 RICO Enterprise, on parallel money laundering charges based on these Defendants
 16 laundering Fraud Proceeds to, and through, Turkey.
 17         14.     Dr. Ayasli, however, remains the victim of this whole affair. The
 18 RICO Enterprise defrauded him out of BoraJet, in which he invested over $240
 19 million and which had been valued as a going concern just before the coup attempt
 20 at more than $300 million. It also fraudulently acquired his XRS executive jet and
 21 liquidated one of Dr. Ayasli’s significant properties, worth tens of millions of
 22 dollars, while attempting to liquidate others. It now holds restrictive liens on the
 23 remainder of Dr. Ayasli’s Turkish commercial and residential properties, valued at
 24 more than $150 million, and it repeatedly has targeted Dr. Ayasli's broader wealth
 25 through extortion. Dr. Ayasli brings this suit in an effort to recover damages for
 26 those losses.
 27
 28

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  1                     THE PARTIES AND RELEVANT NON-PARTIES
  2                                                Plaintiff
  3            15.    Plaintiff Dr. Yalcin Ayasli (“Dr. Ayasli”), an individual, is a dual
  4 United States and Turkish citizen.1
  5            16.    Dr. Ayasli is domiciled, and maintains his primary residence, in
  6 Concord, Massachusetts.2
  7                                       The RICO Enterprise
  8            17.    The RICO Enterprise is comprised of a number of individuals and
  9 business entities, some of whom/which are named in this Complaint as Defendants,
 10 and others who are included in the Complaint as non-party co-conspirators.
 11            18.    The members and associates of the RICO Enterprise include, but are
 12 not limited to, Defendants Sezgin Baran Korkmaz (“KORKMAZ”), Lev Aslan
 13 Dermen (f/k/a Levon Termendzhyan) (“DERMEN”), Jacob Ortell Kingston
 14 (“KINGSTON”) and Isaiah Kingston (“ISAIAH KINGSTON”) (and collectively
 15 “the KINGSTONS”), Fatih Akol (“AKOL”), Kamil Feridun Özkaraman
 16 (“OZKARAMAN”)3, Washakie Renewable Energy, LLC (“WASHAKIE”), SBK
 17 Holdings, A.S. (“SBK TURKEY”), SBK Holdings USA, Inc. (“SBK USA”)4,
 18 Bugaraj Elektronik Ticaret ve Billisim Hizmetleri A.S. (“BUGARAJ”), Mega
 19 Varlik Yonetim A.S. (“MEGA VARLIK”)5, Alptekin Yilmaz (“YILMAZ”),
 20
         1
 21        In cases of dual citizenship, only the U.S. citizenship is recognized in the diversity analysis.
      See 15-102 Moore’s Federal Practice Civil §§ 102.70, 102.37.
 22      2
         Dr. Ayasli’s full address is not provided herein due to legitimate concerns for his safety and
    the safety of his family members given specific threats made against him and his family by
 23
    members of the RICO Enterprise.
 24      3
         OZKARAMAN defaulted in the United States District Court for the District of New
      Hampshire.
 25
         4
             SBK USA defaulted in the United States District Court for the District of New Hampshire.
 26      5
         MEGA VARLIK was dismissed from this case without prejudice in the United States
 27 District Court for the District of New Hampshire due to that Court’s lack of personal jurisdiction.
    The Plaintiffs subsequently discovered the substantial nexus that Defendant MEGA VARLIK has
 28 with the United States, justifying MEGA VARLIK being added as a Defendant in this

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  1 Olessia Zoubkova (“ZOUBKOVA”), Bukombin Bilisim ve Teknoloji Anonim
  2 Sirketi (“BUKOMBIN”), Noil Energy Group, Inc. (“NOIL ENERGY”), Speedy
  3 Lion Renewable Fuel Investments, LLC (“SPEEDY LION”), G.T. Energy, LLC
  4 (“GT ENERGY”), United Fuel Supply, LLC (“UNITED FUEL SUPPLY”),
  5 Isanne (“ISANNE”), Biofarma Ilac Sanayi ve Ticaret A.S. (“BIOFARMA”), Blane
  6 Teknoloji Sistemleri Sanayi ve Ticaret Anonim Sirketi (“BLANE”), Stone Isi
  7 Yalitim (“STONE”), Komak Isi Yalitim Sistemleri Sanayi ve Ticaret Limited
  8 Sirketi (“KOMAK”), and non-defendant co-conspirators George Termendzhyan
  9 (“TERMENDZHYAN”), Cuneyt Ozen (“OZEN”), Umut Uygun (“UYGUN”),
 10 and Caglar Sendil (“SENDIL”).
 11                                       Defendants
 12                            SEZGIN BARAN KORKMAZ
 13         19.     Defendant Sezgin Baran Korkmaz (“KORKMAZ”), an individual,
 14 is a citizen of the Republic of Turkey (“Turkey”) and is domiciled in Turkey.
 15         20.     Defendant KORKMAZ’s initials, “SBK”, form the names of two of
 16 the most prominent of his many affiliated companies, SBK TURKEY and SBK
 17 USA, both of which were central to these affairs, and both of which are described
 18 further below.
 19         21.     Defendant KORKMAZ is the leader of the RICO Enterprise’s Turkish
 20 operations and, at all times relevant to this Complaint, either actually controlled or
 21 maintained a controlling financial interest in Turkey-based Defendants SBK
 22 TURKEY, BUKOMBIN, BUGARAJ, MEGA VARLIK, KOMAK, BLANE, and
 23 STONE, and Luxembourg-based ISANNE.
 24         22.     Defendant KORKMAZ was initially named as an “unindicted co-
 25 conspirator” in the 2018 criminal indictment of Defendants DERMEN,
 26 KINGSTON, ISAIAH KINGSTON, and others in the United States District Court
 27
 28 jurisdiction.

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  1 for the District of Utah, No. CR 18-365-JNP-BCW (hereinafter the
  2 “Dermen/Kingston Criminal Proceeding”).
  3          23.   On December 4, 2020, Defendant KORKMAZ fled the Republic of
  4 Turkey.
  5          24.   On December 31, 2020, Turkish prosecutors issued an arrest warrant
  6 for Defendant KORKMAZ for his role in laundering money in connection with the
  7 $470 million U.S.-based Fraudulent Fuel Tax Credit Scheme established in the
  8 Dermen/Kingston Criminal Proceeding.
  9          25.   On April 1, 2021, Defendant KORKMAZ was indicted on one count
 10 of conspiring to commit money laundering and one count of obstruction of justice
 11 in the United States District Court for the District of Utah, No. CR 21-140-JNP
 12 (hereinafter the “Korkmaz Criminal Proceeding”) based on Defendant
 13 KORKMAZ’s laundering of funds derived from the U.S.-based Fraudulent Fuel
 14 Tax Credit Scheme that were the centerpiece of the Dermen/Kingston Criminal
 15 Proceeding.
 16          26.   On April 14, 2021, Defendant KORKMAZ was indicted in Turkey on
 17 one count of “Laundering Assets Derived from Criminal Activity.” Defendants
 18 DERMEN, KINGSTON, OZKARAMAN, YILMAZ, and ZOUBKOVA were all
 19 similarly charged. Defendants SBK HOLDING, MEGA VARLIK, BLANE,
 20 ISANNE, and KOMAK, among other companies, were also named and implicated
 21 in the Turkish criminal indictment as “Financially Liable” entities (“the
 22 Korkmaz/Dermen/Kingston Turkish Indictment”). The conduct underlying these
 23 indictments involved the receipt of funds derived from, and conduct tied directly to,
 24 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme. 6
 25
         6
 26      On April 1, 2021, while a fugitive from both U.S. and Turkish authorities, Defendant
    KORKMAZ was convicted in abstentia in the Turkish 4th Major Crimes Court, arising from a
 27 scheme in which Defendant KORKMAZ and several other individuals, forged a promissory note
    for 12 million liras and then attempted to extort that amount from the victim whose name had
 28 been forged. Defendant KORKMAZ was sentenced to 70 months imprisonment. The case

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  1            27.   On April 28, 2021, Defendant KORKMAZ was indicted in the United
  2 States, in a First Superseding Indictment, which added ten counts of wire fraud to
  3 the initial two count indictment in the Korkmaz Criminal Proceeding. The First
  4 Superseding Indictment expressly references how laundered funds from the U.S.-
  5 based Fraudulent Fuel Tax Credit Scheme were used in the acquisition of BoraJet
  6 and Aydin Jet.
  7            28.   Defendant KORKMAZ, who had remained a fugitive since fleeing
  8 Turkey, was arrested by authorities in Austria on June 19, 2021 at the request of the
  9 United States Department of Justice in connection with the First Superseding
 10 Indictment.
 11            29.   Defendant KORKMAZ was extradited to the United States on July 15,
 12 2022. He pleaded “not guilty” at his arraignment and remains detained as a flight
 13 risk pending trial.
 14            30.   Defendant KORKMAZ has retained U.S.-based counsel.
 15            31.   Defendant KORKMAZ is an individual existing separate and distinct
 16 from the RICO Enterprise.
 17                                   LEV ASLAN DERMEN
 18            32.   Defendant Lev Aslan DERMEN (“DERMEN”) f/k/a Levon
 19 Termendzhyan,7 an individual, is a U.S. citizen who, at all times relevant to this
 20 Complaint, was domiciled in Beverly Hills, California.
 21            33.   Defendant DERMEN is the leader of the RICO Enterprise, and, at all
 22 times relevant to this Complaint, either actually controlled or maintained a
 23
 24
 25 currently is on appeal.
         7
             DERMEN changed his name from Levon Termendzhyan in mid-2017, after the sale of
 26 BoraJet to the RICO Enterprise. DERMEN chose “Aslan,” which means “lion” in Turkish, as his
      new middle name, while his last name Dermen is nearly identical to the common Turkish
 27 surname Dermen. According to testimony from the Dermen/Kingston Criminal Proceeding,
 28 Dermen was arrested while attempting to flee to Turkey.

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  1 controlling financial interest in U.S.-based Defendants SBK USA, NOIL
  2 ENERGY, SPEEDY LION, GT ENERGY, and UNITED FUEL SUPPLY.
  3        34.    On March 16, 2020, after a jury trial in the United States District Court
  4 for the District of Utah, Defendant DERMEN was convicted at trial of nine felony
  5 counts of money laundering and one felony count of conspiracy to commit mail
  6 fraud in the Dermen/Kingston Criminal Proceeding.
  7        35.    Defendant DERMEN is incarcerated and awaiting sentencing on those
  8 charges.
  9        36.    On April 14, 2021, Defendant DERMEN was indicted in Turkey on
 10 one count of “Laundering Assets Derived from Criminal Activity” as part of the
 11 Korkmaz/Dermen/Kingston Turkish Indictment. The conduct underlying this
 12 indictment involved the receipt of funds derived from, and conduct tied directly to,
 13 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme.
 14        37.    Defendant DERMEN is an individual existing separate and distinct
 15 from the RICO Enterprise.
 16                           JACOB ORTELL KINGSTON
 17        38.    Defendant Jacob Ortell Kingston (“KINGSTON”), an individual, is
 18 a United States citizen who, at all times relevant to this Complaint, was domiciled
 19 in Utah.
 20        39.    Defendant KINGSTON held an ownership interest in U.S. and Turkey-
 21 based businesses tied to the RICO Enterprise, including Defendants WASHAKIE,
 22 SBK USA, UNITED FUEL SUPPLY, MEGA VARLIK, BLANE and KOMAK.
 23        40.    Defendant KINGSTON was the signatory on many of the wire
 24 transfers used to launder Fraud Proceeds from Defendant WASHAKIE (1) to
 25 Defendant SBK USA in the United States; (2) from Defendant WASHAKIE to
 26 Defendants SBK TURKEY, MEGA VARLIK, BLANE and KOMAK in Turkey;
 27 and (3) from Defendant WASHAKIE to Defendant ISANNE in Luxembourg.
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  1        41.    Defendant KINGSTON, as part of a cooperation plea agreement, pled
  2 guilty to more than three dozen felony counts of mail fraud, money laundering,
  3 conspiracy and obstruction of justice in the Dermen/Kingston Criminal Proceeding.
  4        42.    Defendant KINGSTON is incarcerated and awaiting sentencing in the
  5 Dermen/Kingston Criminal Proceeding.
  6        43.    On April 14, 2021, Defendant KINGSTON was indicted in Turkey on
  7 one count of “Laundering Assets Derived from Criminal Activity” as part of the
  8 Korkmaz/Dermen/Kingston Turkish Indictment. The conduct underlying this
  9 indictment involved the receipt of funds derived from, and conduct tied directly to,
 10 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme.
 11        44.    Defendant KINGSTON is an individual existing separate and distinct
 12 from the RICO Enterprise.
 13                            ISAIAH ELDEN KINGSTON
 14        45.    Defendant Isaiah Elden Kingston (“ISAIAH KINGSTON”), an
 15 individual, is a United States citizen domiciled in Utah.
 16        46.    Defendant ISAIAH KINGSTON was the signatory on many of the
 17 wire transfers used to launder Fraud Proceeds from Defendant WASHAKIE to
 18 Defendant SBK TURKEY and other Turkey-based entities controlled by the RICO
 19 Enterprise.
 20        47.    Defendant ISAIAH KINGSTON, as part of a cooperation plea
 21 agreement, pled guilty to 19 felony counts of mail fraud, money laundering, and
 22 obstruction of justice.
 23        48.    Defendant ISAIAH KINGSTON is incarcerated and awaiting
 24 sentencing in the Dermen/Kingston Criminal Proceeding.
 25        49.    Defendant KINGSTON is an individual existing separate and distinct
 26 from the RICO Enterprise.
 27
 28

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  1                                    FATIH AKOL
  2        50.    Defendant Fatih Akol (“AKOL”), an individual, is a Turkish citizen
  3 domiciled in the State of New Jersey.
  4        51.    Defendant AKOL was the General Manager and Chairman of the
  5 Board of Directors of BoraJet, the airline owned by Dr. Ayasli, from April 2014
  6 until the sale of BoraJet in December 2016.
  7        52.    Defendant AKOL served as BoraJet’s sole negotiator in the fraudulent
  8 and coerced sale of BoraJet and its affiliates, BoraJet Bakim and Aydin Jet, to
  9 Defendant BUGARAJ in December 2016.
 10        53.    Defendant AKOL remained employed as BoraJet’s General Manager,
 11 working for Defendant KORKMAZ and his associates, until February 2017.
 12        54.    Defendant AKOL also serves as the Founder and Chairman of
 13 RoboAir, Inc., a California-based Internet travel booking service founded in August
 14 2018 with a principal place of business at 530 Lytton Avenue, Palo Alto, CA
 15 94301.
 16        55.    Defendant AKOL is an individual existing separate and apart from the
 17 RICO Enterprise.
 18                         KAMIL FERIDUN ÖZKARAMAN
 19        56.    Defendant Kamil Feridun Özkaraman (“OZKARAMAN”), an
 20 individual, is a Turkish citizen domiciled in the Republic of Turkey.
 21        57.    Defendant OZKARAMAN is a certified public accountant.
 22        58.    Defendant OZKARAMAN is a close business associate of Defendant
 23 KORKMAZ.
 24        59.    Defendant OZKARAMAN laundered Fraud Proceeds from the U.S.-
 25 based Tax Credit Fraud Scheme through accounts in Turkey and the United States
 26 on behalf of various entities in the RICO Enterprise.
 27
 28

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  1          60.   Defendant OZKARAMAN acted on behalf of Defendant SBK
  2 TURKEY, Defendant BUKOMBIN, and Defendant BUGARAJ in helping those
  3 entities fraudulently acquire BoraJet from Dr. Ayasli on December 29, 2016.
  4          61.   On April 14, 2021, Defendant OZKARAMAN was indicted in Turkey
  5 on one count of “Laundering Assets Derived from Criminal Activity” as part of the
  6 Korkmaz/Dermen/ Kingston Turkish Indictment. The conduct underlying this
  7 indictment involved the receipt of funds derived from, and conduct tied directly to,
  8 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme.
  9          62.   Defendant OZKARAMAN is an individual existing separate and
 10 distinct from the RICO Enterprise.
 11                    WASHAKIE RENEWABLE ENERGY, LLC
 12          63.   Defendant WASHAKIE is a Utah limited liability company with a
 13 principal place of business at 624 N. 300 W, Salt Lake City, UT, 84103-1308.
 14          64.   As of January 7, 2013, Defendant WASHAKIE described itself on its
 15 website as "Utah's largest producer of clean burning and sustainable biodiesel."
 16          65.   As of November 10, 2013, Defendant WASHAKIE described itself on
 17 its website as “The largest producer of biodiesel and chemicals in the intermountain
 18 west.”
 19          66.   Defendant KINGSTON was the Chief Executive Officer and 50%
 20 shareholder in Defendant WASHAKIE.
 21          67.   Defendant ISAIAH KINGSTON was the Chief Financial Officer and
 22 50% shareholder in Defendant WASHAKIE.
 23          68.   Defendants DERMEN, KINGSTON and ISAIAH KINGSTON
 24 devised a scheme to fraudulently obtain U.S. Treasury checks from the IRS by
 25 filing false claims for refundable, renewable fuel tax credits (the “U.S.-based
 26 Fraudulent Fuel Tax Credit Scheme”).
 27          69.   As a result of the Defendants’ U.S.-based Fraudulent Fuel Tax Credit
 28 Scheme, the IRS issued U.S. Treasury checks to Defendant WASHAKIE totaling

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  1 approximately $470 million that Defendant WASHAKIE was not lawfully entitled
  2 to receive.
  3        70.    Defendants KORKMAZ and DERMEN then directed Defendants
  4 KINGSTON and ISAIAH KINGSTON, through Defendant WASHAKIE, to
  5 launder approximately $367 million of the Fraud Proceeds from the U.S.-based
  6 Fraudulent Fuel Tax Credit Scheme through a series of wire transfers between
  7 RICO Enterprise-controlled bank accounts in the United States, Turkey and
  8 Luxembourg, including to Defendants SBK USA, SBK TURKEY, MEGA
  9 VARLIK, and ISANNE.
 10        71.    Defendant WASHAKIE also received $7.1 million in laundered Fraud
 11 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from Defendant
 12 SBK USA.
 13                                   SBK TURKEY
 14        72.    Defendant SBK TURKEY is a Turkish “distressed asset
 15 management” corporation formed on March 8, 2013, with its principal place of
 16 business at Sarıyer Reşitpaşa Mah. Eski Büyükdere Cad. No: 14 K: 9 / B Maslak,
 17 Istanbul, Turkey.
 18        73.    Defendant SBK TURKEY was funded on November 13, 2013 by a
 19 $10 million wire transfer of Fraud Proceeds derived from the U.S.-based Fraudulent
 20 Fuel Tax Credit Scheme from Defendant WASHAKIE. Prior to receiving this seed
 21 capital, Defendant SBK TURKEY had no viable operations.
 22        74.    At all times relevant to this Complaint, Defendant KORKMAZ was
 23 the President and sole shareholder of SBK TURKEY, and the only individual
 24 authorized to act for or bind SBK TURKEY.
 25        75.    Defendants OZKARAMAN and YILMAZ acted as “corporate
 26 representatives” of Defendant SBK TURKEY, but always at the direction of
 27 Defendant KORKMAZ.
 28

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  1        76.   Defendant SBK TURKEY served as the principal conduit through
  2 which the RICO Enterprise laundered Fraud Proceeds from the U.S.-based
  3 Fraudulent Fuel Tax Credit Scheme in Turkey, receiving at least $80 million in
  4 Fraud Proceeds including wire transfers from Defendants WASHAKIE, SBK USA
  5 and NOIL ENERGY.
  6        77.   Defendant SBK Turkey then further disbursed the Fraud Proceeds
  7 derived from the U.S.-based Fraudulent Fuel Tax Credit Scheme by “investing”
  8 those proceeds in other companies in Turkey and Luxembourg.
  9        78.   Defendant SBK TURKEY is the parent company of Defendants
 10 BUKOMBIN and BUGARAJ, the corporate entities used to fraudulently acquire
 11 BoraJet from Dr. Ayasli.
 12        79.   Defendant KORKMAZ, through Defendant SBK TURKEY, similarly
 13 controlled all of the other Turkey-based corporate members of the RICO Enterprise,
 14 including Defendants MEGA VARLIK, BLANE and KOMAK, as well as
 15 Luxembourg-based Defendant ISANNE.
 16        80.   Defendant SBK TURKEY was named as a “financially liable” entity
 17 in the Korkmaz/Dermen/Kingston Turkish Indictment.
 18        81.   Defendant SBK TURKEY is a business entity existing separate and
 19 distinct from the RICO Enterprise.
 20                                        SBK USA
 21        82.   Defendant SBK USA is a California corporation with its principal
 22 place of business at 5801 Randolph Street, Commerce, CA, 90040.
 23        83.   On December 6, 2013, in coordination with Defendant KORKMAZ,
 24 Defendants DERMEN and KINGSTON founded and became 50% shareholders of
 25 Defendant SBK USA.
 26        84.   Defendant SBK USA is the U.S.-based affiliate of Defendant SBK
 27 TURKEY. Both entities are named for, and bear the initials of Defendant (Sezgin
 28 Baran) KORKMAZ.

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  1        85.    Defendant SBK USA purported to be “a commercial and residential
  2 real estate investment firm” and was described on its website as a “short-term
  3 lender” focusing on commercial bridge loans and construction loans.
  4        86.    As was the case with Defendant SBK TURKEY, Defendant SBK USA
  5 was initially funded by a $10 million wire transfer of Fraud Proceeds derived from
  6 the U.S.-based Fraudulent Fuel Tax Credit Scheme from Defendant WASHAKIE
  7 on January 17, 2014. Defendant SBK TURKEY had no operating capital or
  8 ongoing operations prior to receiving this seed capital.
  9        87.    At all times relevant to this Complaint, Defendant DERMEN was the
 10 Chief Financial Officer and director of Defendant SBK USA.
 11        88.    For a period of time relevant to this Complaint, Edgar Sargsyan served
 12 as the President and CEO of Defendant SBK USA.
 13        89.    At no time relevant to this Complaint did Defendant SBK USA hold
 14 the California Finance Lender’s License required to underwrite commercial loans.
 15        90.    Similarly, at no time relevant to this Complaint was Defendant SBK
 16 USA registered at the California Department of Business Oversight as a Financial
 17 Institution, Money Transmitter, or Financial Service Provider.
 18        91.    Similarly, at no time relevant to this Complaint was Defendant SBK
 19 USA registered as a Mortgage Loan Originator with the Nationwide Mortgage
 20 Licensing System.
 21        92.    Similarly, at no time relevant to this Complaint was Defendant SBK
 22 USA registered as a Dealer or Broker with the Financial Industry Regulatory
 23 Authority (“FINRA”).
 24        93.    Defendant SBK USA, as the U.S.-based affiliate of Defendant SBK
 25 TURKEY, served as one of the U.S. “fronts” for the RICO Enterprise’s money
 26 laundering operations between the United States and Turkey.
 27        94.    Defendant SBK USA laundered approximately $46,373,000 million of
 28 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from

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  1 accounts controlled by Defendant SBK USA into various other accounts controlled
  2 by the RICO Enterprise including accounts held by Defendants WASHAKIE and
  3 SBK TURKEY. It also purchased a property in Huntington Beach, California in
  4 the name of Defendant DERMEN for $3,520,085.00.
  5        95.    Defendant SBK USA also received approximately $50 million in
  6 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
  7 accounts controlled by other members of the RICO Enterprise including Defendants
  8 WASHAKIE and ISANNE.
  9        96.    Defendant SBK USA is a business entity existing separate and distinct
 10 from the RICO Enterprise.
 11                                      BUGARAJ
 12        97.    Defendant BUGARAJ is a Turkish entity founded on August 8, 2015
 13 with a principal place of business at İnönü Cad., Hoşgör Sok. No: 3, Çeliktepe,
 14 Kağıthane, İstanbul, Turkey.
 15        98.    Defendant BUKOMBIN was the incorporator, sole shareholder, and
 16 sole director of Defendant BUGARAJ.
 17        99.    Defendant BUGARAJ was a subsidiary of Defendant SBK TURKEY
 18 and was one of the entities utilized by the RICO Enterprise to launder Fraud
 19 Proceeds derived from the U.S.-based Fraudulent Fuel Tax Credit scheme in
 20 Turkey.
 21        100. Defendant BUGARAJ was the entity used by the RICO Enterprise to
 22 fraudulently acquire BoraJet and Aydin Jet from Dr. Ayasli, to subsequently bring a
 23 number of sham lawsuits against Dr. Ayasli and his business associates in an effort
 24 to extort money from him, to acquire liens against Dr. Ayasli’s properties, and to
 25 attempt to liquidate those liens to acquire more of Dr. Ayasli’s personal wealth.
 26        101. Defendant BUGARAJ is a business entity existing separate and
 27 distinct from the RICO Enterprise.
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  1                                   MEGA VARLIK
  2        102. Defendant MEGA VARLIK is a Turkish “financial services”
  3 corporation founded on June 11, 2015 by Defendant KINGSTON at the direction of
  4 Defendants KORKMAZ and DERMEN, with its principal place of business at
  5 Beylerbeyi Mahallesi Iskele, Cad No 16/1 Beylerbeyi Uskudar, Istanbul, Turkey.
  6        103. As was the case with SBK Turkey in November 2013 and SBK USA
  7 in January 2014, Defendant MEGA VARLIK was initially funded by a $10,000,000
  8 USD wire transfer of Fraud Proceeds derived from the U.S.-based Fraudulent Fuel
  9 Tax Credit Scheme in June 2015. Defendant WASHAKIE previously wired this
 10 seed capital to Defendant JACOB KINGSTON’S personal bank account at Garanti
 11 Bank in Istanbul on March 12, 2014. Defendant MEGA VARLIK had no operating
 12 capital or operations prior to receiving these Fraud Proceeds.
 13        104. Defendant KORKMAZ, via his then-assistant, Umut Uygun, sent
 14 Defendant KINGSTON an email on the same date the wire was sent stating:
 15 "Please write an explanation on the transfer document ‘Shareholders equity for
 16 establishment of a bank and asset management company in Turkey.’ Mr. Baran
 17 [Defendant KORKMAZ] will transfer the rest of the capital from a foreign bank
 18 when the bank and asset management Company established and [sic] have the bank
 19 account."
 20        105. That same day, Defendant KORKMAZ, writing on Defendant SBK
 21 TURKEY letterhead, drafted a fraudulent reference letter to the Turkish banking
 22 commission to aid in establishing Defendant MEGA VARLIK as a Turkish Bank.
 23 In providing that required reference, Defendant KORKMAZ falsely claimed to
 24 have “conducted $150 million of work” with Defendant KINGSTON’s company,
 25 Defendant UNITED FUEL SUPPLY. No such work had ever been performed.
 26        106. At all times relevant to this Complaint, Defendant KINGSTON was
 27 the 99% majority shareholder in Defendant MEGA VARLIK.
 28

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  1        107. Defendant KORKMAZ, through his close business associate Caglar
  2 Sendil, assisted Defendant KINGSTON in managing the day-to-day affairs of
  3 Defendant MEGA VARLIK.
  4        108. Defendant MEGA VARLIK also was named as a “financially liable”
  5 entity in the Korkmaz/Dermen/Kingston Turkish Indictment.
  6        109. Defendant MEGA VARLIK is a business entity existing separate and
  7 distinct from the RICO Enterprise.
  8                                ALPTEKIN YILMAZ
  9        110. Defendant Alptekin Yilmaz (“YILMAZ”), an individual, is a
 10 Turkish citizen domiciled in the Republic of Turkey.
 11        111. Defendant YILMAZ acted as a corporate representative of Defendant
 12 SBK TURKEY.
 13        112. Defendant YILMAZ laundered Fraud Proceeds from the U.S.-based
 14 Tax Credit Fraud Scheme through accounts in Turkey and the United States on
 15 behalf of various members of the RICO Enterprise.
 16        113. On April 14, 2021, Defendant YILMAZ was indicted in Turkey on one
 17 count of “Laundering Assets Derived from Criminal Activity” as part of the
 18 Korkmaz/Dermen/ Kingston Turkish Indictment. The conduct underlying this
 19 indictment involved the receipt of funds derived from, and conduct tied directly to,
 20 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme.
 21        114. Defendant YILMAZ is an individual existing separate and apart from
 22 the RICO Enterprise.
 23                               OLESSIA ZOUBKOVA
 24        115. Defendant Olessia Zoubkova (“ZOUBKOVA”), an individual, is a
 25 Turkish citizen domiciled in the Republic of Turkey.
 26        116. Defendant ZOUBKOVA has owned Defendant BLANE (f/k/a SetApp)
 27 since November 16, 2016 when she acquired its shares from Defendant
 28 KINGSTON.

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  1        117. Defendant ZOUBKOVA laundered Fraud Proceeds from the U.S.-
  2 based tax credit fraud and money laundering schemes through accounts in Turkey
  3 and the United States on behalf of various entities in the RICO Enterprise.
  4        118. On April 14, 2021, Defendant ZOUBKOVA was indicted in Turkey
  5 on one count of “Laundering Assets Derived from Criminal Activity” as part of the
  6 Korkmaz/Dermen/ Kingston Turkish Indictment. The conduct underlying this
  7 indictment involved the receipt of funds derived from, and conduct tied directly to,
  8 the operation of the U.S.-based Fraudulent Fuel Tax Credit Scheme.
  9        119. Defendant ZOUBKOVA is an individual existing separate and apart
 10 from the RICO Enterprise.
 11                                      BUKOMBIN
 12        120. Defendant BUKOMBIN is a Turkish entity founded on July 15, 2015
 13 with a principal place of business at Maslak Mah. Dereboyu Cad. Zagra Is Merkezi
 14 No:14/C Sisli, Istanbul, Turkey, 34398.
 15        121. Defendant SBK TURKEY was the incorporator, sole shareholder, and
 16 sole director of Defendant BUKOMBIN.
 17        122. Defendant KORKMAZ was the initial President of Defendant
 18 BUKOMBIN.
 19        123. On May 26, 2017, Defendant SBK TURKEY named Defendant
 20 OZKARAMAN and another Korkmaz business associate to Defendant
 21 BUKOMBIN’s Board of Directors.
 22        124. Defendant BUKOMBIN is the parent company of Defendant
 23 BUGARAJ, and was one of the entities used by SBK TURKEY to fraudulently
 24 acquire BoraJet and Aydin Jet from Dr. Ayasli.
 25        125. Defendant BUKOMBIN is a business entity existing separate and
 26 distinct from the RICO Enterprise.
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  1                                   NOIL ENERGY
  2        126. Defendant NOIL ENERGY is a California corporation established in
  3 2007 with its principal place of business at 5801 Randolph St, Commerce,
  4 California.
  5        127. Defendant DERMEN serves as NOIL ENERGY’s Chairman of the
  6 Board.
  7        128. Defendant NOIL ENERGY was allegedly engaged in the production
  8 of biodiesel fuel.
  9        129. Defendants DERMEN, KINGSTON, KORKMAZ and ISAIAH
 10 KINGSTON used Defendant NOIL ENERGY as one of the entities involved in the
 11 U.S.-based Fraudulent Fuel Tax Credit Scheme.
 12        130. Defendant NOIL ENERGY laundered approximately $20 million of
 13 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme into
 14 various other accounts controlled by the RICO Enterprise in Turkey, including
 15 accounts held by Defendants SBK TURKEY and KOMAK.
 16        131. Defendant NOIL ENERGY also received approximately $1,324,670 of
 17 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
 18 Defendant WASHAKIE.
 19        132. Defendant NOIL ENERGY has an affiliated Turkish company, NOİL
 20 Yatırım İnşaat Turizm Sanayi ve Ticaret A.Ş. in Turkey (“NOIL-TURKEY”).
 21 Defendant DERMEN was the Chairman of the Board of Directors, and Defendant
 22 OZKARAMAN served as NOIL-TURKEY’s sole shareholder.
 23        133. Defendant NOIL ENERGY is a business entity existing separate and
 24 distinct from the RICO Enterprise.
 25                                   SPEEDY LION
 26        134. Defendant SPEEDY LION is a now-dissolved California-based
 27 limited liability company with a principal place of business at 1492 South Lorena
 28 Street, Los Angeles, CA 90023.

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  1        135. Defendant SPEEDY LION was controlled by Defendant DERMEN
  2 and his son George Termendzhyan (“Termendzhyan”).
  3        136. Defendants DERMEN, KINGSTON, KORKMAZ, and ISAIAH
  4 KINGSTON used SPEEDY LION as one of the entities involved in the U.S.-based
  5 Fraudulent Fuel Tax Credit Scheme.
  6        137. Defendant SPEEDY LION sent approximately $20 million of the
  7 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
  8 accounts it controlled in the Central District of California to accounts maintained by
  9 Defendant YILMAZ in Turkey.
 10        138. Defendant SPEEDY LION also received approximately $38 million of
 11 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
 12 accounts controlled by the RICO Enterprise in Turkey, including accounts held by
 13 Defendant YILMAZ on behalf of Defendant BLANE.
 14        139. Defendant SPEEDY LION is a business entity existing separate and
 15 distinct from the RICO Enterprise.
 16                                      GT ENERGY
 17        140. Defendant GT ENERGY is a Nevada-based limited liability
 18 company with a principal place of business at 5801 Randolph Street, Commerce,
 19 California, 90040.
 20        141. Termendzhyan was the Chief Executive Officer of Defendant GT
 21 ENERGY.
 22        142. Defendant GT ENERGY “operates” in both California and Nevada.
 23        143. Defendants DERMEN, KINGSTON, KORKMAZ, and ISAIAH
 24 KINGSTON used Defendant GT ENERGY as one of the entities involved in the
 25 U.S.-based Fraudulent Fuel Tax Credit Scheme, to launder money between U.S.
 26 and Turkish-based entities and accounts controlled by the RICO Enterprise.
 27        144. Defendant GT ENERGY received approximately $43 million of the
 28 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from

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  1 accounts controlled by the RICO Enterprise, including accounts held by Defendant
  2 YILMAZ on behalf of Defendants BLANE and SBK TURKEY.
  3        145. Defendant GT ENERGY also laundered approximately $23 million of
  4 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
  5 accounts controlled by Defendant GT ENERGY into an account held by Defendant
  6 SBK TURKEY.
  7        146. Defendant GT ENERGY is a business entity existing separate and
  8 distinct from the RICO Enterprise.
  9                             UNITED FUEL SUPPLY
 10        147. Defendant UNITED FUEL SUPPLY is a Utah-based limited liability
 11 company with a principal place of business at 3950 S 700 E #202, Salt Lake City,
 12 UT 84107.
 13        148. Defendant KINGSTON was the Managing Member of Defendant
 14 UNITED FUEL SUPPLY and Defendants KINGSTON and ISAIAH KINGSTON
 15 controlled Defendant UNITED FUEL SUPPLY.
 16        149. Defendants DERMEN, KINGSTON, KORKMAZ, and ISAIAH
 17 KINGSTON used Defendant UNITED FUEL SUPPLY as one of the entities
 18 involved in the U.S.-based Fraudulent Fuel Tax Credit Scheme and subsequent
 19 money laundering scheme.
 20        150. Defendant UNITED FUEL SUPPLY received at least $10 million of
 21 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
 22 accounts controlled by the RICO Enterprise, including an account held by
 23 Defendant WASHAKIE.
 24        151. Defendant UNITED FUEL SUPPLY also laundered approximately
 25 $14 million of the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit
 26 Scheme to accounts controlled by the RICO Enterprise, including a Merrill Lynch
 27 account controlled by Defendant KINGSTON, and to accounts in Turkey controlled
 28 by Defendants KINGSTON, STONE and BLANE.

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  1        152. Defendant UNITED FUEL SUPPLY was one of a number of entities
  2 used by the RICO Enterprise to launder money between U.S. and Turkish based
  3 entities and accounts controlled by the RICO Enterprise.
  4        153. Defendant UNITED FUEL SUPPLY is a business entity existing
  5 separate and distinct from the RICO Enterprise.
  6                                       ISANNE
  7        154. Defendant ISANNE is a Luxembourg-based affiliate of Defendant
  8 SBK TURKEY with a principal place of business at 46 Avenue John F. Kennedy,
  9 Luxembourg.
 10        155. Defendant ISANNE is wholly-owned and controlled by Defendant
 11 KORKMAZ.
 12        156. Defendants DERMEN, KINGSTON, KORKMAZ, and ISAIAH
 13 KINGSTON used Defendant ISANNE as one of the entities involved in the U.S.-
 14 based Fraudulent Fuel Tax Credit Scheme and subsequent money laundering
 15 scheme.
 16        157. Defendant ISANNE received at least $56 million of the Fraud
 17 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts
 18 controlled by the RICO Enterprise including an account held by Defendant
 19 WASHAKIE at Garanti Bank in Turkey.
 20        158. Defendant ISANNE also laundered approximately $15 million of the
 21 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme to
 22 accounts controlled by the RICO Enterprise, including an account controlled by
 23 Defendant SBK USA in the Central District of California.
 24        159. Defendant ISANNE was one of a number of entities used by the RICO
 25 Enterprise to launder money between U.S. and Turkish based entities and accounts
 26 controlled by the RICO Enterprise.
 27        160. Defendant ISANNE is a business entity existing separate and distinct
 28 from the RICO Enterprise.

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  1                                      BIOFARMA
  2        161. Defendant BIOFARMA, originally founded in 1953, manufactures
  3 antibiotics, painkillers and hormonal medications.
  4        162. Defendant BIOFARMA is now a Turkey-based affiliate of Defendant
  5 SBK TURKEY with a principal place of business at Akpınar Mah. Osmangazi Cad.
  6 No:156, Sancaktepe, Istanbul, Turkey.
  7        163. Defendant BIOFARMA is a subsidiary of Defendant ISANNE.
  8        164. Since November 2014, Defendant SBK TURKEY has been the sole
  9 board member of Defendant BIOFARMA.
 10        165. On December 30, 2015, Caglar Sendil, a close business associate of
 11 Defendant KORKMAZ, was appointed Chairman of the Board of Defendant
 12 BIOFARMA.
 13        166. Defendant BIOFARMA was one of a number of entities used by the
 14 RICO Enterprise to launder money between U.S. and Turkish-based entities and
 15 accounts controlled by the RICO Enterprise.
 16        167. Defendant BIOFARMA is a business entity existing separate and
 17 distinct from the RICO Enterprise.
 18                                       BLANE
 19        168. Defendant BLANE f/k/a SETAP Teknoloji is a Turkey-based
 20 affiliate of Defendant SBK TURKEY with a principal place of business at Inonu
 21 Cad. No:17 Kat:3 Beylerbeyi Uskudar, Istanbul, Turkey.
 22        169. Defendant BLANE shares the same corporate address as KOMAK.
 23        170. On December 17, 2013, Ayse Nil Yilmaz created SETAP
 24 TEKNOLOJI (“SETAP”) and became its sole shareholder.
 25        171. On June 26, 2014, Defendant KINGSTON became the majority
 26 shareholder of SETAP.
 27        172. On June 5, 2015, Cuneyt Ozen, a close business associate of
 28 Defendant KORKMAZ, was appointed to the Board of Directors of SETAP.

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  1        173. On July 3, 2015, SETAP changed its name to BLANE.
  2        174. On November 23, 2015, Defendant ZOUBKOVA became the sole
  3 shareholder of BLANE.
  4        175. Defendant BLANE received at least $12 million of the Fraud Proceeds
  5 from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts controlled
  6 by the RICO Enterprise including accounts controlled by Defendant WASHAKIE
  7 and Defendant UNITED FUEL SUPPLY.
  8        176. Defendant BLANE also laundered approximately $40 million of the
  9 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme to
 10 accounts controlled by the RICO Enterprise, including accounts controlled by
 11 Defendants SPEEDY LION AND GT ENERGY.
 12        177. Defendant BLANE was one of a number of entities used by the RICO
 13 Enterprise to launder money between U.S. and Turkish-based entities and accounts
 14 controlled by the RICO Enterprise.
 15        178. At some time after February 2021, Defendant BLANE acknowledged
 16 its receipt of these illicit funds and returned an undisclosed amount to the United
 17 States Government as part of the Dermen/Kingston posttrial forfeiture proceedings.
 18        179. Defendant BLANE is a business entity existing separate and distinct
 19 from the RICO Enterprise.
 20                                         STONE
 21        180. Defendant STONE is a Turkey-based affiliate of Defendant SBK
 22 TURKEY with a principal place of business at OSB Mah. 20 Cad. 3 Odunpazari,
 23 Eskisehir, Turkey.
 24        181. Defendant STONE is a building products and construction materials
 25 company founded on October 22, 2015.
 26        182. Defendant STONE received at least $2 million of the Fraud Proceeds
 27 from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts controlled
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  1 by the RICO Enterprise including accounts controlled by Defendant UNITED
  2 FUEL SUPPLY.
  3        183. Defendant STONE was one of a number of entities used by the RICO
  4 Enterprise to launder money between U.S. and Turkish-based entities and accounts
  5 controlled by the RICO Enterprise.
  6        184. At some time after February 2021, Defendant STONE acknowledged
  7 its receipt of these illicit funds and returned an undisclosed amount to the United
  8 States Government as part of the Dermen/Kingston posttrial forfeiture proceedings.
  9        185. Defendant STONE is a business entity existing separate and distinct
 10 from the RICO Enterprise.
 11                                        KOMAK
 12        186. Defendant KOMAK is a Turkey-based entity manufacturing thermal
 13 insulation products, with a principal place of business at Celiktepe Mah. Inonu Cad.
 14 Hosgor Sok. No:3 Kagithane, Istanbul.
 15        187. Defendant KOMAK was founded on November 3, 2009 by Defendant
 16 KORKMAZ, who had a 95% ownership interest.
 17        188. Defendant KORKMAZ transferred his 95% interest in Defendant
 18 KOMAK to Defendant OZKARAMAN on June 29, 2012.
 19        189. Defendant OZKARAMAN later became the sole owner of Defendant
 20 KOMAK on December 30, 2014.
 21        190. Defendant KOMAK was one of a number of entities used by the RICO
 22 Enterprise to launder money between U.S. and Turkish-based entities and accounts
 23 controlled by the RICO Enterprise.
 24        191. Defendant KOMAK laundered at least $18 million of the Fraud
 25 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts
 26 controlled by the RICO Enterprise, including accounts controlled by Defendant
 27 WASHAKIE and Defendant NOIL ENERGY
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  1          192. Defendant KOMAK also received at least $26 million of the Fraud
  2 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts
  3 controlled by the RICO Enterprise including accounts controlled by Defendants
  4 WASHAKIE and NOIL ENERGY.
  5          193. Defendant KOMAK is a business entity existing separate and distinct
  6 from RICO Enterprise.
  7                                 Non-Party Co-Conspirators8
  8          194. Certain other non-party individuals and business entities played direct
  9 or indirect roles in the scheme to defraud the United States, launder money obtained
 10 from the RICO Enterprise’s fraudulent activities in the United States into Turkey
 11 and elsewhere, and to extort and defraud Dr. Ayasli. Foremost among these
 12 individuals and business entities are the following non-party co-conspirators:
 13          195. George Termendzhyan (“Termendzhyan”), Defendant DERMEN’s
 14 son, an individual, is a U.S. citizen domiciled in California.
 15          196. During all times relevant to this Complaint, Termendzhyan was a
 16 shareholder of Defendant SBK USA, and one of two individuals (Defendant
 17 DERMEN being the other) who had the authority to sign checks and/or transfer
 18 money between accounts held by Defendant SBK USA, from Defendant SBK USA
 19 to Defendant SBK TURKEY, and from Defendant SBK USA to other overseas
 20 entities and accounts controlled by the RICO Enterprise.
 21          197. TERMENDZHYAN was also the “Manager” of SPEEDY LION.
 22          198. Cuneyt Ozen (“Ozen”) is a business associate of Defendant
 23 KORKMAZ.
 24          199. Ozen served as the sole Board Member and President of Defendant
 25 BUGARAJ at the time of the BoraJet transaction.
 26
 27      8
         The Plaintiff reserves the right to amend this Complaint to add some or all of these non-
 28 party co-conspirators as named Defendants as the case progresses.

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  1         200. At the time of the BoraJet transaction, Ozen also had the authority to
  2 represent and bind Defendant BUGARAJ.
  3         201. Ozen was also appointed as President and member of the Board of
  4 Directors of Defendant BLANE on June 5, 2015 at a time that 99 percent of
  5 Defendant BLANE’s shares were owned by Defendant KINGSTON.
  6         202. Ozen was President of Defendant BLANE during all times that
  7 Defendant KORKMAZ exercised control over Defendant BLANE’s bank accounts
  8 which were used in money laundering transfers made on behalf of the RICO
  9 Enterprise.
 10         203. Umut Uygun (“Uygun”) served as Defendant KORKMAZ’s
 11 executive assistant, among other roles, from February 2012 until recently.
 12         204. Uygun provided instruction to members of the RICO Enterprise on
 13 behalf of and at the direction of Defendant KORKMAZ.
 14         205. In May 2015, Uygun was present when Defendants KORKMAZ,
 15 KINGSTON and DERMEN discussed the laundering of $56 million of Fraud
 16 Proceeds from Defendant WASHAKIE to Defendant ISANNE.
 17         206. Caglar Sendil (“Sendil”) is a close business associate of Defendant
 18 KORKMAZ.
 19         207. On June 16, 2015, Sendil was installed as the CEO of Defendant
 20 MEGA VARLIK by Defendant KINGSTON, who owned 99 percent of Defendant
 21 MEGA VARLIK, at the direction of Defendant KORKMAZ and Uygun.
 22         208. Sendil became the Chairman of the Board of Defendant BIOFARMA
 23 in January of 2016, and, at all times relevant to this Complaint, served as its
 24 Chairman of its Board.
 25                SUBJECT MATTER JURISDICTION AND VENUE
 26         209. This Court has subject matter jurisdiction over this action pursuant to
 27 28 U.S.C. §§ 1331 (federal question) and 1332 (diversity), 18 U.S.C. § 1964(c)
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  1 (RICO jurisdictional statement); and 28 U.S.C. § 1367 (supplemental jurisdiction
  2 over state law claims).
  3        210. Dr. Ayasli’s claims for civil RICO violations arise under 18 U.S.C. §
  4 1961 et seq. and constitute federal questions.
  5        211. Complete diversity of citizenship between the Plaintiff and the
  6 Defendants exists pursuant to 28 U.S.C. § 1332 because (1) Dr. Ayasli is domiciled
  7 in the Commonwealth of Massachusetts; (2) Defendant KORKMAZ is a Turkish
  8 citizen domiciled in the Republic of Turkey; (3) Defendant DERMEN is a U.S.
  9 citizen domiciled in the State of California; (4) Defendant KINGSTON is a U.S.
 10 citizen domiciled in the State of Utah; (5) Defendant ISAIAH KINGSTON is a
 11 U.S. citizen domiciled in the State of Utah; (6) Defendant AKOL is a Turkish
 12 citizen domiciled in the State of New Jersey; (7) Defendant OZKARAMAN is a
 13 Turkish citizen domiciled in the Republic of Turkey; (8) Defendant WASHAKIE is
 14 a Utah limited liability company with its principal place of business in Utah; (9)
 15 Defendant SBK TURKEY is a Turkish corporation with its principal place of
 16 business in the Republic of Turkey; (10) Defendant SBK USA is a California
 17 corporation with its principal place of business in Commerce, California; (11)
 18 Defendant BUGARAJ is a Turkish corporation with its principal place of business
 19 the Republic of Turkey; (12) Defendant MEGA VARLIK is a Turkish corporation
 20 with its principal place of business in the Republic of Turkey; (13) Defendant
 21 YILMAZ is a Turkish citizen domiciled in the Republic of Turkey; (14) Defendant
 22 ZOUBKOVA is a Turkish citizen domiciled in the Republic of Turkey;
 23 (15) Defendant BUKOMBIN is a Turkish corporation with its principal place of
 24 business the Republic of Turkey; (16) Defendant NOIL ENERGY is a California
 25 limited liability company with its principal place of business in California;
 26 (17) Defendant SPEEDY LION was a California limited liability company with its
 27 principal place of business in California; (18) Defendant G.T. ENERGY is a
 28 Nevada-based limited liability company with its principal place of business in

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  1 California; (19) Defendant UNITED FUEL SUPPLY is a California corporation
  2 with its principal place of business in California; (20) Defendant ISANNE is a
  3 Luxembourg corporate entity with its principal place of business in Luxembourg;
  4 (21) Defendant BIOFARMA is a Turkish corporation with its principal place of
  5 business in the Republic of Turkey; (22) Defendant BLANE is a Turkish
  6 corporation with its principal place of business in the Republic of Turkey; (23)
  7 Defendant STONE is a Turkish corporation with its principal place of business in
  8 the Republic of Turkey; and (24) Defendant KOMAK is a Turkish corporation with
  9 its principal place of business in the Republic of Turkey.
 10         212. The amount in controversy between the Plaintiff and each Defendant
 11 exceeds $75,000, exclusive of interest and costs.
 12         213. Venue is proper in the Central District of California under 28 U.S.C. §
 13 1391 and Cal. Code Civ. Proc § 410.10 (California Long Arm Statute) because a
 14 substantial part of the actions, events or omissions giving rise to the claims
 15 occurred in the State of California, and the Defendants committed acts that were
 16 experienced, in whole or in part, in the State of California, to include the Central
 17 District of California.
 18                             PERSONAL JURISDICTION
 19                                Defendant KORKMAZ
 20         214. Exercise of personal jurisdiction over Defendant KORKMAZ is proper
 21 pursuant to 18 U.S.C. § 1965(a), (b) and (d); Fed.R.Civ.P. 4(k)(2), and/or via Cal.
 22 Code Civ. Proc § 410.10.
 23         215. Defendant KORKMAZ leads the Turkey-based operations of the
 24 RICO Enterprise, which originated in the United States and had significant,
 25 ongoing, and enduring operations in the Central District of California.
 26         216. Defendant KORKMAZ, through Defendant DERMEN, formed
 27 Defendant SBK USA, the U.S.-based affiliate of Defendant SBK TURKEY (both
 28 of which bear Korkmaz’s “SBK” initials), as a California corporation, and

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  1 established its principal place of business in the Central District of California at
  2 5801 Randolph Street, Commerce.
  3        217. Defendants KORKMAZ and DERMEN, acting on behalf of the RICO
  4 Enterprise, directed Defendant WASHAKIE to wire $10 million of Fraud Proceeds
  5 from the U.S.-based Fraudulent Fuel Tax Credit Scheme into a bank account held
  6 by Defendant SBK USA in the Central District of California to provide the initial
  7 funding for Defendant SBK USA’s operations.
  8        218. Defendant KORKMAZ then transacted a sufficient amount of business
  9 through Defendant SBK USA in the State of California to receive commendations
 10 from both the California State Senate, and the Beverly Hills Chamber of Commerce
 11 – a sufficient presence to trigger personal jurisdiction under 18 U.S.C. § 1965(a).
 12        219. Defendant KORKMAZ also directed a significant amount of mail and
 13 wire communications, threats, and other illegal conduct at Dr. Ayasli in the United
 14 States, with the understanding that the effects of his conduct would be felt by Dr.
 15 Ayasli and his family in the United States – triggering personal jurisdiction over
 16 Defendant KORKMAZ under Fed.R.Civ.P. 4(k)(2).
 17        220. Finally, this Court can also exercise personal jurisdiction over
 18 Defendant KORKMAZ pursuant to 18 U.S.C. § 1965(b) and (d) as the “ends of
 19 justice” would require such an outcome where (1) there is no district in which all of
 20 the RICO Defendants could otherwise be tried together; and (2) judicial economy
 21 would be best served by trying all of these Defendants together.
 22                                  Defendant DERMEN
 23        221. Exercise of personal jurisdiction over Defendant DERMEN is proper
 24 pursuant to 18 U.S.C. § 1965(a), (b) and (d); Fed.R.Civ.P. 4(k)(2), and/or via Cal.
 25 Code Civ. Proc § 410.10.
 26        222. Defendant DERMEN is domiciled in the Central District of California.
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  1         223. Defendant DERMEN is the leader of the RICO Enterprise, which
  2 originated in the United States and had significant operations in the Central District
  3 of California.
  4         224. Defendant DERMEN controlled multiple businesses operating within
  5 the Central District of California that facilitated the RICO Enterprise’s money
  6 laundering operations, including Defendants NOIL ENERGY, SPEEDY LION, and
  7 GT ENERGY.
  8         225. Defendant DERMEN (and Defendant KORKMAZ) caused Defendant
  9 SBK USA, the U.S.-based affiliate of Defendant SBK TURKEY (both of which
 10 bear Korkmaz’s “SBK” initials), to be formed as a California corporation, and
 11 established its principal place of business in the Central District of California at
 12 5801 Randolph Street, Commerce.
 13         226. Defendant DERMEN (and Defendant KORKMAZ), acting on behalf
 14 of the RICO Enterprise, then directed Defendant WASHAKIE to wire $10 million
 15 of Fraud Proceeds from the RICO Enterprise’s U.S.-Based Fraudulent Fuel Tax
 16 Credit Scheme into a bank account held by SBK USA bank located in the Central
 17 District of California to provide initial funding for Defendant SBK USA’s
 18 operations.
 19         227. Defendant DERMEN then appointed Defendant KINGSTON as the
 20 nominal owner of Defendant SBK USA.
 21         228. Defendant DERMEN and his son, co-conspirator George
 22 Termendzhyan, then used Defendant SBK USA in the business of hard-money
 23 lending, conducting that unlicensed business in the Central District of California
 24 and elsewhere with the Fraud Proceeds derived from the RICO Enterprise’s U.S.-
 25 Based Fraudulent Fuel Tax Credit Scheme.
 26         229. These contacts are sufficient to establish this Court’s personal
 27 jurisdiction over Defendant DERMEN pursuant to 18 U.S.C. § 1965(a).
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  1         230. Finally, this Court can also exercise personal jurisdiction over
  2 Defendant DERMEN pursuant to 18 U.S.C. § 1965(b) and (d) as the “ends of
  3 justice” would require such an outcome where (1) there is no district in which all of
  4 the RICO Defendants could otherwise be tried together; and (2) judicial economy
  5 would be best served by trying all of these Defendants together.
  6                                Defendant KINGSTON
  7         231. Exercise of personal jurisdiction over Defendant KINGSTON is
  8 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d), and/or via Cal. Code Civ. Proc
  9 § 410.10.
 10         232. Defendant KINGSTON is a central member, and key U.S.-based
 11 participant in the RICO Enterprise, who was at times relevant to this Complaint,
 12 domiciled in the State of Utah.
 13         233. Defendant KINGSTON was, however, at times relevant to this
 14 Complaint, the owner of Defendant SBK USA, which had its principal place of
 15 business in the Central District of California – first in Commerce, and later, in
 16 Beverly Hills.
 17         234. Defendant KINGSTON made many business trips into the Central
 18 District of California for the purpose of transacting the business of the RICO
 19 Enterprise. Accordingly, this Court can find personal jurisdiction over Defendant
 20 KINGSTON under 18 U.S.C. § 1965(a). Alternatively, this Court can also exercise
 21 personal jurisdiction over Defendant KINGSTON pursuant to 18 U.S.C. § 1965(b)
 22 and (d), because the Court already has personal jurisdiction over one of the RICO
 23 Defendants (Defendant DERMEN), and the “ends of justice” require such an
 24 outcome where (1) there is no district in which all of the RICO Defendants could
 25 otherwise be tried together; and (2) judicial economy would be best served by
 26 trying all of these Defendants together.
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  1                           Defendant ISAIAH KINGSTON
  2        235. Exercise of personal jurisdiction over Defendant ISAIAH KINGSTON
  3 is proper pursuant to 18 U.S.C. § 1965(b) and (d), and/or via Cal. Code Civ. Proc §
  4 410.10.
  5        236. Defendant ISAIAH KINGSTON is a U.S.-based member of the
  6 alleged RICO Enterprise who is domiciled in the State of Utah.
  7        237. At various times relevant to this Complaint, Defendant ISAIAH
  8 KINGSTON, transacted business and engaged in illegal conduct in the Central
  9 District of California by wiring Fraud Proceeds from the U.S.-based Fraudulent
 10 Fuel Tax Credit Scheme from Defendant WASHAKIE into the Central District of
 11 California in furtherance of the RICO conspiracy.
 12        238. Because this Court already has personal jurisdiction over at least one
 13 of the RICO Defendants (Defendant DERMEN), the Court can exercise personal
 14 jurisdiction over Defendant ISAIAH KINGSTON pursuant to 18 U.S.C. § 1965(b)
 15 and (d) as the “ends of justice” would require such an outcome where (1) there is no
 16 district in which all of the RICO Defendants could otherwise be tried together; and
 17 (2) judicial economy would be best served by trying all of these Defendants
 18 together.
 19                                  Defendant AKOL
 20        239. Exercise of personal jurisdiction over Defendant AKOL is proper
 21 pursuant to 18 U.S.C. § 1965(b) and (d); pursuant to Fed.R.Civ.P. 4(k)(2), and/or
 22 via Cal. Code Civ. Proc § 410.10.
 23        240. Defendant AKOL is a member of the RICO Enterprise who is
 24 currently domiciled in the State of New Jersey.
 25        241. At various times relevant to this Complaint, Defendant AKOL was
 26 also domiciled in the State of California.
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  1        242. In 2018, Defendant AKOL founded and became Chairman of the
  2 Board of RoboAir, Inc., a travel services company with its principal place of
  3 business in Palo Alto, California.
  4        243. At all times relevant to this Complaint, Defendant AKOL was
  5 BoraJet’s General Manager, living in Istanbul, and managing the day-to-day
  6 operations of BoraJet for Dr. Ayasli.
  7        244. Defendant AKOL later assumed primary responsibility for the
  8 negotiation and subsequent sale of BoraJet to Defendant Bugaraj.
  9        245. In that role, Defendant AKOL made many phone calls, sent many
 10 emails, and texted Dr. Ayasli repeatedly in the United States at both Dr. Ayasli’s
 11 residence in New Hampshire and his office in Massachusetts, in an effort to
 12 convince Dr. Ayasli to sell BoraJet to the RICO Enterprise.
 13        246. Accordingly, this Court can exercise personal jurisdiction over
 14 Defendant AKOL pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant AKOL, as a
 15 foreign national, purposefully directed his illegal conduct into the United States
 16 with the understanding that the effects of his conduct would be felt in the United
 17 States.
 18        247. Because this Court already has personal jurisdiction over one of the
 19 RICO Defendants (Defendant DERMEN) , the Court can also exercise personal
 20 jurisdiction over Defendant AKOL pursuant to 18 U.S.C. § 1965(b) and (d) as the
 21 “ends of justice” would require such an outcome where (1) there is no district in
 22 which all of the RICO Defendants could otherwise be tried together; and (2)
 23 judicial economy would be best served by trying all of these Defendants together.
 24                              Defendant OZKARAMAN
 25        248. Exercise of personal jurisdiction over Defendant OZKARAMAN is
 26 proper pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d) and via Cal.
 27 Code Civ. Proc § 410.10.
 28        249. Defendant OZKARAMAN is domiciled in the Republic of Turkey.

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  1         250. Defendant OZKARAMAN is a Turkey-based member of the RICO
  2 Enterprise, a corporate representative of Defendant SBK TURKEY, and a close
  3 business associate of Defendant KORKMAZ.
  4         251. Defendant OZKARAMAN, representing Defendants SBK TURKEY
  5 and BUGARAJ was an active participant in the pre-transaction meetings with
  6 Defendant AKOL that led to the sale of BoraJet to Defendant BUGARAJ.
  7         252. Defendant OZKARAMAN later targeted Dr. Ayasli in the United
  8 States by making direct threats against Dr. Ayasli’s business associates in an effort
  9 to attempt to extort money from Dr. Ayasli, and obtain the false testimony of these
 10 business associates in support of the RICO Enterprise’s sham civil litigations and
 11 criminal complaints against Dr. Ayasli in Turkey.
 12         253. This Court can exercise personal jurisdiction over Defendant
 13 OZKARAMAN pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant
 14 OZKARAMAN, as a foreign national, purposefully directed his illegal conduct into
 15 the United States with the understanding that the effects of his conduct would be
 16 felt in the United States.
 17         254. Because this Court already has personal jurisdiction over one of the
 18 RICO Defendants (Defendant DERMEN), the Court can exercise personal
 19 jurisdiction over Defendant OZKARAMAN pursuant to 18 U.S.C. § 1965(b) and
 20 (d) as the “ends of justice” would require such an outcome where (1) there is no
 21 district in which all of the RICO Defendants could otherwise be tried together; and
 22 (2) judicial economy would be best served by trying all of these Defendants
 23 together.
 24         255. Defendant OZKARAMAN previously defaulted in the New
 25 Hampshire forum. The procedural default against him was transferred, with the rest
 26 of this case, to this forum to ensure that all of these matters could be handled in one
 27 jurisdiction.
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  1                               Defendant WASHAKIE
  2        256. Exercise of personal jurisdiction over Defendant WASHAKIE is
  3 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d), and/or via Cal. Code Civ. Proc
  4 § 410.10.
  5        257. Defendant WASHAKIE is a Utah limited liability company with a
  6 principal place of business at 624 N. 300 W, Salt Lake City, UT, 84103-1308.
  7        258. Defendant WASHAKIE, a U.S.-based member of the RICO
  8 Enterprise, was the funding source for the RICO Enterprise, receiving more than
  9 $470 million in fraudulently-obtained fuel tax credit proceeds from the U.S.
 10 Government pursuant to the RICO Enterprise’s U.S.-based Fraudulent Fuel Tax
 11 Credit Scheme
 12        259. For the purpose of laundering the Fraud Proceeds from the U.S.-based
 13 Fraudulent Fuel Tax Credit Scheme, Defendants KORKMAZ and DERMEN
 14 directed Defendants KINGSTON and ISAIAH KINGSTON, through Defendant
 15 WASHAKIE, to wire transfer approximately $367 million of the Fraud Proceeds to
 16 various RICO Enterprise-controlled bank accounts, including bank accounts in the
 17 Central District of California controlled by Defendant SBK USA and others.
 18        260. Defendant WASHAKIE also received $7.1 million in laundered Fraud
 19 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from Defendant
 20 SBK USA.
 21        261. Defendant WASHAKIE has sufficient contacts with the Central
 22 District of California to support a finding of personal jurisdiction under 18 U.S.C. §
 23 1965(a). Alternatively, however, because this Court already has personal
 24 jurisdiction over one of the RICO Defendants (Defendant DERMEN), the Court
 25 can exercise personal jurisdiction over Defendant WASHAKIE pursuant to 18
 26 U.S.C. § 1965(b) and (d) as the “ends of justice” would require such an outcome
 27 where (1) there is no district in which all of the RICO Defendants could otherwise
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  1 be tried together; and (2) judicial economy would be best served by trying all of
  2 these Defendants together.
  3                              Defendant SBK TURKEY
  4        262. Exercise of personal jurisdiction over Defendant SBK TURKEY is
  5 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d); Fed.R.Civ.P. 4(k)(2), and/or
  6 via Cal. Code Civ. Proc § 410.10.
  7        263. At times relevant to this Complaint, Defendant SBK TURKEY
  8 maintained an office in the Central District of California located at 150 South
  9 Rodeo Drive, Suite 260, Beverly Hills, California, subjecting it to the personal
 10 jurisdiction of this Court under 18 U.S.C. § 1965(a).
 11        264. Defendant SBK TURKEY shared this office and business address with
 12 Defendant SBK USA.
 13        265. Defendant SBK TURKEY also advertised this business address on its
 14 website.
 15        266. Defendant SBK TURKEY is a member of the RICO Enterprise.
 16        267. Defendant SBK TURKEY received wire transfers of tens of millions
 17 of dollars of Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit
 18 Scheme – including several wire transfers originating from the Central District of
 19 California.
 20        268. Defendant SBK TURKEY then used those laundered funds to engage
 21 in further unlawful activity on behalf of the RICO Enterprise, most notably to fund
 22 a media disinformation campaign against Dr. Ayasli and BoraJet in Turkey, to
 23 provide the initial funding for Defendant BUGARAJ, the entity which then
 24 fraudulently acquired BoraJet from Dr. Ayasli, and, through Defendant BUGARAJ,
 25 to fund a number of sham lawsuits against Dr. Ayasli in Turkey
 26        269. Defendant SBK TURKEY has sufficient contacts with the Central
 27 District of California to support a finding of personal jurisdiction under 18 U.S.C. §
 28 1965(a). Alternatively, however, because this Court already has personal

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  1 jurisdiction over one of the RICO Defendants (Defendant DERMEN), the Court
  2 can exercise personal jurisdiction over Defendant SBK TURKEY pursuant to 18
  3 U.S.C. § 1965(b) and (d) as the “ends of justice” would require such an outcome
  4 where (1) there is no district in which all of the RICO Defendants could otherwise
  5 be tried together; and (2) judicial economy would be best served by trying all of
  6 these Defendants together.
  7         270. This Court can exercise personal jurisdiction over Defendant SBK
  8 TURKEY pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant SBK TURKEY, as
  9 a foreign corporation, purposefully directed its illegal conduct into the United
 10 States with the understanding that the effects of its conduct would be felt in the
 11 United States.
 12                                 Defendant SBK USA
 13         271. Exercise of personal jurisdiction over Defendant SBK TURKEY is
 14 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d), and/or via Cal. Code Civ. Proc
 15 § 410.10.
 16         272. At all times relevant to this Complaint, Defendant SBK USA
 17 maintained offices in the Central District of California, first at 5801 Randolph
 18 Street in Commerce, and then at 150 South Rodeo Drive, Suite 260, in Beverly
 19 Hills. This is sufficient to vest this Court with personal jurisdiction over Defendant
 20 SBK USA pursuant to 18 U.S.C. § 1965(a).
 21         273. Defendant SBK USA is a U.S.-based member of the RICO Enterprise.
 22         274. Defendant SBK USA received wire transfers of millions of dollars of
 23 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme into its
 24 bank accounts located in the Central District of California.
 25         275. Defendant SBK USA subsequently wired millions of dollars of Fraud
 26 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from its bank
 27 accounts in the Central District of California to entities in the Republic of Turkey –
 28 including its affiliate, Defendant SBK TURKEY.

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  1         276. These Fraud Proceeds were subsequently used by other members of
  2 the RICO Enterprise to further the RICO conspiracy and injure Dr. Ayasli in the
  3 United States.
  4         277. Because this Court already has personal jurisdiction over one of the
  5 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  6 jurisdiction over Defendant SBK USA pursuant to 18 U.S.C. § 1965(b) and (d) as
  7 the “ends of justice” would require such an outcome where (1) there is no district in
  8 which all of the RICO Defendants could otherwise be tried together; and (2)
  9 judicial economy would be best served by trying all of these Defendants together.
 10         278. Defendant SBK USA previously defaulted in the New Hampshire
 11 forum. The procedural default against it was transferred, with the rest of this case,
 12 to this forum to ensure that all of these matters could be handled in one jurisdiction.
 13                                 Defendant BUGARAJ
 14         279. Exercise of personal jurisdiction over Defendant BUGARAJ is proper
 15 pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and via Cal. Code
 16 Civ. Proc § 410.10.
 17         280. Defendant BUGARAJ, a Turkish-based member of the RICO
 18 Enterprise, is a subsidiary company of Defendants SBK TURKEY and
 19 BUKOMBIN – and is the entity that was used by the RICO Enterprise to
 20 fraudulently acquire BoraJet from Dr. Ayasli.
 21         281. Defendant BUGARAJ was funded entirely by Fraud Proceeds derived
 22 from the U.S.-based Fraudulent Fuel Tax Credit Scheme.
 23         282. Defendant BUGARAJ, through the actions of its officers, executives,
 24 employees, agents and/or affiliates, and as part of the RICO Enterprise’s overall
 25 scheme, extorted and defrauded Dr. Ayasli out of his ownership in BoraJet, and in
 26 so doing, harmed Dr. Ayasli in the United States.
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  1         283. Defendant BUGARAJ also hired American legal counsel and sent
  2 legal and “settlement” correspondence relating directly to these matters to Dr.
  3 Ayasli in the United States.
  4         284. Defendant BUGARAJ, thus, subjected itself to personal jurisdiction of
  5 the United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
  6         285. Because this Court already has personal jurisdiction over one of the
  7 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  8 jurisdiction over Defendant BUGARAJ pursuant to 18 U.S.C. § 1965(b) and (d) as
  9 the “ends of justice” would require such an outcome where (1) there is no district in
 10 which all of the RICO Defendants could otherwise be tried together; and (2)
 11 judicial economy would be best served by trying all of these Defendants together.
 12                             Defendant MEGA VARLIK
 13         286. Exercise of personal jurisdiction over Defendant MEGA VARLIK is
 14 proper pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and Cal.
 15 Code Civ. Proc § 410.10.
 16         287. Defendant MEGA VARLIK, a Turkey-based member of the RICO
 17 Enterprise, received its initial funding from Defendant WASHAKIE, which, acting
 18 on behalf of the RICO Enterprise and at the direction of Defendants DERMEN and
 19 KORKMAZ, wired $10 million of Fraud Proceeds from the U.S.-based Fraudulent
 20 Fuel Tax Credit Scheme to Defendant KINGSTON’s personal bank account at
 21 Garanti Bank in Istanbul.
 22         288. Defendant KINGSTON, a U.S. citizen and resident of the State of
 23 Utah, was the co-founder, Chairman of the Board, and 99 percent majority
 24 shareholder of Defendant MEGA VARLIK.
 25         289. Defendant MEGA VARLIK subsequently caused direct financial
 26 injury to Dr. Ayasli in the United States by, acting in concert with and at the
 27 direction of the RICO Enterprise, (1) purchasing a loan and other debt of Dr.
 28 Ayasli’s from Turkish banks; (2) unlawfully accelerating the maturity dates of this

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  1 debt; (3) calling for the immediate satisfaction of this debt (against the terms of the
  2 debt instruments) and making payment demands on Dr. Ayasli in the United States;
  3 and (4) subsequently causing Dr. Ayasli to transfer funds to Defendant MEGA
  4 VARLIK from his U.S.-based bank accounts.
  5        290. In so doing, Defendant MEGA VARLIK subjected itself to personal
  6 jurisdiction of the United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
  7        291. Because this Court already has personal jurisdiction over one of the
  8 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  9 jurisdiction over Defendant BUGARAJ pursuant to 18 U.S.C. § 1965(b) and (d) as
 10 the “ends of justice” would require such an outcome where (1) there is no district in
 11 which all of the RICO Defendants could otherwise be tried together; and (2)
 12 judicial economy would be best served by trying all of these Defendants together.
 13                                  Defendant YILMAZ
 14        292. Exercise of personal jurisdiction over Defendant YILMAZ is proper
 15 pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and via Cal. Code
 16 Civ. Proc § 410.10.
 17        293. Defendant YILMAZ is domiciled in the Republic of Turkey.
 18        294. Defendant YILMAZ is a Turkey-based member of the RICO
 19 Enterprise who, as a corporate representative of Defendant SBK TURKEY,
 20 laundered nearly $40 million of Fraud Proceeds from the U.S.-based Fraudulent
 21 Fuel Tax Credit Scheme in the Republic of Turkey from the Republic of Turkey
 22 into bank accounts in the Central District of California controlled by Defendants
 23 SPEEDY LION and GT ENERGY.
 24        295. This Court can exercise personal jurisdiction over Defendant YILMAZ
 25 pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant YILMAZ, as a foreign
 26 national, purposefully directed his illegal conduct into the United States with the
 27 understanding that the effects of his conduct would be felt in the United States.
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  1        296. Because this Court already has personal jurisdiction over one of the
  2 RICO Defendants (Defendant DERMEN) , the Court can exercise personal
  3 jurisdiction over Defendant YILMAZ pursuant to 18 U.S.C. § 1965(b) and (d) as
  4 the “ends of justice” would require such an outcome where (1) there is no district in
  5 which all of the RICO Defendants could otherwise be tried together; and (2)
  6 judicial economy would be best served by trying all of these Defendants together.
  7                               Defendant ZOUBKOVA
  8        297. Exercise of personal jurisdiction over Defendant ZOUBKOVA is
  9 proper pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d), and via Cal.
 10 Code Civ. Proc § 410.10.
 11        298. Defendant ZOUBKOVA is domiciled in the Republic of Turkey.
 12        299. Defendant ZOUBKOVA is a Turkey-based member of the RICO
 13 Enterprise who has owned Defendant BLANE since acquiring its shares from
 14 Defendant KINGSTON in November 2016.
 15        300. Defendant ZOUBKOVA subsequently used Defendant BLANE to
 16 launder more than a million dollars of Fraud Proceeds from the U.S.-based
 17 Fraudulent Fuel Tax Credit Scheme from Defendant UNITED FUEL SUPPLY into
 18 Turkey for the benefit of the RICO Enterprise.
 19        301. This Court can exercise personal jurisdiction over Defendant
 20 ZOUBKOVA pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant ZOUBKOVA,
 21 as a foreign national, purposefully directed her illegal conduct into the United
 22 States with the understanding that the effects of her conduct would be felt in the
 23 United States.
 24        302. Because this Court already has personal jurisdiction over one of the
 25 RICO Defendants (Defendant DERMEN), the Court can exercise personal
 26 jurisdiction over Defendant ZOUBKOVA pursuant to 18 U.S.C. § 1965(b) and (d)
 27 as the “ends of justice” would require such an outcome where (1) there is no district
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  1 in which all of the RICO Defendants could otherwise be tried together; and (2)
  2 judicial economy would be best served by trying all of these Defendants together.
  3                                Defendant BUKOMBIN
  4         303. Exercise of personal jurisdiction over Defendant BUKOMBIN is
  5 proper pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and via Cal.
  6 Code Civ. Proc § 410.10.
  7         304. Defendant BUKOMBIN, a Turkish-based member of the RICO
  8 Enterprise, is a subsidiary of Defendant SBK TURKEY and the parent company of
  9 Defendant BUGARAJ – the entity that was used by the RICO Enterprise to acquire
 10 BoraJet from Dr. Ayasli.
 11         305. Defendant BUKOMBIN was funded entirely by Fraud Proceeds
 12 derived from the U.S.-based Fraudulent Fuel Tax Credit Scheme, and was
 13 subsequently used to advance the cause of the RICO conspiracy in Turkey that
 14 harmed Dr. Ayasli.
 15         306. This Court can exercise personal jurisdiction over Defendant
 16 BUKOMBIN pursuant to Fed.R.Civ.P. 4(k)(2), because Defendant BUKOMBIN,
 17 as a foreign corporation, purposefully directed its illegal conduct into the United
 18 States with the understanding that the effects of its conduct would be felt in the
 19 United States.
 20         307. Because this Court already has personal jurisdiction over one of the
 21 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 22 jurisdiction over Defendant SBK USA pursuant to 18 U.S.C. § 1965(b) and (d) as
 23 the “ends of justice” would require such an outcome where (1) there is no district in
 24 which all of the RICO Defendants could otherwise be tried together; and (2)
 25 judicial economy would be best served by trying all of these Defendants together.
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  1                             Defendant NOIL ENERGY
  2        308. Defendant NOIL ENERGY is a California corporation with its
  3 principal place of business in the Central District of California at 5801 Randolph
  4 Street, Commerce, California.
  5        309. Defendant NOIL ENERGY is a U.S.-based member of the RICO
  6 Enterprise.
  7        310. This Court has personal jurisdiction over Defendant NOIL ENERGY
  8 pursuant to 18 U.S.C. § 1965(a).
  9        311. Defendant NOIL ENERGY was one of the entities involved in the
 10 U.S.-based Fraudulent Fuel Tax Credit Scheme used to launder funds for the RICO
 11 Enterprise – receiving Fraud Proceeds of more than $1.3 million from the U.S.-
 12 based Fraudulent Fuel Tax Credit Scheme from Defendant WASHAKIE into
 13 accounts controlled by Defendant NOIL ENERGY in the Central District of
 14 California, and subsequently wiring approximately $40 million into various other
 15 accounts controlled by the RICO Enterprise, including accounts held by Defendants
 16 SBK TURKEY and KOMAK in Turkey where the Fraud Proceeds were
 17 subsequently used to damage Dr. Ayasli in furtherance of the RICO conspiracy.
 18        312. Because this Court already has personal jurisdiction over one of the
 19 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 20 jurisdiction over Defendant NOIL ENERGY pursuant to 18 U.S.C. § 1965(b) and
 21 (d) as the “ends of justice” would require such an outcome where (1) there is no
 22 district in which all of the RICO Defendants could otherwise be tried together; and
 23 (2) judicial economy would be best served by trying all of these Defendants
 24 together.
 25                             Defendant SPEEDY LION
 26        313. Exercise of personal jurisdiction over Defendant SPEEDY LION is
 27 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d), and/or via Cal. Code Civ. Proc
 28 § 410.10.

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  1        314. Defendant SPEEDY LION is a now-dissolved California-based limited
  2 liability company which, at times relevant to this Complaint, had its principal place
  3 of business in the Central District of California at 1492 South Lorena Street, Los
  4 Angeles.
  5        315. Defendant SPEEDY LION is a U.S.-based member of the RICO
  6 Enterprise and was one of the entities used by the Defendants in the U.S.-based
  7 Fraudulent Fuel Tax Credit Scheme.
  8        316. Defendant SPEEDY LION received wire transfers, into its bank
  9 accounts in the Central District of California, amounting to more than $38 million
 10 of the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme
 11 from accounts controlled by the RICO Enterprise in Turkey.
 12        317. Accordingly, this Court has personal jurisdiction over Defendant
 13 SPEEDY LION pursuant to 18 U.S.C. § 1965(a).
 14        318. Because this Court already has personal jurisdiction over one of the
 15 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 16 jurisdiction over Defendant SPEEDY LION pursuant to 18 U.S.C. § 1965(b) and
 17 (d) as the “ends of justice” would require such an outcome where (1) there is no
 18 district in which all of the RICO Defendants could otherwise be tried together; and
 19 (2) judicial economy would be best served by trying all of these Defendants
 20 together.
 21                               Defendant GT ENERGY
 22        319. Exercise of personal jurisdiction over Defendant GT ENERGY is
 23 proper pursuant to 18 U.S.C. § 1965(a), (b) and (d), and/or via Cal. Code Civ. Proc
 24 § 410.10.
 25        320. Defendant GT ENERGY has its principal place of business in the
 26 Central District of California at 5801 Randolph Street, Commerce.
 27        321. Defendant GT ENERGY is a U.S.-based member of the RICO
 28 Enterprise and was one of the entities used by the RICO Enterprise to launder

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  1 money between U.S. and Turkish-based entities and accounts controlled by the
  2 RICO Enterprise in the U.S.-based Fraudulent Fuel Tax Credit Scheme.
  3         322. Defendant GT ENERGY received wire transfers, into its bank
  4 accounts in the Central District of California, amounting to more than $43 million
  5 of the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme
  6 from accounts controlled by the RICO Enterprise in Turkey, including accounts
  7 held by Defendant SBK TURKEY.
  8         323. Defendant GT ENERGY also laundered approximately $23 million of
  9 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
 10 its accounts in the Central District of California into an account controlled by
 11 Defendant SBK TURKEY.
 12         324. Accordingly, this Court has personal jurisdiction over Defendant GT
 13 ENERGY pursuant to 18 U.S.C. § 1965(a).
 14         325. Because this Court already has personal jurisdiction over one of the
 15 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 16 jurisdiction over Defendant GT ENERGY pursuant to 18 U.S.C. § 1965(b) and (d)
 17 as the “ends of justice” would require such an outcome where (1) there is no district
 18 in which all of the RICO Defendants could otherwise be tried together; and (2)
 19 judicial economy would be best served by trying all of these Defendants together.
 20                         Defendant UNITED FUEL SUPPLY
 21         326. Exercise of personal jurisdiction over Defendant UNITED FUEL
 22 SUPPLY is proper pursuant to 18 U.S.C. § 1965(b) and (d), and/or via Cal. Code
 23 Civ. Proc § 410.10.
 24         327. Defendant UNITED FUEL SUPPLY is a limited liability company
 25 with a principal place of business at 3950 S. 700 E. #202, Salt Lake City, Utah.
 26         328. Defendant UNITED FUEL SUPPLY is a U.S.-based member of the
 27 RICO Enterprise and was one of the entities used by the RICO Enterprise to
 28

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  1 launder money between U.S. and Turkish-based entities and accounts controlled by
  2 the RICO Enterprise in the U.S.-based Fraudulent Fuel Tax Credit Scheme.
  3        329. Defendant UNITED FUEL SUPPLY received at least $10 million of
  4 the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
  5 an account controlled by the RICO Enterprise through Defendant WASHAKIE.
  6        330. Defendant UNITED FUEL SUPPLY also laundered approximately
  7 $14 million of the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit
  8 Scheme from its accounts in the United States to accounts in Turkey controlled by
  9 the RICO Enterprise, including accounts belonging to Defendant KINGSTON.
 10        331. Because this Court already has personal jurisdiction over one of the
 11 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 12 jurisdiction over Defendant GT ENERGY pursuant to 18 U.S.C. § 1965(b) and (d)
 13 as the “ends of justice” would require such an outcome where (1) there is no district
 14 in which all of the RICO Defendants could otherwise be tried together; and (2)
 15 judicial economy would be best served by trying all of these Defendants together.
 16                                 Defendant ISANNE
 17        332. Exercise of personal jurisdiction over Defendant ISANNE is proper
 18 pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and Cal. Code Civ.
 19 Proc § 410.10.
 20        333. Defendant ISANNE is a Luxembourg-based member of the RICO
 21 Enterprise, and an affiliate of Defendant SBK TURKEY, with a principal place of
 22 business at 46 Avenue John F. Kennedy, Luxembourg.
 23        334. Defendant ISANNE is wholly-owned by Defendant KORKMAZ.
 24        335. Defendant ISANNE is a member of the RICO Enterprise and was one
 25 of the entities used by the RICO Enterprise to launder money between U.S. and
 26 Turkish-based entities and accounts controlled by the RICO Enterprise in the U.S.-
 27 based Fraudulent Fuel Tax Credit Scheme – receiving at least $56 million of the
 28 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from

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  1 accounts controlled by the RICO Enterprise, including an account held by
  2 Defendant WASHAKIE at Garanti Bank in Turkey, and laundering at least $15
  3 million of those Fraud Proceeds back to an account controlled by Defendant SBK
  4 USA in the Central District of California.
  5        336. Defendant ISANNE, thus, subjected itself to personal jurisdiction of
  6 the United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
  7        337. Because this Court already has personal jurisdiction over one of the
  8 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  9 jurisdiction over Defendant ISANNE pursuant to 18 U.S.C. § 1965(b) and (d) as the
 10 “ends of justice” would require such an outcome where (1) there is no district in
 11 which all of the RICO Defendants could otherwise be tried together; and (2)
 12 judicial economy would be best served by trying all of these Defendants together.
 13                               Defendant BIOFARMA
 14        338. Exercise of personal jurisdiction over Defendant BIOFARMA is
 15 proper pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and Cal.
 16 Code Civ. Proc § 410.10.
 17        339. Defendant BIOFARMA is a subsidiary of Defendant ISANNE, and an
 18 affiliate of Defendant SBK TURKEY, with a principal place of business at Akpinar
 19 Mah. Ozmangazi Cad. No:156, Sancaktepe, Istanbul, Turkey.
 20        340. Defendant SBK TURKEY is the sole board member of Defendant
 21 BIOFARMA.
 22        341. Defendant BIOFARMA is a member of the RICO Enterprise, and was
 23 one of the entities used by the RICO Enterprise to launder money between U.S. and
 24 Turkish-based entities and accounts controlled by the RICO Enterprise in the U.S.-
 25 based Fraudulent Fuel Tax Credit Scheme.
 26        342. Defendant BIOFARMA, thus, subjected itself to personal jurisdiction
 27 of the United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
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  1           343. Because this Court already has personal jurisdiction over one of the
  2 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  3 jurisdiction over Defendant BIOFARMA pursuant to 18 U.S.C. § 1965(b) and (d)
  4 as the “ends of justice” would require such an outcome where (1) there is no district
  5 in which all of the RICO Defendants could otherwise be tried together; and (2)
  6 judicial economy would be best served by trying all of these Defendants together.
  7                                     Defendant BLANE
  8           344. Exercise of personal jurisdiction over Defendant BLANE is proper
  9 pursuant to Fed.R.Civ.P. 4(k)(2), 18 U.S.C. § 1965(b) and (d); and via Cal. Code
 10 Civ. Proc § 410.10.
 11           345. Defendant BLANE is a Turkey-based affiliate of Defendant SBK
 12 TURKEY with a principal place of business at Inonu Cad. No:17 Kat:3 Beylerbeyi
 13 Uskudar, Istanbul Turkey.9
 14           346. Defendant BLANE was formerly known as SETAP TEKNOLOJI
 15 (“SETAP”). On June 26, 2014, Defendant KINGSTON became the majority
 16 shareholder of SETAP.
 17           347. On July 3, 2015, SETAP changed its name to BLANE.
 18           348. On November 23, 2015, Defendant ZOUBKOVA became the sole
 19 shareholder of BLANE.
 20           349. Defendant BLANE is a Turkey-based member of the RICO Enterprise,
 21 receiving at least $12 million of the Fraud Proceeds from the U.S.-based Fraudulent
 22 Fuel Tax Credit Scheme from accounts controlled by the RICO Enterprise
 23 including those of Defendants WASHAKIE and UNITED FUEL SUPPLY, and
 24 laundering approximately $40 million of the Fraud Proceeds from the U.S.-based
 25 Fraudulent Fuel Tax Credit Scheme to accounts controlled by the RICO Enterprise,
 26
 27
        9
 28         Defendant BLANE shares the same corporate address as Defendant KOMAK.

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  1 including accounts in the Central District of California controlled by Defendants
  2 SPEEDY LION and GT ENERGY.
  3        350. Defendant BLANE, thus, subjected itself to personal jurisdiction of the
  4 United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
  5        351. Because this Court already has personal jurisdiction over one of the
  6 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
  7 jurisdiction over Defendant BLANE pursuant to 18 U.S.C. § 1965(b) and (d) as the
  8 “ends of justice” would require such an outcome where (1) there is no district in
  9 which all of the RICO Defendants could otherwise be tried together; and (2)
 10 judicial economy would be best served by trying all of these Defendants together.
 11        352. At some time after February 2021, Defendant BLANE acknowledged
 12 its receipt of these illicit funds and returned an undisclosed amount to the United
 13 States Government as part of the Dermen/Kingston posttrial forfeiture proceedings.
 14                                   Defendant STONE
 15        353. Defendant STONE is a Turkey-based affiliate of Defendant SBK
 16 TURKEY with a principal place of business at OSB Mah. 20 Cad. 3 Odunpazari,
 17 Eskisehir, Turkey.
 18        354. Defendant STONE is a member of the RICO Enterprise, and was used
 19 by the RICO Enterprise to launder money between U.S. and Turkish-based entities
 20 and accounts controlled by the RICO Enterprise, receiving at least $2 million of the
 21 Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from
 22 accounts controlled by the RICO Enterprise including accounts controlled by
 23 Defendant UNITED FUEL SUPPLY in the United States.
 24        355. Defendant STONE, thus, subjected itself to personal jurisdiction of the
 25 United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
 26        356. Because this Court already has personal jurisdiction over one of the
 27 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 28 jurisdiction over Defendant BLANE pursuant to 18 U.S.C. § 1965(b) and (d) as the

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  1 “ends of justice” would require such an outcome where (1) there is no district in
  2 which all of the RICO Defendants could otherwise be tried together; and (2)
  3 judicial economy would be best served by trying all of these Defendants together.
  4        357. At some time after February 2021, Defendant STONE acknowledged
  5 its receipt of these illicit funds and forfeited an undisclosed amount of these Fraud
  6 Proceeds to the United States Government as part of the Dermen/Kingston posttrial
  7 forfeiture proceedings.
  8                                  Defendant KOMAK
  9        358. Defendant KOMAK is a Turkey-based member of the RICO
 10 Enterprise and an entity manufacturing thermal insulation products, with a principal
 11 place of business at Celiktepe Mah. Inonu Cad. Hosgor Sok. No:3 Kagithane,
 12 Istanbul.
 13        359. Defendant KOMAK was founded on November 3, 2009 by Defendant
 14 KORKMAZ, who later transferred his ownership interest in Defendant KOMAK to
 15 Defendant OZKARAMAN.
 16        360. Defendant KOMAK received at least $18 million of the Fraud
 17 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts
 18 controlled by the RICO Enterprise including from accounts controlled by
 19 Defendant NOIL ENERGY here in the Central District of California.
 20        361. Defendant KOMAK also received at least $26 million of the Fraud
 21 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme from accounts
 22 controlled by the RICO Enterprise including accounts controlled by Defendant
 23 NOIL ENERGY here in the Central District of California.
 24        362. Defendant STONE, thus, subjected itself to personal jurisdiction of the
 25 United States Courts pursuant to Fed.R.Civ.P. 4(k)(2).
 26        363. Because this Court already has personal jurisdiction over one of the
 27 RICO Defendants (Defendant DERMEN), the Court can also exercise personal
 28 jurisdiction over Defendant BLANE pursuant to 18 U.S.C. § 1965(b) and (d) as the

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  1 “ends of justice” would require such an outcome where (1) there is no district in
  2 which all of the RICO Defendants could otherwise be tried together; and (2)
  3 judicial economy would be best served by trying all of these Defendants together.
  4                                  RELEVANT FACTS
  5 A.     THE RICO ENTERPRISE AND ITS SCHEME AND PURPOSE
  6        364. The above-mentioned constellation of RICO Defendants and non-party
  7 co-conspirators are a group of persons and entities associated together in fact for the
  8 shared purpose of carrying out the ongoing enterprise through a multi-faceted
  9 campaign of fraud, money laundering, extortion, and subversion of the legal
 10 process and institutions.
 11        365. The RICO Enterprise’s campaign involved three main steps. First, the
 12 RICO Enterprise used existing companies to perpetuate the U.S.-based Fraudulent
 13 Fuel Tax Credit Scheme in which it defrauded the U.S. Government by falsely
 14 claiming more than a billion dollars in tax credits, resulting in the payment of more
 15 than $470 million in Fraud Proceeds.
 16        366. Second, using the Fraud Proceeds to fund its operation, the RICO
 17 Enterprise then created and funded additional shell companies both in the United
 18 States and overseas, primarily in the Republic of Turkey, to launder the Fraud
 19 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme
 20        367. Third, using the Fraud Proceeds, the RICO Enterprise targeted Dr.
 21 Ayasli’s business and property, namely, his airline, BoraJet, his XRS Global private
 22 jet, approximately 150 million dollars’ worth of commercial and residential real
 23 estate that Dr. Ayasli held in Turkey, and upwards of $100 million dollars held by
 24 Dr. Ayasli in financial accounts in the United States.
 25        1.     The U.S. Government’s Program to Incentivize Biofuel Production
 26        368. A large percentage of the trucks, construction and farming equipment,
 27 and buses used in the United States have diesel engines that consume diesel fuel
 28 refined from crude oil called petroleum diesel.

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  1         369. Diesel fuel can also be manufactured from biomass or materials
  2 derived from biomass and include biodiesel and renewable diesel.
  3         370. “Biodiesel” is a renewable, biodegradable liquid fuel manufactured
  4 domestically from vegetable oils, animal fats, or recycled restaurant grease that
  5 meets certain IRS and Environmental Protection Agency (“EPA”) standards.
  6         371. In its pure form, biodiesel is referred to as B100 – which is typically
  7 used as a blend stock that is mixed with petroleum diesel and used as transportation
  8 fuel.
  9         372. When B100 biodiesel is blended with 1% petroleum diesel, the
 10 resulting biodiesel mixture is referred to as B99.
 11         373. Renewable diesel, sometimes called “green diesel,” is a biofuel that is
 12 chemically the same as petroleum diesel.
 13         374. Renewable diesel can be produced from cellulosic biomass materials
 14 such as crop residues, wood, sawdust, and switchgrass, and is produced through
 15 various thermochemical processes.
 16         375. Because renewable diesel is chemically the same as petroleum diesel,
 17 it may be used in its pure form (called R100) or mixed/blended with petroleum
 18 diesel similar to biodiesel blending.
 19         376. When R100 biodiesel is blended with 1% diesel fuel, the resulting
 20 biodiesel mixture is referred to as R99.
 21         377. A Renewable Identification Number (“RIN”) is a 38-digit code
 22 generated and attached to each batch of biofuel produced by a renewable fuel
 23 producer. RINs are the “currency” of the renewable fuel supply program used to
 24 buy, sell, and trade biofuel.
 25         378. The biodiesel tax credit was established in 2005 by the American Jobs
 26 Creation Act of 2004 to reduce dependence on foreign crude oil, decrease
 27 greenhouse gas emissions, and increase the amount of renewable fuel used and
 28 produced in the United States.

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  1         379. The program provided a $1.00 tax credit for every gallon of B100 and
  2 R100 mixed with regular, crude oil-derived diesel fuel, to create “cleaner” biodiesel
  3 and renewable diesel mixtures.
  4         380. The U.S. Internal Revenue Service (“IRS”) administered this tax credit
  5 program.
  6         381. IRS Form 8849, Claim for Refund of Excise Taxes, was used to claim
  7 these tax credits, which were paid by U.S. Treasury check.
  8         2.     The RICO Enterprise Fraudulently Acquires $470 million to Fund
                   Its Operations From The U.S. Treasury Through Its Fraudulent
  9                Tax Credit Scheme
 10                1.      Defendants KINGSTON and ISAIAH KINGSTON
                           Establish a RIN Fraud Scheme
 11
            382. Defendant KINGSTON created Defendant WASHAKIE in 2007 to
 12
      produce biodiesel.
 13
            383. Beginning in 2010, Defendant KINGSTON, in conjunction with
 14
      Defendant ISAIAH KINGSTON, created false paperwork claiming that Defendant
 15
      WASHAKIE was producing qualifying biodiesel that he knew was not actually
 16
      being produced.
 17
            384. Defendants KINGSTON and ISAIAH KINGSTON also created false
 18
      financial transactions substantiated by the false paperwork to establish that
 19
      qualifying fuel was being produced and sold, when each well knew that qualifying
 20
      fuel was not being produced or sold.
 21
            385. Defendants KINGSTON and ISAIAH KINGSTON claimed RINs,
 22
      through Defendant WASHAKIE, for fuel that Defendant WASHAKIE did not
 23
      produce or sell.
 24
                   2.      Defendant DERMEN Expands the RIN Fraud Scheme
 25
            386. Defendant KINGSTON met Defendant DERMEN in late 2011.
 26
 27
 28

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  1         387. Defendant DERMEN agreed to purchase B99 biodiesel that Defendant
  2 KINGSTON had purchased from third parties, and which Defendants DERMEN
  3 and KINGSTON knew was not eligible for either tax credits or RINs.
  4         388. Defendants DERMEN and KINGSTON then created false paperwork
  5 purporting to show that Defendant WASHAKIE had produced the B99 biodiesel
  6 for Defendant WASHAKIE to fraudulently claim RINs and renewable fuel tax
  7 credits for that batch of fuel.
  8         389. After achieving success with this test transaction, Defendants
  9 DERMEN and KINGSTON rapidly scaled up this fraudulent scheme, with
 10 Defendant KINGSTON purchasing additional B99 biodiesel from third parties
 11 supported by false paperwork to substantiate claims for RINs and the associated
 12 renewable fuel tax credits.
 13         390. During this time, Defendant DERMEN informed Defendant
 14 KINGSTON that Defendant DERMEN was “protected” by federal law enforcement
 15 and had overseas contacts, both of which would shield the scheme from discovery
 16 and enforcement.
 17         391. Defendants DERMEN and KINGSTON then agreed to share the future
 18 proceeds of Defendant WASHAKIE’s fraudulent RINs and future renewable fuel
 19 tax credits.
 20                3.    The “Gulf Project”
 21         392. The scheme executed by Defendants DERMEN, KINGSTON and
 22 ISAIAH KINGSTON had several components, including the creation of (1) false
 23 invoices substantiating the purchase of raw materials; (2) false documentation
 24 substantiating biofuel production by Defendant WASHAKIE; (3) false paperwork
 25 substantiating claims of biofuel production indicated by the import/export rotation
 26 of the identical gallons of fuel; and (4) the submission by Defendant WASHAKIE
 27 of false Form 8849 claim forms to the IRS to collect fuel tax credits.
 28

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  1          393. Defendants DERMEN and KINGSTON also directed Defendant
  2 ISAIAH KINGSTON and others at Defendant WASHAKIE to create false
  3 paperwork substantiating that Defendant WASHAKIE was purchasing B100,
  4 creating qualifying biodiesel, and selling B99, to qualify for fuel tax credits.
  5          394. Defendant KINGSTON also arranged for the rental of shore tanks in
  6 Houston, Texas, and for the purchase of B99 and other products from third parties
  7 to rotate fuel between shore tanks to make it falsely appear that transactions
  8 involving the purchase and sale of B100, B99, and other fuel products were taking
  9 place.
 10          395. Defendant KINGSTON and a business associate then caused millions
 11 of identical gallons of fuel to be rotated, first from Houston to Panama, where it
 12 was falsely documented as a sale of B99, and then re-imported into the United
 13 States, falsely documented as B100, to support the filing of false claims for fuel tax
 14 credits. The RICO Enterprise referred to this rotation of fuel as the “Gulf Project.”
 15          396. Although no qualifying fuel was ever either produced or sold during
 16 this scheme, at least a hundred million gallons of mixed fuel product were rotated
 17 between tanks in Texas, Louisiana, and Panama to create the illusion that legitimate
 18 transactions had occurred.
 19          397. In 2013, Defendants DERMEN, KINGSTON and ISAIAH
 20 KINGSTON, through Defendant WASHAKIE, claimed over $272 million in
 21 fraudulent renewable fuel tax credits based on the false paperwork supporting these
 22 fictitious transactions.
 23          398. In early 2015, Defendants DERMEN and KINGSTON, through
 24 Defendant WASHAKIE, filed for another $170 million of false renewable fuel tax
 25 credits for 2014.
 26          399. During the Gulf Project, Defendant KINGSTON cycled funds between
 27 Defendant WASHAKIE, Defendant UNITED FUEL SUPPLY, and various other
 28 entities to fraudulently create the appearance that Defendant WASHAKIE and

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  1 Defendant UNITED FUEL SUPPLY were making and collecting payments related
  2 to qualifying biofuel transactions.
  3           400. Defendants KINGSTON and ISAIAH KINGSTON participated in the
  4 cycling of funds and creation of false invoices and other paperwork, knowing that
  5 the cycling was intended to fraudulently create the appearance of qualifying fuel tax
  6 credit transactions.
  7           401.   At the direction of Defendant DERMEN, Defendants KINGSTON and
  8 ISAIAH KINGSTON, prepared and filed, or caused to be filed, by mail at least
  9 nineteen Forms 8849 falsely claiming over $1.1 billion in fuel tax credits. Those
 10 nineteen Forms 8849 were as follows:
 11   Count     Date       Filer             False Item(s) Claimed                Amount of
                                                                                  Credit Claimed
 12   2         2/13/13    Washakie          Line 2a – Biodiesel mixtures         $3,901,235
      3         2/25/13    Washakie          Line 2a – Biodiesel mixtures         $640,959
 13   4         3/11/13    Washakie          Line 3f – Liquid fuel derived from   $20,283,659
                                             biomass
 14   5         3/12/13    Washakie          Line 2a – Biodiesel mixtures         $806,041
                                             Line 3f – Liquid fuel derived from   $3,600,000
 15                                          biomass
      6         3/27/13    Washakie          Line 2a – Biodiesel mixtures         $2,398,274
 16                                          Line 3f – Liquid fuel derived from   $6,461,246
                                             biomass
 17   7         4/17/13    Washakie          Line 3f – Liquid fuel derived from   $11,872,884
                                             biomass
 18   8         5/20/13    Washakie          Line 2a – Biodiesel mixtures         $11,700,000
      9         6/3/13     Washakie          Line 2a – Biodiesel mixtures         $11,400,000
 19   10        7/29/13    Washakie          Line 2b – Agri-biodiesel mixtures    $25,800,000
      11        8/13/13    Washakie          Line 2a – Biodiesel mixtures         $16,200,000
 20   12        9/05/13    Washakie          Line 2a – Biodiesel mixtures         $35,008,437
      13        9/30/13    Washakie          Line 2b – Agr—biodiesel mixtures     $33,465,236
 21   14        10/20/13   Washakie          Line 2a – Biodiesel mixtures         $33,581,899
      15        11/17/13   Washakie          Line 2a – Biodiesel mixtures         $38,078,529
 22   16        12/09/13   Washakie          Line 2a – Biodiesel mixtures         $33,579,440
      17        12/24/13   Washakie          Line 2a – Biodiesel mixtures         $21,789,321
 23   18        2/11/15    Washakie          Line 2a – Biodiesel mixtures         $170,302,364
 24   19        1/20/16    Washakie          Line 2a – Biodiesel mixtures         $322,900,000
      20        2/4/16     UFS               Line 2a – Biodiesel mixtures         $321,573,260
 25                                          TOTAL:                               $1,125,342,784

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  1         402. In turn, Defendant WASHAKIE received 20 U.S. Treasury checks by
  2 mail totaling $470,871,883 to which it was not entitled on the dates and in the
  3 amounts set forth in the table below:
  4
                 Date Paid   Payor                      Payee           Amount
  5
                 3/21/13     U.S. Treasury              WASHAKIE        $640,959
  6              3/27/13     U.S. Treasury              WASHAKIE        $20,283,659
                 3/27/13     U.S. Treasury              WASHAKIE        $4,408,041
  7              4/8/13      U.S. Treasury              WASHAKIE        $8,859,520
                 5/24/13     U.S. Treasury              WASHAKIE        $11,872,884
  8              6/10/13     U.S. Treasury              WASHAKIE        $11,700,000
                 6/17/13     U.S. Treasury              WASHAKIE        $11,400,000
  9              8/9/13      U.S. Treasury              WASHAKIE        $25,800,000
                 8/27/13     U.S. Treasury              WASHAKIE        $16,200,000
 10              9/16/13     U.S. Treasury              WASHAKIE        $35,008,437
                 10/22/13    U.S. Treasury              WASHAKIE        $33,465,235
 11              11/12/13    U.S. Treasury              WASHAKIE        $33,581,899
                 12/2/13     U.S. Treasury              WASHAKIE        $38,078,529
 12              12/26/13    U.S. Treasury              WASHAKIE        $33,578,660
                 1/13/14     U.S. Treasury              WASHAKIE        $21,789,321
 13              3/16/15     U.S. Treasury              WASHAKIE        $82,102,840
                 3/16/15     U.S. Treasury              WASHAKIE        $82,102,840
 14
                                                        TOTAL:          $470,871,883
 15
 16         3.       The RICO Enterprise then Laundered these Illicit Tax Credit
                     Payments through a Series of Bank Accounts and Companies
 17                  Controlled by the RICO Enterprise in the United States, the
                     Republic of Turkey, and Elsewhere
 18
            403. Beginning in 2013, Defendants KORKMAZ, DERMEN, KINGSTON
 19
      and ISAIAH KINGSTON then devised a separate but related scheme to launder the
 20
      Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme through a
 21
      series of transactions involving U.S.-based bank accounts and companies, Turkish-
 22
      based bank accounts and companies, and other foreign entities that they, or other
 23
      members of the RICO Enterprise, created or controlled.
 24
            404. Defendants KORKMAZ, DERMEN, KINGSTON and ISAIAH
 25
      KINGSTON participated in no fewer than 56 such transfers, laundering in excess of
 26
      $367 million of Fraud Proceeds on the dates and in the amounts set forth in the
 27
      table below:
 28

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  1      Date               Payor                  Payee                        Amount

  2      April 8, 2013      WASHAKIE               NOIL ENERGY                  $1,324,670
         April 8, 2013      WASHAKIE               UNITED FUEL SUPPLY           $10,000,000
  3
         April 15, 2013     UNITED FUEL            MERRILL LYNCH #4805          $10,000,000
  4                         SUPPLY
         September 9,       WASHAKIE               KOMAK                        $4,000,000
  5      2013
         September 9,       WASHAKIE               KOMAK                        $5,000,000
  6      2013
  7      September 12,      KOMAK                  SPEEDY LION                  $4,999,964
         2013
  8      September 17,      KOMAK                  SPEEDY LION                  $1,999,964
         2013
  9      September 19,      KOMAK                  SPEEDY LION                  $1,999,964
         2013
 10
         November 13,       WASHAKIE               SBK TURKEY                   $10,000,000
 11      2013
         December 31,       WASHAKIE               KOMAK                        $13,000,000
 12      2013
         January 17, 2014   WASHAKIE               SBK USA                      $10,000,000
 13      January 21, 2014   KOMAK                  SPEEDY LION                  $9,000,000
 14      March 5, 2014      WASHAKIE               DERMEN (VAT – MV             $483,000
                                                   mansion)
 15      March 12, 2014     WASHAKIE               KINGSTON (Mega               $10,000,000
                                                   Varlik’s initial funding)
 16      March 24, 2014     WASHAKIE               BLANE                        $4,055,700
 17      March 24, 2014     WASHAKIE               BLANE                        $5,000,000
         May 9, 2014        WASHAKIE               BLANE                        $2,000,000
 18      August 21, 2014    SBK USA                WASHAKIE                     $5,000,000
         March 20, 2015     WASHAKIE               SBK USA                      $8,550,000
 19      March 26, 2015     SBK USA                Huntington Beach, CA         $3,520,085
 20                                                property
         April 28, 2015     WASHAKIE               Garanti Bank (Turkey)        $15,000,000
 21      May 19, 2015       WASHAKIE               ISANNE (Garanti)             $35,000,000
         May 27, 2015       WASHAKIE               ISANNE (Garanti)             $21,300,000
 22      June 3, 2015       WASHAKIE               SBK USA                      $10,000,000
         June 11, 2015      WASHAKIE               Garanti Bank (Turkey)        $200,000
 23
         June 22, 2015      WASHAKIE               SBK USA                      $5,000,000
 24      June 22, 2015      BLANE                  SPEEDY LION                  $6,999,950
         June 23, 2015      BLANE                  SPEEDY LION                  $12,999,950
 25      July 3, 2015       ISANNE (Garanti)       SBK USA                      $15,000,000
         July 6, 2015       WASHAKIE               SBK USA                      $2,000,000
 26
         September 23,      KORKMAZ                KORKMAZ/DERMEN JA-           $6,000,000
 27      2015               (Garanti)              BOA
         October 16,        KORKMAZ                KORKMAZ/DERMEN JA-           $4,000,000
 28      2015               (Garanti)              BOA

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  1      Date             Payor                  Payee                        Amount

  2      October 27,      NOIL ENERGY            SBK TURKEY/KOMAK             $6,999,950
         2015                                    JA-G
  3      October 28,      NOIL ENERGY            SBK TURKEY/KOMAK             $12,999,950
  4      2015                                    JA-G
         November 3,      BLANE                  GT ENERGY                    $19,999,950
  5      2015
         December 10,     SBK USA                WASHAKIE                     $2,100,000
  6      2015
  7      December 14,     WASHAKIE               KINGSTON (Garanti)           $2,100,000
         2015
  8      December 28,     WASHAKIE               KINGSTON (Garanti)           $6,900,000
         2015
  9      December 28,     SBK USA                SBK TURKEY                   $14,000,000
         2015
 10
         February 17,     NOIL ENERGY            SBK TURKEY                   $3,885,135
 11      2016
         March 22, 2016   NOIL ENERGY            KOMAK                        $3,810,000
 12      March 25, 2016   SBK USA                SBK TURKEY                   $458,000
         September 28,    NOIL ENERGY            SBK TURKEY                   $11,000,000
 13      2016
 14      October 21,      SBK USA                SBK TURKEY                   $6,000,000
         2016
 15      November 8,      SBK USA                SBK TURKEY                   $15,000,000
         2016
 16      November 8,      SBK USA                SBK TURKEY                   $265,000
 17      2016
         February 12,     WASHAKIE               KINGSTON (Garanti)           $1,000,000
 18      2018
         February 13,     WASHAKIE               KINGSTON (Garanti)           $1,000,000
 19      2018
         May 7, 2018      UNITED FUEL            KINGSTON (Garanti)           $350,000
 20                       SUPPLY
 21      May 8, 2018      UNITED FUEL            KINGSTON (Garanti)           $400,000
                          SUPPLY
 22      June 21, 2018    UNITED FUEL            STONE                        $250,000
                          SUPPLY
 23      June 28, 2018    UNITED FUEL            STONE                        $100,000
 24                       SUPPLY
         July 18, 2018    UNITED FUEL            STONE                        $1,500,000
 25                       SUPPLY
         August 6, 2018   UNITED FUEL            STONE                        $100,000
 26                       SUPPLY
         August 8, 2018   UNITED FUEL            STONE                        $100,000
 27
                          SUPPLY
 28

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  1       Date              Payor                  Payee                        Amount

  2       August 15, 2018   UNITED FUEL            BLANE                        $1,200,000
                            SUPPLY
  3
  4
       COMPANIES FOUNDED AND/OR FUNDED USING FRAUD PROCEEDS
  5
            405. Utilizing their vast reserves of Fraud Proceeds, Defendants
  6
      KORKMAZ, DERMEN, KINGSTON and ISAIAH KINGSTON founded and/or
  7
      funded a series of companies in the United States and Turkey including Defendants
  8
      SBK TURKEY, SBK USA, BUKOMBIN, BUGARAJ, MEGA VARLIK,
  9
      ISANNE, BIOFARMA, BLANE, STONE and KOMAK, which would be utilized
 10
      by the RICO Enterprise in its criminal operations, including its money laundering
 11
      schemes.
 12
                                          SBK TURKEY
 13
            406. On March 8, 2013, and in furtherance of this overall scheme,
 14
      Defendant KORKMAZ, acting on behalf of the RICO Enterprise, formed
 15
      Defendant SBK TURKEY.
 16
            407. On November 13, 2013, Defendant WASHAKIE, acting on behalf of
 17
      the RICO Enterprise and at Defendant KORKMAZ’s direction, wired $10 million
 18
      of Fraud Proceeds from the RICO Enterprise’s U.S.-Based Fraudulent Fuel Tax
 19
      Credit Scheme to provide initial funding for Defendant SBK TURKEY.
 20
            408. Prior to receiving its initial funding from these Fraud Proceeds,
 21
      Defendant SBK TURKEY had no other operating capital, and was not active.
 22
            409. In fact, in a Turkish interview with Number 1 Star posted on YouTube,
 23
      Defendant KORKMAZ notes that Defendant SBK TURKEY does “not have
 24
      problems with funding, we have Mormon backers. Our funding source is the
 25
      Mormons. . . .” acknowledging his connection with the RICO Enterprise and
 26
      specifically with Defendants KINGSTON and ISAIAH KINGSTON, who are part
 27
      of the Mormon sect known as The Order.
 28

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  1           410. Defendant KORKMAZ has acknowledged, in a sworn declaration filed
  2 earlier in this case, that he has been the “sole owner and chairman of the board” of
  3 SBK TURKEY “since the formation of that company on March 8, 2013.”
  4                                               SBK USA
  5           411. Less than one month later, on December 6, 2013, Defendant
  6 DERMEN, acting on behalf of the RICO Enterprise, formed Defendant SBK USA.
  7           412. Defendant DERMEN appointed Defendant KINGSTON as the
  8 nominal “owner” of SBK USA.
  9           413. As was done with Defendant SBK TURKEY, Defendant
 10 WASHAKIE, acting on behalf of the RICO Enterprise and at Defendants
 11 DERMEN’s and KORKMAZ’s direction, wired $10 million of Fraud Proceeds
 12 from the RICO Enterprise’s U.S.-Based Fraudulent Fuel Tax Credit Scheme to
 13 provide initial funding for Defendant SBK USA on January 7, 2014.
 14           414. Prior to receiving its initial funding from these Fraud Proceeds,
 15 Defendant SBK USA had no other operating capital and was not active.
 16           415. Defendant SBK USA, although it never applied for any of the required
 17 licenses to operate, entered the business of hard-money lending, conducting that
 18 business with the Fraud Proceeds derived from the RICO Enterprise’s U.S.-Based
 19 Fraudulent Fuel Tax Credit Scheme in the Central District of California and
 20 beyond.
 21                                             BUKOMBIN
 22           416. On July 15, 2015, Defendant KORKMAZ, through Defendant SBK
 23 TURKEY and acting on behalf of the RICO Enterprise, formed Defendant
 24 BUKOMBIN.
 25           417. Defendant KORKMAZ, through Defendant SBK TURKEY,
 26 subsequently funded Defendant BUKOMBIN using one million Turkish lira10
 27
 28     10
             All value designations of Turkish lira reflect approximate exchange rates existing at the

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  1 (approximately $360,000) of Defendant SBK TURKEY’s funding derived from
  2 Fraud Proceeds originating in the RICO Enterprise’s U.S.-Based Fraudulent Fuel
  3 Tax Credit Scheme.
  4                                              BUGARAJ
  5          418. On August 8, 2015, Defendant KORKMAZ, through Defendant SBK
  6 TURKEY and Defendant BUKOMBIN, and acting on behalf of the RICO
  7 Enterprise, formed Defendant BUGARAJ.
  8          419. As was done with Defendant BUKOMBIN, Defendant KORKMAZ,
  9 through Defendant SBK TURKEY, subsequently funded Defendant BUGARAJ
 10 using one million Turkish lira (approximately $360,000) of Defendant SBK
 11 TURKEY’s funding derived from fraud proceeds originating in the RICO
 12 Enterprise’s U.S.-Based Fraudulent Fuel Tax Credit Scheme.
 13                                           MEGA VARLIK
 14          420. On June 11, 2015, Defendant KINGSTON, at the direction of
 15 Defendants KORKMAZ and DERMEN, and on behalf of the RICO Enterprise,
 16 founded Defendant MEGA VARLIK.
 17          421. As was done with Defendant SBK TURKEY and Defendant SBK
 18 USA, Defendant WASHAKIE, acting on behalf of the RICO Enterprise and at
 19 Defendant DERMEN’s direction, wired $10 million of Fraud Proceeds originating
 20 from the RICO Enterprise’s U.S.-Based Fraudulent Fuel Tax Credit Scheme to
 21 Defendant KINGSTON’S personal bank account at Garanti Bank in Istanbul –
 22 which Defendant KORKMAZ controlled – to provide the initial funding for
 23 Defendant MEGA VARLIK.
 24          422. Prior to receiving its initial funding from these Fraud Proceeds,
 25 Defendant MEGA VARLIK had no other operating capital and was not active.
 26
 27
 28 time of the relevant transactions.

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  1                                        ISANNE
  2         423. On October 14, 2014, Defendant KORKMAZ, through Defendant
  3 SBK TURKEY, purchased all of the shares of Defendant ISANNE for
  4 approximately $639,400 using Fraud Proceeds derived from the RICO Enterprise’s
  5 U.S.-Based Fraudulent Fuel Tax Credit Scheme.
  6         424. On June 9, 2015, Defendant KORKMAZ, through Defendant SBK
  7 TURKEY, then caused Defendant ISANNE to issue 1,126,000 new shares of stock
  8 with a par value of $50 each, and purchased all 1,126,000 of those shares using an
  9 additional $56,300,000 of Fraud Proceeds from the RICO Enterprise’s U.S.-Based
 10 Fraudulent Fuel Tax Credit Scheme, which consisted of payments of $35,000,000
 11 and $21,300,000 wired by Defendant Washakie on May 19, 2015 and May 27,
 12 2015.
 13                                     BIOFARMA
 14         425. According to official Turkish Commercial Gazette Records, as of July
 15 4, 2014, Defendant ISANNE became the sole shareholder of Defendant
 16 BIOFARMA.
 17         426. As such, when Defendant SBK TURKEY purchased all of the
 18 outstanding shares of Defendant ISANNE on October 14, 2014, Defendant SBK
 19 TURKEY likewise became the parent company of Defendant BIOFARMA.
 20         427. Pursuant to a November 25, 2014 board resolution documented in the
 21 official Turkish Commercial Gazette Records, Defendant SBK TURKEY became
 22 the sole shareholder of Defendant BIOFARMA and was authorized to represent the
 23 company. Defendant KORKMAZ signed that board resolution.
 24         428. On December 30, 2015, Defendant KORKMAZ’s business associate
 25 and non-party co-conspirator Caglar Sendil signed a resolution on behalf of
 26 Defendant SBK TURKEY appointing himself as Chairman of the Board of
 27 Defendant BIOFARMA and vesting himself with the authority to bind the
 28 company.

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  1        429. On December 30, 2015, Defendant KORKMAZ, acting through
  2 Defendant SBK TURKEY, increased Defendant BIOFARMA’s registered capital
  3 from 115,987,750 Turkish liras (approximately $39,435,835) to 278,387,750
  4 Turkish liras (approximately $94,651,835).
  5        430. In so doing, Defendant KORKMAZ, through Defendant SBK Turkey,
  6 infused Defendant BIOFARMA with an additional 162,400,000 Turkish liras, or
  7 approximately $55,216,000, of Fraud Proceeds derived from the RICO Enterprise’s
  8 U.S.-Based Fraudulent Fuel Tax Credit Scheme.
  9                                BLANE f/k/a SETAP
 10        431. On December 11, 2013, Defendant KORKMAZ, on behalf of the
 11 RICO Enterprise, formed Defendant BLANE f/k/a SETAP with an initial
 12 capitalization of 5 million Turkish liras (approximately $2,450,980) of Fraud
 13 Proceeds derived from the RICO Enterprise’s U.S.-Based Fraudulent Fuel Tax
 14 Credit Scheme.
 15        432. Prior to receiving its initial funding from these Fraud Proceeds,
 16 Defendant BLANE had no other operating capital and was not active.
 17        433. In March and May 2014, Defendant KINGSTON, through Defendant
 18 WASHAKIE, transferred more than $11,000,000 of Fraud Proceeds from the RICO
 19 Enterprise’s U.S.-Based Fraudulent Fuel Tax Credit Scheme to Defendant BLANE.
 20        434. According to the minutes of Defendant BLANE’s June 12, 2014 board
 21 meeting contained in the official Turkish Commercial Gazette Records, Defendant
 22 KINGSTON obtained the majority interest in BLANE, and increased the
 23 company’s registered capital to 25,000,000 Turkish lyra (approximately
 24 $9,250,000).
 25                              The ISPAT Press Release
 26        435. On September 9, 2016, Defendants KORKMAZ, DERMEN,
 27 KINGSTON and ISAIAH KINGSTON, acting through Defendant SBK TURKEY,
 28 issued a joint press release published on the website of the Republic of Turkey’s

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  1 Prime Ministry Investment Support and Promotion Agency (“ISPAT”), (“ISPAT
  2 Press Release”), touting their U.S.-based investments in various Turkish
  3 companies.
  4         436. The ISPAT Press Release heralds that Defendants KORKMAZ,
  5 DERMEN, KINGSTON and ISAIAH KINGSTON, as well as Defendants
  6 WASHAKIE, SBK USA and NOIL ENERGY, acting through Defendant SBK
  7 TURKEY, invested “$500 million” U.S. dollars in Turkish companies including
  8 Defendants BUKOMBIN, BUGARAJ, BIOFARMA and BLANE since 2013.
  9         437. Subsequent Turkish news articles touted this “exciting investment” of
 10 funds in Turkey and included photographs of various RICO Defendants, including
 11 Defendants KORKMAZ and KINGSTON. These photos were republished many
 12 times in the Turkish media, giving the members of the RICO Enterprise and their
 13 affiliated companies a heightened appearance of legitimacy.
 14         1.    Related Criminal Proceedings Involving RICO Enterprise
                  Members (to date)
 15
                  1.    U.S.-based Criminal Indictments
 16
            438. On January 17, 2019, a grand jury in the United States District Court
 17
      for the District of Utah issued a Second Superseding Indictment charging
 18
      Defendants DERMEN, KINGSTON, and ISAIAH KINGSTON, among others, for
 19
      their roles in conducting the U.S.-Based Fraudulent Fuel Tax Credit Scheme.
 20
            439. The indictment charged Defendants DERMEN, KINGSTON, and
 21
      ISAIAH KINGSTON with the following offenses:
 22
                  (1)   conspiracy to commit mail fraud, in violation of Title 18, United
 23                     States Code, Section 1349 (Count 1)
 24               (2)   aiding in the preparation and filing of a false claim, in violation
                        of Title 26, United States Code, Section 7206(2) (Counts 2-20);
 25
                  (3)   conspiracy to commit concealment money laundering offenses,
 26                     in violation of Title 18, United States Code, Section 1956(h)
                        (Count 23)
 27
                  (4)   conspiracy to commit international concealment and expenditure
 28                     money laundering offenses, in violation of Title 18, United

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  1                      States Code, Section 1956(h) (Count 24)
  2               (5)    various other money laundering offenses, in violation of Title
                         18, United States Code, Sections 1956, 1957 (Counts 25-43)
  3
                  (6)    conspiracy to commit obstruction of justice offenses, in
  4                      violation of Title 18, United States Code, Sections 1512(k)
                         (Count 44)
  5
                  (7)    destroying and concealing records and objects, in violation of
  6                      Title 18, United States Code, Section 1512(c)(1) (Count 45); and
  7               (8)    threat of use of force or attempted use of force to influence a
                         witness in an official proceeding, in violation of Title 18, United
  8                      States Code, Section 1512(a)(2) (Count 46).
  9 United States v. Kingston, et al, 18-CR-00365-JNP-BCW (“Dermen/Kingston
 10 Criminal Proceeding”).
 11                      Defendant KINGSTON’s Plea Agreement
 12         440. On July 18, 2019, Defendant KINGSTON pled guilty, pursuant to a
 13 cooperation plea agreement, to each of the 35 felony counts with which he was
 14 charged:
 15               (1)    one count of conspiracy to commit mail fraud (Count 1);
 16               (2)    19 counts of aiding in the filing of a false claim (Counts 2-20);
 17               (3)    three counts of conspiracy to commit money laundering (Counts
                         23-25);
 18
                  (4)    three counts of concealment money laundering, including
 19                      international concealment money laundering (Counts 27-29);
 20               (5)    nine counts of expenditure money laundering (Count 31-42);
                         and
 21
                  (6)    three counts of obstruction of justice (Count 44-46).
 22
            441. As part of the factual basis to the plea agreement, Defendant
 23
      KINGSTON admitted to the U.S.-Based Fraudulent Fuel Tax Credit Scheme, and
 24
      to laundering “over $100 million in international wire transfers designed to conceal
 25
      the location and ownership of these Fraud Proceeds” through a series of accounts in
 26
      Turkey.
 27
            442. Defendant KINGSTON is incarcerated and awaiting sentencing.
 28

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  1                   Defendant ISAIAH KINGSTON’s Plea Agreement
  2         443. On July 18, 2019, Defendant ISAIAH KINGSTON pled guilty,
  3 pursuant to a cooperation plea agreement, to all but one of the 19 felony counts
  4 with which he was charged:
  5                 (1)   one count of conspiracy to commit mail fraud (Count 1);
  6                 (2)   two counts of aiding in the filing of a false claim (Counts 21-
                          22);
  7
                    (3)   three counts of conspiracy to commit money laundering (Counts
  8                       23-25);
  9                 (4)   one count of concealment money laundering, including
                          international concealment money laundering (Count 31);
 10
                    (5)   nine counts of expenditure money laundering (Counts 33-42);
 11                       and
 12                 (6)   two counts of obstruction of justice (Counts 44-45).
 13
            444. As part of the factual basis to the plea agreement, Defendant ISAIAH
 14
      KINGSTON admitted to the U.S.-Based Fraudulent Fuel Tax Credit Scheme, and
 15
      to transferring “fraudulent proceeds of the scheme outside of the United States,
 16
      including to various accounts in Turkey and Luxembourg.”
 17
            445. Defendant ISAIAH KINGSTON presently is incarcerated and awaiting
 18
      sentencing.
 19
            Defendant DERMEN Convicted on all Ten Felony Counts at Trial
 20
            446. Defendant DERMEN proceeded to trial, and on March 16, 2020, a jury
 21
      found him guilty of all ten felony counts on which he was charged, including:
 22
                    (1)   conspiracy to commit mail fraud (Count 1);
 23
                    (2)   conspiracy to commit money laundering, including international
 24                       concealment money laundering (Count 24);
 25                 (3)   six counts of concealment money laundering (Counts 26-30,
                          32); and
 26
                    (4)   two counts of expenditure money laundering (Counts 42-43).
 27
 28

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  1           447. Defendant DERMEN is presently incarcerated and awaiting
  2 sentencing.
  3           448. In support of its efforts to gain forfeiture of properties from Defendant
  4 DERMEN following his criminal conviction, the U.S. government sought, “Any
  5 property traceable to such property transferred to SBK Holding, AS, including the
  6 following … assets…: The SBK Jet, Tail # TC-YYA, Bombardier Global XRS
  7 sn9356,” which was Dr. Ayasli’s XRS executive jet obtained by the RICO
  8 Enterprise as part of the fraudulent BoraJet transaction.
  9           449. In the forfeiture trial on November 19, 2021, a U.S. government
 10 witness testified that while Defendant DERMEN’s homes and businesses were
 11 being searched pursuant to a state search warrant in August 2017, Defendant
 12 DERMEN fled the United States for Turkey on the “SBK Jet”, the XRS Global
 13 business jet, which was obtained by the RICO Enterprise as part of the BoraJet
 14 transaction.11
 15      Defendant KORKMAZ Indicted in the United States on Related Charges
 16           450. On April 28, 2021, a grand jury in the United States District Court for
 17 the District of Utah issued a First Superseding Indictment charging Defendant
 18 KORKMAZ with:
 19                 (1)    one count of conspiracy to commit money laundering, in
                           violation of Title 18, United States Code, Section 1956(h)
 20                        (Count 1);
 21                 (2)    ten counts of wire fraud, in violation of Title 18, United States
                           Code, Section 1343 (Counts 2-11); and
 22
                    (3)    one count of obstruction of justice, in violation of Title 18,
 23                        United States Code, Section 1512 (Count 2); and
 24 all in connection with the RICO Enterprise’s fuel tax and money laundering
 25 schemes.
 26
 27      11
         At the time, Customs and Border Patrol agents reported that they had observed the tail of
 28 the XRS Global aircraft decorated with a logo reading “SBK.”

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  1        451. The indictment against Defendant KORKMAZ was unsealed on June
  2 21, 2021 following Defendant KORKMAZ’s arrest as a fugitive from justice in
  3 Austria on a warrant issued by the United States Department of Justice and
  4 Defendant KORKMAZ now is detained in Utah while pending trial.
  5        452. In a press release announcing Defendant KORKMAZ’s extradition, the
  6 U.S. Department of Justice stated that, “Korkmaz and his co-conspirators allegedly
  7 used the biofuel fraud proceeds to acquire luxury homes and assets as well as … the
  8 Turkish airline Borajet...”
  9               Factual Allegations from the KORKMAZ Indictment
 10        453. Among other facts, Defendant KORKMAZ’s indictment alleges the
 11 following: From March 2013 through December 2020, Defendant KORKMAZ,
 12 both individually and with his co-conspirators, including Defendant DERMEN,
 13 knowingly laundered the proceeds of the U.S.-based Fraudulent Fuel Tax Credit
 14 Scheme through financial transactions transmitting the Fraud Proceeds from the
 15 United States to businesses or accounts controlled by Defendant KORKMAZ or his
 16 associates in Turkey and Luxembourg, to conceal the illicit source of the funds.
 17        454.   Defendant KORKMAZ was the 100% owner of the following entities,
 18 and controlled bank accounts maintained in the names of these entities in the
 19 following countries:
 20                    Name of Entity                   Country

 21                    SBK Turkey                       Turkey
                       Biofarma                         Turkey
 22                    Isanne                           Luxembourg
 23        455. Defendant KORKMAZ also controlled, either directly or through
 24 associates, other
 25 bank accounts in Turkey maintained by the following entities:
 26               a.       Defendant KOMAK
 27               b.       Defendant SETAP
 28

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  1                c.   Defendant BLANE
  2                d.   Defendant MEGA VARLIK
  3                e.   Defendant KINGSTON
  4                f.   Defendant YILMAZ
  5        456. Defendant KORKMAZ, or co-conspirators acting at his direction,
  6 transferred or caused to be transferred, Fraud Proceeds from the U.S.-based
  7 Fraudulent Fuel Tax Credit Scheme from Defendant WASHAKIE’s bank accounts
  8 in the United States to bank accounts located in Turkey and Luxembourg. These
  9 recipient bank accounts were held by entities controlled by Defendant KORKMAZ
 10 including Defendants SBK TURKEY, KINGSTON, KOMAK, BLANE and
 11 ISANNE, as well as an account held by Defendant KINGSTON at Garanti Bank.
 12        457. Defendant KORKMAZ, or co-conspirators acting at his direction,
 13 transferred or caused to be transferred Fraud Proceeds back to the United States to
 14 bank accounts in Los Angeles, California held by entities controlled by Defendant
 15 DERMEN, including Defendants SBK USA, SPEEDY LION, and GT ENERGY.
 16        458. Defendant KORKMAZ and his co-conspirators used bank accounts in
 17 Turkey, including bank accounts held by entities controlled by Defendant
 18 KORKMAZ in the names of Defendant BIOFARMA and Defendant YILMAZ, to
 19 transfer Fraud Proceeds for the purpose of concealing and disguising the true nature
 20 and source of the funds being transferred.
 21        459. Defendant KORKMAZ and his co-conspirators used bank accounts in
 22 Turkey, including bank accounts in the names of Defendant KINGSTON and
 23 companies held in Defendant KINGSTON’s name, including Defendant BLANE
 24 f/k/a SETAP and Defendant MEGA VARLIK, to transfer Fraud Proceeds for the
 25 purpose of concealing and disguising the true nature and source of the funds being
 26 transferred.
 27        460. Defendant KORKMAZ and his co-conspirators had Defendant
 28 KINGSTON execute power of attorney forms shifting control over Defendant

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  1 KINGSTON’s bank accounts and companies in Turkey to Defendant KORKMAZ
  2 and/or his associates, through which Defendant KORKMAZ controlled these
  3 accounts and companies.
  4        461. Defendant KORKMAZ and his co-conspirators characterized the
  5 transfers of Fraud Proceeds as loans, share purchases, and loan paybacks for the
  6 purpose of concealing and disguising the true nature and source of the funds bring
  7 transferred.
  8        462.       Defendant KORKMAZ and his co-conspirators conducted at least 30
  9 transfers totaling $301,315,477 on the dates and in the amounts set forth in the table
 10 below between the listed sender and recipient:
 11    ¶    Date         Sender             Recipient (Destination)    Amount Sent       Amount Sent
                         (Country)                                     to Turkey or      to USA
 12                                                                    Luxembourg
       A    9/9/13       Washakie (USA)     Komak (Turkey)                  $4,000,000
 13    B    9/9/13       Washakie (USA)     Komak (Turkey)                  $5,000,000
       C    9/12/13      Komak (Turkey)     Speedy Lion (USA)                                $4,999,964
 14    D    9/17/13      Komak (Turkey)     Speedy Lion (USA)                                $1,999,964
       E    9/19/13      Komak (Turkey)     Speedy Lion (USA)                                $1,999,964
 15    F    11/13/13     Washakie (USA)     SBK Turkey (Turkey)            $10,000,000
       G    12/31/13     Washakie (USA)     Komak (Turkey)                 $13,000,000
 16    H    1/21/14      Komak (Turkey)     Speedy Lion (USA)                                $9,000,000
       I    3/12/14      Washakie (USA)     Jacob Kingston (Turkey)        $10,000,000
 17    J    3/24/14      Washakie (USA)     Blane (Turkey)                  $4,055,700
       K    3/24/14      Washakie (USA)     Blane (Turkey)                  $5,000,000
 18    L    5/9/14       Washakie (USA)     Blane (Turkey)                  $2,000,000
       M    4/28/15      Washakie (USA)     Garanti Bank (Turkey)          $15,000,000
 19    N    5/19/15      Washakie (USA)     Isanne (Luxembourg)            $35,000,000
       O    5/27/15      Washakie (USA)     Isanne (Luxembourg)            $21,300,000
 20    P    6/22/15      Yilmaz (Turkey)    Speedy Lion (USA)                                $6,999,950
       Q    6/23/15      Yilmaz (Turkey)    Speedy Lion (USA)                               $12,999,950
 21    R    7/3/15       Isanne             SBK USA (USA)                                   $15,000,000
                         (Luxembourg)
 22    S    10/27/15     Speedy Lion        Yilmaz (Turkey)                 $6,999,950
                         (USA)
 23    T    10/28/15     Speedy Lion        Yilmaz (Turkey)                $12,999,950
                         (USA)
 24    U    11/3/15      Yilmaz (Turkey)    G.T. Energy (USA)                               $19,999,950
       V    12/14/15     Washakie (USA)     Jacob Kingston (Turkey)         $2,100,000
 25    W    12/28/15     Washakie (USA)     Jacob Kingston (Turkey)         $6,900,000
       X    2/17/16      Noil Energy        SBK Turkey (Turkey)             $3,885,135
 26                      Group (USA)
       Y    3/22/16      Noil Energy        Komak (Turkey)                  $3,810,000
 27                      Group (USA)
       Z    6/9/16       G.T. Energy        SBK Turkey (Turkey)            $23,000,000
 28                      (USA)


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  1     ¶    Date       Sender             Recipient (Destination)    Amount Sent        Amount Sent
                        (Country)                                     to Turkey or       to USA
  2                                                                   Luxembourg
        AA   6/10/16    SBK Turkey         G.T. Energy (USA)                                $23,000,000
  3                     (Turkey)
        BB   10/21/16   SBK USA (USA)      SBK Turkey (Turkey)              $6,000,000
  4     CC   11/8/16    SBK USA (USA)      SBK Turkey (Turkey)             $15,000,000
        DD   11/8/16    SBK USA (USA)      SBK Turkey (Turkey)               $265,000
  5
                                           TOTALS:                        $205,315,735      $95,999,742
  6
  7          463. Defendant KORKMAZ and his co-conspirators used Fraud Proceeds
  8 “to invest in various companies, including . . . BIOFARMA . . .BLANE . . .MEGA
  9 VARLIK . . . and holding companies in Turkey called BUKOMBIN and
 10 BUGARAJ,” which were then used “to acquire a Turkish airline called BoraJet; and
 11 an aviation company in Turkey names Aydin Jet, which later was changed to SBK
 12 Air.”
 13          464. Defendant KORKMAZ and his co-conspirators “used Fraud Proceeds
 14 to acquire other assets, including real property in Turkey, a hotel in Turkey, a
 15 hospital in Turkey, two hotels in Switzerland, a yacht named the Queen Anne, and a
 16 villa and an apartment on the Bosphorus in Istanbul, Turkey.”
 17          465. The obstruction count stems from interviews that Defendant
 18 KORKMAZ had in April 2019 in Utah with federal prosecutors and agents
 19 investigating the underlying conduct addressed in the criminal indictments of
 20 Defendants DERMEN, KINGSTON and ISAIAH KINGSTON. During those
 21 interviews, Defendant KORKMAZ knowingly and intentionally made a number of
 22 material false statements with the intent to obstruct the Kingston/Dermen Criminal
 23 Proceeding by concealing the true scope of the RICO Enterprise’s money
 24 laundering operations.
 25          466. Defendant KORKMAZ lied to federal prosecutors and agents in
 26 stating that Defendant KINGSTON never told him that Defendant KINGSTON was
 27 under criminal investigation.
 28

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  1               467. Defendant KORKMAZ lied to federal prosecutors and agents in
  2 stating that he sent funds from Defendant KOMAK in Turkey to the United States
  3 because Defendant KINGSTON called him and told him that they found “cheaper
  4 machinery” in the United States and, therefore, Defendant KINGSTON wanted
  5 Defendant KORKMAZ to send the money back to the United States.
  6               468. Defendant KORKMAZ lied to federal prosecutors and agents in
  7 stating that he told Defendant KINGSTON that he (Defendant KORKMAZ) was
  8 sending the funds to Defendant DERMEN to purchase “cheaper equipment.”
  9               469. Defendant KORKMAZ lied to federal prosecutors and agents in
 10 stating that he used his own money to make a $20 million loan to Defendant
 11 DERMEN through Defendant YILMAZ in June 2015.
 12               470. Defendant KORKMAZ lied to federal prosecutors and agents in
 13 stating that Defendant DERMEN repaid this $20 million loan with interest three
 14 months later.
 15               471. Defendant KORKMAZ also lied to federal prosecutors and agents to
 16 conceal the true ownership of high value assets purchased with laundered funds
 17 when, for example, he stated that he was the sole owner of the Queen Anne yacht.12
 18 The First Superseding Indictment also includes a forfeiture provision seeking,
 19 among other things, “any and all investments made using proceeds, and
 20 / / /
 21 / / /
 22 / / /
 23 / / /
 24 / / /
 25 / / /
 26
            12
                 The U.S. Government already successfully seized the Queen Anne, a yacht named after
 27 Defendant DERMEN’s daughter, registered in the United States, and used by Defendants
 28 DERMEN and KORKMAZ.

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  1 any gains from those investments, including investments in . . . MEGA VARLIK[],
  2 including investments by SBK [TURKEY].”
  3              1.     Turkey-based Criminal Indictments
  4        472. On April 14, 2021, the Turkish Chief Public Prosecutor’s Office,
  5 Terror Crimes Investigation Bureau issued an indictment against Defendants
  6 KORKMAZ, DERMEN, KINGSTON, OZKARAMAN, SBK TURKEY, MEGA
  7 VARLIK, YILMAZ, ZOUBKOVA, ISANNE, BIOFARMA, BLANE, and
  8 KOMAK.
  9        473. The individual Defendants were charged with “laundering assets
 10 derived from criminal activity” in connection with conduct arising out of the RICO
 11 Enterprise’s laundering of Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax
 12 Credit Scheme. The corporate defendants were deemed “financially liable” for this
 13 conduct.
 14        474. While not charged in this indictment, the U.S.-based corporate
 15 Defendants WASHAKIE, SBK USA, NOIL ENERGY, SPEEDY LION, GT
 16 ENERGY and UNITED FUEL SUPPLY all were named as being “connected” to
 17 this laundering activity via the U.S.-based Fraudulent Fuel Tax Credit Scheme.
 18        475. An official Turkish Government Report issued in conjunction with this
 19 indictment determined that money transfers were made from the U.S.-based
 20 corporate Defendants WASHAKIE, NOIL ENERGY, SPEEDY LION, SBK USA,
 21 UNITED FUEL SUPPLY, and GT ENERGY to business accounts in Turkey
 22 controlled by corporate Defendants SBK TURKEY, MEGA VARLIK, ISANNE,
 23 KOMAK, BLANE, and BIOFARMA, as well as to accounts in Turkey controlled
 24 by Defendants KORKMAZ, DERMEN, KINGSTON, OZKARAMAN, YILMAZ,
 25 and ZOUBKOVA.
 26        476. The Report found that Defendants DERMEN, KINGSTON and
 27 KORKMAZ were all working with Defendant SBK TURKEY as part of the same
 28 criminal organization.

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  1            477. The Report concluded that there is concrete evidence that the money
  2 transferred to Defendant KORKMAZ were Fraud Proceeds obtained via the U.S.-
  3 based Fraudulent Fuel Tax Credit Scheme.
  4            478. An arrest warrant issued in Turkey for Defendants KORKMAZ,
  5 DERMEN, KINGSTON, ISAIAH KINGSTON, OZKARAMAN, YILMAZ, and
  6 ZOUBKOVA, alleged that these individuals had committed the crime of
  7 Laundering Assets Derived from Criminal Activity as stated in Article 282 of the
  8 Turkish Criminal Code.
  9 A.         PLAINTIFF DR. YALCIN AYASLI
 10            479. Dr. Yalcin Ayasli was born in Ankara, Turkey in 1946.
 11            480. He received his Bachelor of Science degree from Middle East
 12 Technical University’s (“METU”) Department of Electrical Engineering in 1968.
 13            481. Dr. Ayasli then came to the United States for graduate studies, where
 14 he earned his MSEE and Sc.D. degrees from the Massachusetts Institute of
 15 Technology (“MIT”) in 1973.
 16            482. From 1973-79, Dr. Ayasli returned to Turkey to work as a faculty
 17 member and Deputy Department Chair in the Electrical Engineering Department at
 18 METU.
 19            483. Dr. Ayasli returned to the United States in 1979 when he joined
 20 Massachusetts-based Raytheon, Inc.
 21            484. In 1985, Dr. Ayasli founded Hittite Microwave Corporation
 22 (“Hittite”), a Chelmsford, Massachusetts-based company which designed and
 23 produced components for mobile phones, medical instruments, military and
 24 aerospace technology.
 25            485. Dr. Ayasli served as Hittite’s CEO and Chairman of the Board for over
 26 20 years.13
 27
         13
              Dr. Ayasli is a Fellow of the Institute of Electrical and Electronics Engineers (“IEE”) and is
 28 the developer and holder of 15 U.S. patents. IIEE Fellows “have accomplishments that have

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  1          486. In connection with Hittite’s production of circuitry for military and
  2 aerospace technology, Dr. Ayasli held security clearances from the United States
  3 government.
  4          487. Hittite became a publicly-traded company in 2005, and was listed on
  5 the NASDAQ exchange.
  6          488. Dr. Ayasli retired in 2005 but maintained a significant financial stake
  7 in Hittite.
  8          489. In 2014, Hittite was acquired by Analog Devices, Inc. for $2.5 billion
  9 USD.
 10          490. Following his retirement from Hittite, Dr. Ayasli became a well-
 11 known philanthropist focused on two primary areas: (1) scientific research and
 12 development, and (2) the promotion of cultural exchanges and friendly relations
 13 between the United States and Turkey.
 14          491. Dr. Ayasli and his wife Dr. Serpil Ayasli have endowed educational
 15 and research grants at Harvard University, the University of Chicago, and the
 16 University of Utah, and underwrote the construction of a new laboratory at MIT,
 17 and a new research building and laboratories at METU in Turkey.
 18          492. In their pursuit of cultural exchange and friendly relations between the
 19 United States and Turkey, the Ayaslis founded two public charitable
 20 organizations—the Turkish Cultural Foundation in 2000, and the Turkish Coalition
 21 of America in 2007.
 22          493. To date, Dr. Ayasli has donated more than $60 million to these two
 23 charities.
 24
 25
 26
 27 contributed importantly to the advancement or application of engineering, science, and
 28 technology, bringing the realization of significant value to society.”

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  1                           The Turkish Coalition of America (“TCA”)
  2            494. The TCA’s purpose is to educate the public about Turkey, Turkish
  3 culture, and Turkish history, and to promote and advance the interests of Turkey
  4 and Turkish people in the United States and abroad.
  5            495. Among its many activities, TCA has facilitated educational tours of
  6 Turkey for 180 United States Congressmen and their chiefs of staff, 13 state
  7 attorneys general, and dozens of influential Americans.
  8            496. Since 2007, TCA has provided young Turkish-Americans with 167
  9 internship opportunities, 87 of them in Congressional offices; and nearly 500
 10 scholarships to American students to study in Turkey.
 11                           The Turkish Cultural Foundation (“TCF”)
 12            497. TCF’s purpose is to increase knowledge of Turkey’s cultural heritage
 13 and highlight its contributions to world culture and humanity.
 14            498. TCF is one of a few cultural non-governmental organizations
 15 (“NGOs”) worldwide to be awarded the privilege of official relations with
 16 UNESCO.14
 17            499. TCF and Armaggan, a Turkish luxury brand of natural dyed textiles
 18 and other goods founded by Dr. Ayasli, jointly established the Cultural Heritage
 19 Preservation and Natural Dyes Laboratory in Istanbul, which works to preserve and
 20 promote Turkey’s textile heritage through research and development. It holds the
 21 most extensive collection of natural dye materials in the world and provides free
 22 analytical services to museums worldwide seeking to preserve historical textiles.
 23
 24
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         14
              “The United Nations Educational, Scientific and Cultural Organization may make suitable
 26 arrangements for consultation and cooperation with non-governmental international organizations
      concerned with matters within its competence, and may invite them to undertake specific tasks.”
 27 See Turkish Cultural Foundation, UNESCO, https://en.unesco.org/partnerships/non-
 28 governmental-organizations/turkish-cultural-foundation, (Nov. 3, 2017 11:54 AM).

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  1         500. TCF has facilitated cultural tours of Turkey for 600 U.S. high school
  2 teachers, and has conferred 195 fellowships to build artistic, cultural, and scholarly
  3 exchanges across the globe.
  4         501. TCF has also focused on educating the world about Turkish culture
  5 through its web-based content, and lectures on Turkish culture by leading experts
  6 and scholars at its Istanbul office, at prestigious institutions worldwide, and via the
  7 online TCF Video Gallery. The TCF website is among the most visited portals on
  8 Turkish culture on the Internet and has been accessed by millions of visitors from
  9 across the globe.
 10         502. TCF is also one of the largest private providers of financial support for
 11 projects celebrating Turkish culture – providing millions of dollars in grants
 12 supporting Turkish music, art festivals and exhibitions around the world.
 13         1.    Dr. Ayasli’s Investments in Turkey
 14         503. Beyond the amounts endowing his charitable organizations, Dr. Ayasli
 15 has invested more than $390 million in various business interests in Turkey
 16 including: (1) the regional airline BoraJet and its affiliates (Aydin Jet and BoraJet
 17 Bakim); (2) Armaggan, a luxury retailer which produces and promotes Turkish
 18 natural-dyed fabrics, crafts and cuisine; (3) the critically-acclaimed Nar Restaurant
 19 in Istanbul; (4) Nar Gourmet, a company that produces, promotes, and sells Turkish
 20 cuisine and natural products; and (5) Bora Turizm, a Turkish-based international
 21 travel agency.
 22         504. Dr. Ayasli has also purchased and restored several historically
 23 commercial and residential buildings in the Ortakoy, Nurosmaniye and Kandilli
 24 districts of Istanbul.
 25         505. Dr. Ayasli’s real estate holdings in Turkey exceed $150 million.
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  1                 1.     BoraJet
  2           506. In the summer of 2007, with a vision to expand international tourism
  3 beyond the reach of traditional air carriers in Turkey, Dr. Ayasli acquired Ovaair
  4 Ucak Bakim Onarim ve Havacilik Ticaret Ltd. Sti (“Ovaair”).
  5           507. Ovaair had a license to conduct short-range commercial flights.
  6           508. After purchasing Ovaair, Dr. Ayasli changed the name of the company
  7 to BoraJet.
  8           509. BoraJet began operating in state-owned airports across Turkey in the
  9 fall of 2007, providing access to less-traveled areas of Turkey not serviced by the
 10 major international carriers. BoraJet was the only regionally-operating airline in
 11 the Republic of Turkey.
 12           510. In 2014, Dr. Ayasli founded BoraJet Bakim, a separate corporate entity
 13 established to conduct aircraft maintenance.
 14           511. In 2015, Dr. Ayasli established Aydin Jet, a separate corporate entity
 15 created to purchase, hold, and operate a single Bombardier Global XRS aircraft - a
 16 large-cabin business jet available for long-range private business travel.
 17           512. On October 10, 2015, BoraJet signed a letter of intent with Embraer
 18 for the purchase of 30 additional jet aircraft worth $991,700,000 with the intent of
 19 expanding its fleet to 45 planes and moving from a leased-aircraft to an owned-
 20 aircraft business model. Delivery of the planes was planned for the second half of
 21 2017 in anticipation of the 2018 opening of Istanbul’s third international airport.15
 22           513. In the summer of 2015, BoraJet entered into codeshare agreements
 23 with Turkish Airlines (“THY”) to permit BoraJet to fly routes under the banner of
 24
 25
 26      15
           On November 2, 2018, the Istanbul Airport opened and was promoted as the beginning of
    “The golden age of Turkish Aviation Industry.” See Press Release dated Nov. 2, 2018 at
 27 https://www.igairport.com/en/press-releases/the-golden-age-of-turkish-aviation-ndustry-is-
 28 coming-on-the-95th-anniversary-of-the-foundation-of-the-republic (last visited on Jan. 29, 2019).

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  1 THY subsidiary AnadoluJet, which provided significant prestige in the Turkish and
  2 international commercial aviation markets.
  3           514. In the Spring of 2016, BoraJet negotiated and executed a service
  4 contract with the Turkish government to perform maintenance on passenger aircraft
  5 belonging to the Turkish Navy stationed at the Topel Naval Air Station in Kocaeli
  6 (Turkey).
  7           515. In 2016, BoraJet also entered into a significant marketing sponsorship
  8 arrangement with the famed Istanbul-based sports club Fenerbahce, pursuant to
  9 which BoraJet transported the Fenerbahce soccer team to its European matches, and
 10 the soccer team wore BoraJet’s logo on its jerseys.16 The Fenerbahce marketing
 11 deal with BoraJet also led to the creation of a documentary film about the team’s
 12 plane, which prominently promoted BoraJet to the Turkish public.
 13                       i.      BoraJet’s Valuation
 14           516. In the spring of 2016, BoraJet owned (1) two commercial airline
 15 hangars (one at Ankara Esenboğa International Airport and the other at Istanbul
 16 Atatürk Airport); (2) designated gates at both Istanbul airports and several other
 17 regional airports across Turkey; (3) a fleet of 12 Embraer 190 airliners with seating
 18 for up to 110 passengers each; (4) a pending order with Embraer for 30 new jet
 19 aircraft; (5) a Bombardier Global XRS jet aircraft for business and executive travel
 20 (through its affiliate Aydin Jet); (6) a new codeshare partnership with Turkish
 21 Airlines; and (7) a new aviation service contract with the Turkish military.
 22           517. By the spring of 2016, BoraJet was flying a full schedule of domestic
 23 and international routes and ridership and support from the flying public was
 24 growing steadily.
 25
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        16
 28          https://www.youtube.com/watch?v=Wd7cHO3jbDk (last visited December 15, 2018)

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  1           518. On April 27, 2016, in connection with BoraJet’s expansion efforts,
  2 BoraJet engaged Ata Invest, a financial consulting firm, to help solicit international
  3 investment in BoraJet.
  4           519. In furtherance of that effort, Ata Invest appraised BoraJet as a going
  5 concern, based on different valuation methodologies. The more conservative
  6 benchmarking method assessed BoraJet’s value in the spring of 2016 between $335
  7 million and $358 million USD.
  8 B.        The July 15, 2016 Coup d’Etat Attempt in Turkey
  9           520. On July 15, 2016, the Turkish military put down an attempted coup
 10 d’état (“coup attempt”) against the government. The putschists strafed crowded
 11 streets from helicopter gunships and bombed the Turkish parliament building. Over
 12 250 civilians were killed and thousands more were wounded.
 13           521. On July 20, 2015, the Turkish government declared a state of
 14 emergency, and accused deposed Turkish cleric Fethullah Gulen and his
 15 organization, the Fettullahci Teror Orgutu or “FETO,” of masterminding the coup
 16 attempt.
 17           522. Gulen has lived in self-exile in rural Pennsylvania since 1999.
 18           523. In the aftermath of the coup attempt, Turkish authorities cracked down
 19 on businesses and individuals alleged to have ties to FETO. More than 100,000
 20 people were arrested, incarcerated, removed from government employment, or had
 21 their businesses or property confiscated based on their alleged connections or
 22 allegiances to FETO.17
 23           524. A significant number of judges and prosecutors also were arrested,
 24 removed, or reassigned based on suspicions that they were affiliated with or
 25 sympathetic to FETO.
 26
 27      17
        See U.S. Dept. of State, Bureau of Democracy, Human Rights and Labor, Turkey 2017
 28 Human Rights Report.

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  1         525. This heightened government scrutiny created an acute concern of
  2 adverse consequences among judges and prosecutors that ensured that allegations
  3 of FETO association would be fully investigated and severely punished if supported
  4 by any evidence.
  5 C.      THE RICO ENTERPRISE’S SCHEME TO ACQUIRE BORAJET
  6         1.     The RICO Enterprise’s Media Disinformation Campaign
  7         526. In the spring of 2016—prior to the coup attempt—during a meeting
  8 held at SBK USA’s offices, Defendant DERMEN discussed plans to “take over an
  9 airline in Turkey.”
 10         527. Defendant DERMEN later specifically identified this airline as
 11 BoraJet.
 12         528. Defendant DERMEN stated he and his associates had “around $200
 13 million USD in cash” to invest in Turkey and were waiting for the right
 14 opportunity.
 15         529. After the failed coup attempt, Defendant DERMEN specifically
 16 acknowledged, that the resulting social instability benefitted the RICO Enterprise
 17 and provided it with a unique opportunity to acquire BoraJet and other “distressed”
 18 businesses and real estate in Turkey.
 19         530. Within weeks of the failed coup, the RICO Enterprise, employing a
 20 well-honed organize crime practice of destabilizing a targeted asset to facilitate its
 21 acquisition, capitalized on the highly-charged political environment in Turkey by
 22 initiating a targeted disinformation campaign directed to destroy Dr. Ayasli’s
 23 reputation and devalue BoraJet.
 24         531. Using Fraud Proceeds derived from the U.S.-based Fraudulent Fuel
 25 Tax Credit Scheme that had been laundered into Turkey, Defendant KORKMAZ
 26 paid journalists in the Turkish media to publish inflammatory stories falsely
 27
 28

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  1 connecting Dr. Ayasli, BoraJet, and his charities to Gulen, FETO and the coup
  2 attempt.18
  3            532. Among other things, Defendant KORKMAZ, on behalf of the RICO
  4 Enterprise, falsely claimed that (1) BoraJet planes were used to facilitate the travel
  5 of FETO members, including Gulen, into and out of Turkey; (2) coup-plotters were
  6 provided access to the BoraJet terminal where FETO leaders could engage in
  7 conspiratorial meetings to plot the coup; and (3) that Dr. Ayasli had invented the
  8 encrypted web application called ByLock, which the coup plotters used to
  9 communicate surreptitiously without discovery by the government.19
 10            533. Turkish “journalists” Bulent Baskoy, Ergün Diler, Ersin Ramoğlu,
 11 Mahmut Övür, Soner Yalçın and Turkish newspapers Takvim, Sabah, Gazeteport,
 12 Cumhuriyet, Hurriyet, and Haberturk began publishing articles and “investigative
 13 stories” about Dr. Ayasli, BoraJet, and Dr. Ayasli’s charitable organizations that
 14 falsely associated each with FETO.
 15            534. These false FETO allegations were posted to the newspapers’ internet
 16 pages, and re-published on internet sites and social media platforms within Turkey
 17 and across the world, including within California.
 18
 19
         18
              This would be akin to labeling a person or a business as being associated with Al Qaeda in
 20 the immediate aftermath of the September 11, 2001 terrorist attacks in the United States. As
      addressed throughout this Complaint, Defendant KORKMAZ repeatedly has weaponized his
 21 manufactured FETO claims against Dr. Ayasli – and the media’s amplification of such claims --
 22 to secure competitive advantages over him in business and legal matters. Importantly, the Turkish
    government conducted a full investigation into these claims over the course of several years and
 23 formally absolved Dr. Ayasli of these unfounded claims.
         19
 24          It is widely reported that in the months following the coup attempt, the Turkish government
      arrested approximately 75,000 people simply on the basis that each had downloaded an encrypted
 25   messaging application called ByLock. It was also reported that Turkey’s chief prosecutor said,
      “using ByLock remains one of the biggest indications of collaboration with the plotters of the
 26   failed putsch in which 250 people were killed.” See Reuters, Turkey Begins Freeing Suspects
      Linked to App Used by Coup Plotters, published December 29, 2017,
 27   https://www.reuters.com/article/us-turkey-security-app/turkey-begins-freeing-suspects-linked-to-
 28   app-used-by-coup-plotters-media-idUSKBN1EN1B9 (last visited December 13, 2018).

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  1                  1.     The first false FETO stories emerge
  2           535.   Reporter Mahmut Ovur, Defendant KORKMAZ’s friend and
  3 associate at the national Turkish newspaper Sabah, published the first story falsely
  4 linking Dr. Ayasli and BoraJet to FETO through his August 21, 2016 article FETO
  5 is Everywhere. Sabah publishes its content for free online and is read by people of
  6 Turkish descent in California, the United States and across the world.20
  7           536. On August 23, 2016, Ovur published a column in Sabah entitled “Who
  8 Introduced these Names to American Ayasli?” and drew additional false
  9 connections between Dr. Ayasli and FETO.
 10                  2.     Takvim’s Ergun Diler publishes articles reinforcing the false
                            FETO claims
 11
              537. In August 2016, at Defendant KORKMAZ’s direction, an agent of the
 12
      RICO Enterprise met with columnist Ergün Diler, of the national Turkish
 13
      newspaper Takvim, which has a daily print circulation of 150,000 to 200,000
 14
      readers and is accessible online in California and throughout the United States via
 15
      the internet.21
 16
              538. At the direction of Defendant KORKMAZ and on behalf of the RICO
 17
      Enterprise, this individual made false statements to Diler regarding Dr. Ayasli’s
 18
      alleged connections to FETO with knowledge of their falsity, and aided, abetted,
 19
      and encouraged Diler to publish articles falsely tying Dr. Ayasli and BoraJet to
 20
      FETO and Gulen.
 21
              539. Following his meeting, Diler published a series of columns in Takvim
 22
      in which he alleged, among other things, (a) that Dr. Ayasli and his associates used
 23
      BoraJet planes to secretly transport alleged FETO members into and out of Turkey;
 24
 25
         20
 26        Sabah’s internet site is located at https://www.sabah.com.tr (most recently accessed on
      August 26, 2022).
 27      21
         Takvim’s internet site is located at https://www.takvim.com.tr (most recently accessed on
 28 August 26, 2022).

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  1 (b) that using his technical background, Dr. Ayasli had designed the ByLock
  2 cellphone application used by FETO members to secretly communicate their
  3 treasonous plans; and (c) that Dr. Ayasli’s close associates were operatives of the
  4 U.S. Central Intelligence Agency working in Turkey.
  5           540. On September 2, 2016, Diler published a column titled Has Gulen
  6 Come Back? that claimed Dr. Ayasli helped individuals, including alleged FETO
  7 leader Fethullah Gulen, enter and exit Turkey undetected by the Turkish
  8 government in advance of the July 2016 coup attempt by using a special customs-
  9 free hangar used for private jets like Dr. Ayasli’s Aydin Jet:
 10                 Ayasli . . . owned the most special hangar in the
                    ATATURK AIRPORT. IT HAD TWO ENTRIES. The
 11                 law enforcement and customs officers were not there.
                    VERY SPECIAL GUESTS USED THAT HANGAR
 12                 AND THEY BOARD FROM THERE AND THEY FLY
                    WHEREVER THEY WANT. Most of them were
 13                 foreigners. Many Americans board from there. NO
                    MANIFEST, [no] document listing the passengers. More
 14                 importantly, they landed with full of money without any
                    explanation. Nobody had that privilege. The $58 million
 15                 dollar plane was special because the hangar was SPECIAL.
                    People from the U.S. or somewhere else came to Turkey
 16                 without any RECORD and leave the country from there.
                    For example, if Fethullah Gulen came to Turkey and held
 17                 his meetings in Istanbul, nobody would have known it. He
                    would have left freely. Many people did that. No records.
 18
              541. The next day, on September 3, 2016, Diler published a follow-up
 19
      article entitled “It is not the Akinci Base,22 it is the Hangar!” which continued to
 20
      falsely link Dr. Ayasli to FETO, and falsely implied that BoraJet was a “front” for
 21
      FETO used by FETO associates to enter and leave Turkey undetected by the
 22
      Turkish government:
 23
                    Yalcin Ayasli generally spent his summers in Istanbul. He
 24                 used to visit his hangar with foreigners. It had a SPECIAL
                    GATE! Nobody had to show IDs or passports…. The
 25                 visitors came and went. No police officers, no security,
 26      22
          During the July 15, 2016 coup attempt, the Akinci Air Base located in Ankara was used as
    the “command center” for the pro-coup (FETO) military. The Turkish Chief of the General Staff,
 27 Hulusi Akar, was taken hostage by pro-coup soldiers and transported to Akinci Air Force Base
 28 where he was detained.

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  1             and no customs officer! FETO AIRPORT! This hangar
                hosted many foreigners. Generally at nights. When they
  2             held their SECRET MEETINGS….
  3        542. On September 7, 2016, Diler wrote another column entitled The

  4 Hangar Mood in which he again accused Dr. Ayasli of illicit dealings.
  5      543. Diler’s onslaught articles targeting Dr. Ayasli and BoraJet continued.

  6 Just two days later, on September 9, 2016, Diler again drew false connections
  7 between Dr. Ayasli and FETO in an article entitled The Hangar Door.
  8        544. In that article, Diler acknowledged that Dr. Ayasli had confronted him

  9 and the Takvim legal affairs department about the falsity of Diler’s articles linking
 10 Dr. Ayasli and BoraJet to FETO and demanded a retraction, which Diler refused to
 11 provide.
 12       545. Instead, Diler’s articles targeting Dr. Ayasli and BoraJet continued

 13 unabated. On October 6, 2016, Diler published a front-page story in Takvim
 14 entitled Here is the BayLock [sic] accompanied by a photograph identified as Dr.
 15 Ayasli, which falsely accused Dr. Ayasli of having designed ByLock:
                FURTHERMORE,            YALCIN         AYASLI       WAS
 16             INTERESTED IN SOFTWARE.                  How long has
                SOFTWARE been our secret headline? Yes! After July
 17             15! Because we found out that the FETO putschists were
                communicating via the application called ByLock. The
 18             putschists created the application and communicated via
                this special software that Turkey couldn’t create. It was
 19             stated that 215,000 people used it. The people related to
                FETO gave ORDERS and follow orders through this
 20             application. That’s how the ATTEMPT started … THE
                TEAM OF TURKS AND AMERICANS, WHICH
 21             CREATED THIS SOFTWARE, WAS TRAVELLING
                WITH YALCIN’S [AYASLI’s] AIRPLANE!
 22
 23       546. On October 25, 2016, Diler, continuing to advance the RICO

 24 Enterprise’s disinformation campaign, again repeated the fabricated ByLock claims
 25 and falsely linked BoraJet to FETO in an article entitled, The Bay Lock Story.
 26        547. On November 18, 2016, Diler elevated the false FETO allegations

 27 even further through an article entitled, Strange Relationships, in which Diler
 28 falsely reported that Dr. Ayasli’s charities TCA and TCF were associated with

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  1 FETO and further claimed that U.S. Senators Dan Burton and Richard Lugar were
  2 “FETO sympathizers” working through TCA and TCF to advance FETO’s
  3 objectives.
  4           548. Diler also falsely claimed in that article that Hittite surreptitiously sold
  5 secret United States military technology to Israel, China, and India while under Dr.
  6 Ayasli’s leadership.
  7                 3.     Additional stories amplifying the false FETO allegations
  8           549. On September 4, 2016, Ovur’s Sabah colleague, Ersin Ramoglu,
  9 published yet another column falsely claiming that Dr. Ayasli was connected to
 10 FETO. The article, entitled Did Fethullah Gulen Come to Istanbul? claimed that
 11 BoraJet aircraft were used to help FETO members flee Turkey and reinforced
 12 Diler’s earlier claims in Takvim that Dr. Ayasli and BoraJet helped Fetullah Gulen
 13 enter and exit Turkey secretly in planning the coup.
 14           550. On September 23, 2016, a third national media outlet in Turkey, Sozcu
 15 Gazetesi,23 published an article written by journalist Soner Yalcin entitled I Wish
 16 Mucahit Arslan Would Talk, which repeated and reinforced the false claims
 17 connecting Dr. Ayasli to FETO. Sozcu is a print publication distributed throughout
 18 Turkey that, like Sabah, also provides free access to its content online and is widely
 19 read by people of Turkish descent in California, and across the United States and
 20 the world.
 21 D.        Dr. Ayasli leaves Turkey to protect his family’s safety
 22           551. Dr. Ayasli was visiting Turkey with his family when the first series of
 23 articles falsely linking him to FETO and the failed coup were published.
 24           552. With each false story, the public scrutiny of Dr. Ayasli and his family
 25 magnified.
 26
 27      23
         Sozcu’s internet site is located at https://www.sozcu.com.tr (most recently accessed on
 28 August 26, 2022).

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  1         553. Dr. Ayasli had no idea where these false stories were originating from
  2 and therefore, no effective means of extinguishing the gaslighting that had been
  3 directed at him and BoraJet as his demands for retractions went unheeded.
  4         554. On September 13, 2016, upon the advice of several advisors that Dr.
  5 Ayasli and his family faced real threats of arrest by Turkish authorities
  6 investigating the FETO claims and assault by citizens angered by the FETO
  7 allegations, Dr. Ayasli and his family left Turkey. They have not since returned.
  8         555. For the past six years, Dr. Ayasli has been wholly dependent on the
  9 assistance of third parties to protect his personal, legal and business interests in
 10 Turkey. Many of these individuals either became the subject of Enterprise-directed
 11 FETO allegations and/or were threatened or assaulted by Defendant KORKMAZ
 12 because of their assistance to Dr. Ayasli.
 13 E.      Credible Threats of Violence Against TCA’s Office in Istanbul
 14         556. The danger presented to Dr. Ayasli, his family, and his business
 15 interests as a result of the onslaught of publications falsely tying Dr. Ayasli,
 16 BoraJet, TCF and TCA to FETO was real.
 17         557. The RICO Enterprise targeted TCF and TCA because Defendant
 18 KORKMAZ knew that Dr. Ayasli had committed a tremendous amount of his
 19 personal wealth, time, emotion, and energy into the growth and success of these
 20 charities.
 21         558. The RICO Enterprise knew that by implicating these charities as
 22 “fronts” for FETO, it would (a) cause the employees of these charities to quit out of
 23 fear; (b) threaten the reputation and viability of these charities; (c) perfect their
 24 claim that Dr. Ayasli was a FETO agent; and (d) thus increase the pressure on Dr.
 25 Ayasli to capitulate to the RICO Enterprise’s demands when it came time for the
 26 Enterprise to proceed with its planned takeover of BoraJet.
 27
 28

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   1         559. After being linked to FETO through the media disinformation
   2 campaign, multiple credible threats of violence were made against Dr. Ayasli’s
   3 Istanbul-based TCA office.
   4         560. The TCA office subsequently received a warning from the American
   5 Embassy in Ankara about an imminent threat to the personal safety of its
   6 employees.
   7         561. The TCA office also received verbal warnings by phone from the
   8 American Consulate in Istanbul.
   9         562. At first, TCA staff responded to these warnings by removing the
  10 TCA’s street-facing identifying door signs at their offices in Istanbul. Doing so,
  11 however, did not stop the threats.
  12         563. TCA staff was then forced, out of fear for their safety, to move the
  13 TCA’s operations to undisclosed and decentralized locations across Istanbul.
  14         564. After that proved to be untenable, the TCA’s Istanbul operations were
  15 shuttered in December 2016. Its Turkish operations remain closed.
  16 F.      BoraJet’s Financial Distress Resulting from the RICO Enterprise’s
             Media Disinformation Campaign
  17
             565. The RICO Enterprise-directed media disinformation campaign against
  18
       Dr. Ayasli and BoraJet was intended to, and did in fact, inflict continuous, repeated
  19
       and irreparable damage to BoraJet.
  20
             566. The relentless publication of FETO allegations crippled BoraJet’s
  21
       reputation with its core customer base – Turkish citizens -- as members of the
  22
       Turkish public were fearful of being associated with an airline linked to FETO.
  23
       Passenger numbers plummeted, threatening BoraJet’s viability as a going concern.
  24
             567. The pervasive and inflammatory FETO allegations advanced through
  25
       these stories similarly crippled Dr. Ayasli’s and BoraJet’s ability to maintain
  26
       existing contractual relationships.
  27
  28

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   1            568. On September 2, 2016, the same day that Diler published his first
   2 article against Dr. Ayasli and BoraJet in Takvim, Zahide Uner, the Chief Financial
   3 Officer for Dr. Ayasli’s businesses in Turkey (“CFO Uner,” “Ms. Uner”), received
   4 calls from several of Dr. Ayasli’s banks and creditors expressing serious concerns
   5 about the Takvim article.
   6            569. Less than a week later, on September 9, 2016, Turkish Airlines
   7 (“THY”), without prior warning, terminated its supply agreement to purchase
   8 products developed by NAR Gourmet for distribution on Turkish Airlines planes,
   9 causing NAR Gourmet to lose one of its largest sources of revenue.
  10            570. Three weeks later, on September 28, 2016, Turkish Airlines cancelled
  11 its “wet lease” agreement with Bora Jet.24
  12            571. Two weeks after that, on October 11, 2016, Turkish Airlines
  13 terminated its codeshare agreement with BoraJet for six BoraJet aircraft flying
  14 under the THY/AnadoluJet banner.
  15            572. The combination of already reduced ridership from adverse publicity
  16 coupled with the sudden and unanticipated cancellations of these contracts by
  17 Turkish Airlines financially crippled BoraJet.
  18            573. Compounding the damage, the withering media disinformation
  19 campaign significantly hindered Dr. Ayasli’s and BoraJet’s ability to secure new or
  20 additional financing from Turkish banks.
  21            574. Although Dr. Ayasli, a wealthy man with exceptional credit, had never
  22 before been denied financing or credit, Turkish banks suddenly began refusing to
  23 lend him money and denying the financing and credit sought by Dr. Ayasli and
  24 BoraJet.
  25
          24
               A “wet lease” is a leasing arrangement whereby one airline provides an aircraft, complete
  26 crew, maintenance, and insurance to another airline which pays by hours operated. A wet lease is
       conventionally used by the lessor airline to cover demand in peak travel seasons, or to allow the
  27 major carrier to begin flying new routes or to reach smaller airports or airfields where larger
  28 planes cannot land or operate economically.

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   1         575. For example, on September 18, 2016, Seker Bank refused to extend an
   2 additional $33 million USD credit line to Dr. Ayasli which would have been used
   3 to acquire additional aircraft as part of BoraJet’s billion dollar expansion plan,
   4 causing this plan to stall.
   5         576. Ata Invest, BoraJet’s financial consultants, had simultaneously been
   6 working to help market BoraJet to potential corporate and individual investors
   7 internationally, and to solicit investor funding for BoraJet’s expansion.
   8         577. The RICO Enterprise’s media disinformation campaign kneecapped
   9 these efforts, causing formerly interested corporate and individual investors to back
  10 out of anticipated partnerships with Dr. Ayasli and/or BoraJet out of concerns of
  11 doing business with an individual or business accused of being associated with
  12 FETO and the attendant instability to BoraJet’s operations caused by these false
  13 allegations.
  14         578. Given this sudden and unanticipated contraction of available bank
  15 financing, coupled with Ata Invest’s inability to attract outside investors, Dr. Ayasli
  16 was forced to self-fund BoraJet to cover expenses, capital improvements, payments
  17 on contracts, and the airline’s rapidly mounting losses sustained due to its lost
  18 codeshare routes and plummeting ridership.
  19         579. To counteract the rapidly mounting financial pressure on BoraJet and
  20 his other Turkish-based businesses arising from the media disinformation
  21 campaign, Dr. Ayasli was forced to make the following financial transfers from his
  22 U.S.-based accounts in the months following the RICO Enterprise’s
  23 implementation of this campaign:
  24            Date                    Amount                   From

  25            September 8, 2016       $9,000,000               Fidelity (NH)
  26            September 29, 2016      $1,000,000               Fidelity (NH)
  27
                October 4, 2016         $4,000,000               Fidelity (NH)
  28

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   1            Date                   Amount                   From

   2            October 31, 2016       $4,000,000               Fidelity (NH)
   3            November 7, 2016       $3,300,000               Fidelity (NH)
   4
                November 29, 2016      $3,000,000               Fidelity (NH)
   5
                December 15, 2016      $2,000,000               Fidelity (NH)
   6
   7            December 23, 2016      $1,000,000               Fidelity (NH)

   8            TOTAL                  $27,300,000

   9
  10        580. On December 1, 2016, after having poured more than $24 million into
  11 BoraJet in just a three-month period, Dr. Ayasli emailed Defendant AKOL,
  12 BoraJet’s General Manager and Chairman of the Board of Directors, advising
  13 Defendant AKOL of his inability to continue forwarding millions of dollars each
  14 month from his personal accounts to fund BoraJet’s operations, and addressing the
  15 significant challenge of trying to stabilize BoraJet given “everything that has been
  16 written in the news recently.”
  17 G.     The RICO Enterprise Successfully Exploits BoraJet’s Financial Distress
            to Take Over the Airline
  18
  19        581. During this period, Ata Invest continued efforts to identify third party

  20 investors. This included YDA, a Turkish company with significant experience in
  21 the aviation sector including building and operating airport terminals in Turkey and
  22 abroad, and other foreign investors, including an investment group from China.
  23 Notably, in mid-December 2016, YDA presented a $70 million USD offer to
  24 purchase BoraJet. The deal was structured to include $35 million in cash, the
  25 assumption of $35 million USD of BoraJet’s outstanding debt, and a release of all
  26 of Dr. Ayasli’s personal guarantees on that debt.
  27
  28

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   1         582. While these efforts were ongoing, Defendant AKOL bypassed both
   2 Ata Invest’s ongoing efforts to secure investors and YDA’s live offer, to complete a
   3 transaction with Defendants KORKMAZ and SBK TURKEY.
   4         583. Dr. Ayasli had no communication with Defendant KORKMAZ during
   5 the period when Defendant AKOL negotiated the agreement on his behalf. Dr.
   6 Ayasli was entirely reliant on the representations of Defendant AKOL.
   7         584. Defendants KORKMAZ and AKOL first met at Defendant SBK
   8 Turkey’s offices in early November 2016, at which time Defendant KORKMAZ
   9 claimed to be a purchaser of “distressed assets,” and expressed interest in
  10 purchasing BoraJet.
  11         585. Defendant AKOL, without seeking Dr. Ayasli’s prior approval, hosted
  12 Defendant KORKMAZ at BoraJet’s offices the week of November 14, 2016, at
  13 which time Defendant AKOL provided a two-hour presentation addressing
  14 BoraJet’s financial condition and agreed to work with Defendant KORKMAZ’s due
  15 diligence team in advance of a potential purchase.
  16         586. In a November 19, 2016 e-mail notifying Dr. Ayasli of these past
  17 meetings, Defendant AKOL represented that Defendant KORKMAZ possessed “a
  18 well-known new investor profile in Ankara,” “is recommended in Ankara” and had
  19 indicated a willingness to cover BoraJet’s cash shortages in advance of a potential
  20 deal.
  21         587. Over the course of the next six weeks, without Dr. Ayasli’s knowledge
  22 or approval, Defendant KORKMAZ, aided by access provided by Defendant
  23 AKOL, and utilizing the firm Inhera Capital, conducted a thorough due diligence
  24 review of BoraJet’s financial records.
  25         588. Defendant AKOL prepared the financial spreadsheets setting forth
  26 BoraJet’s assets and obligations.
  27         589. Contrary to long-established practice at BoraJet, without explanation,
  28 and without Dr. Ayasli’s approval, Defendant AKOL barred CFO Uner from

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   1 having any meaningful involvement in Defendant AKOL’s business negotiations
   2 with Defendants KORKMAZ and SBK TURKEY.
   3         590. As represented by Defendant AKOL in a December 4, 2016 email to
   4 Dr. Ayasli, Defendant KORKMAZ, on behalf of Defendant SBK TURKEY and the
   5 RICO Enterprise, offered to buy BoraJet using $36 million (of funds laundered
   6 from the U.S.-Based Fraudulent Fuel Tax Credit Scheme), and then infuse BoraJet
   7 with an additional $50 million of working capital (of Fraud Proceeds) in the form of
   8 a loan.
   9         591. Unlike YDA, Defendants KORKMAZ and SBK TURKEY failed to
  10 raise any question or register any concern about the negative press coverage or
  11 public perception tying BoraJet to FETO and the coup-attempt as part of the due
  12 diligence process.
  13         592. Defendants AKOL, KORKMAZ and SBK TURKEY arrived at the
  14 framework of an agreement in less than two months.
  15         593. Through a series of calls and e-mails, Defendant AKOL implored Dr.
  16 Ayasli to sell BoraJet to Defendant SBK TURKEY, parroting Defendant
  17 KORKMAZ’s insistence that Defendants KORKMAZ and SBK TURKEY had
  18 established a favorable relationship with the Turkish Ministry of Transportation—
  19 the entity which regulated air travel in Turkey, and that Defendant SBK
  20 TURKEY’s intentions were to infuse BoraJet with cash, expand BoraJet’s
  21 operations, and then sell it at a profit, likely to Turkish Airlines.
  22         594. Defendant AKOL also insisted, contrary to facial appearances, that
  23 Defendant KORKMAZ’s offer was “better, faster and safer” than YDA’s offer, and
  24 “would not bring [BoraJet] any additional costs.”
  25         595. Dr. Ayasli had never met or communicated with Defendant
  26 KORKMAZ, was not familiar with Defendant SBK TURKEY, and had no
  27 knowledge that Defendants KORKMAZ and SBK TURKEY were part of the RICO
  28 Enterprise that was laundering Fraud Proceeds from the U.S.-Based Fraudulent

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   1 Fuel Tax Credit Scheme in Turkey. Dr. Ayasli similarly had no idea that
   2 Defendants KORKMAZ and SBK TURKEY had targeted BoraJet for acquisition,
   3 had organized the media disinformation campaign that devalued BoraJet and made
   4 it a “distressed asset,” and intended to acquire BoraJet with laundered funds so that
   5 it could exploit BoraJet’s assets, launder additional Fraud Proceeds through this
   6 business, and use it as the tool through which it could direct racketeering activity at
   7 Dr. Ayasli’s money and property.
   8        596. Having successfully forced Dr. Ayasli into economic duress using its
   9 media disinformation campaign, on December 29, 2016, Defendants KORKMAZ,
  10 SBK TURKEY, and AKOL, in furtherance of the RICO Enterprise’s interests,
  11 coerced Dr. Ayasli into signing the agreement (“December 2016 Agreement”) to
  12 sell BoraJet, BoraJet Bakim, and Aydin Jet as a going concern.
  13        597. Defendant BUGARAJ, a subsidiary entity of Defendants BUKOMBIN
  14 and SBK TURKEY, funded by Fraud Proceeds from the U.S.-Based Fraudulent
  15 Fuel Tax Credit Scheme, and controlled by Defendant KORKMAZ, was the buyer.
  16        598. Claiming that it was necessary to complete the deal, Defendant AKOL
  17 included Aydin Jet, the holding company for Dr. Ayasli’s XRS jet, in the deal —
  18 thereby providing the RICO Enterprise with not only BoraJet’s entire fleet of
  19 commercial airplanes, but what had been Dr. Ayasli’s executive aircraft.
  20        599. At the time of the sale, BoraJet’s balance sheet showed that BoraJet
  21 owed $37 million USD to Dr. Ayasli personally, and another $22 million USD to
  22 Ayasli LLC ($59 million USD total) in connection with the loan repayments that
  23 Dr. Ayasli had made on behalf of the airline.
  24        600. In addition, a significant portion of BoraJet’s trade payables were
  25 secured by letters of credit provided by Dr. Ayasli personally.
  26        601. The December 2016 Agreement negotiated by Defendant AKOL
  27 allocated BoraJet’s outstanding financial liabilities between Defendant BUGARAJ
  28 and Dr. Ayasli. Pursuant to that Agreement, Dr. Ayasli assumed BoraJet’s

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   1 obligation to repay certain identified outstanding bank loans and non-aircraft-
   2 related financial leasing obligations, while Defendant BUGARAJ agreed to assume
   3 BoraJet’s remaining debt, including all trade payables incurred prior to the date of
   4 transfer.
   5         602. Pursuant to the terms of the December 2016 Agreement, Dr. Ayasli
   6 was given one year to repay the outstanding bank loans assigned to him under the
   7 Agreement.
   8         603. A commercial building owned by Dr. Ayasli in Nuruosmaniye, Turkey
   9 (“Nuruosmaniye property”), which was valued at over $50 million, served as
  10 collateral for Dr. Ayasli’s surviving obligations and debts.
  11         604. Based on Defendant KORKMAZ’s representations that Defendant
  12 BUGARAJ intended to infuse BoraJet with cash, expand its operations, and
  13 subsequently attempt to sell it to a larger airline, the December 2016 Agreement
  14 provided that Defendant BUGARAJ would pay Dr. Ayasli 25% of the net profit
  15 derived from any such sale.
  16         605. Immediately following the closing of the transaction, and despite
  17 having no formal training in the airline industry, Defendant KORKMAZ appointed
  18 himself Chairman of the Board at BoraJet.
  19         606. Defendant AKOL remained employed at BoraJet as General Manager.
  20         607. In a post-acquisition interview with Turkish daily newspaper Hurriyet,
  21 Defendant KORKMAZ falsely stated that he “purchased BoraJet for $260 million
  22 dollars (USD).”
  23 H.      THE RICO ENTERPRISE’S SCHEME TO EXPLOIT BORAJETS
             ASSETS TO ACQUIRE ADDITIONAL MONEY AND PROPERTY
  24         FROM DR. AYASLI
  25         608. Contrary to the representations made to Dr. Ayasli, the RICO
  26 Enterprise never intended to invest money into BoraJet to stabilize and then grow
  27 the business to allow for the airline to be sold at a profit in which Dr. Ayasli would
  28 share. To the contrary, Defendants KORKMAZ and BUGARAJ, on behalf of the

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   1 RICO Enterprise, (1) used BoraJet as yet another vessel through which to launder
   2 Fraud Proceeds; and (2) exploited BoraJet’s assets and liabilities, including Dr.
   3 Ayasli’s financial obligations, to gain access to more of Dr. Ayasli’s property and
   4 personal fortune. This ensured BoraJet’s implosion and the complete loss of Dr.
   5 Ayasli’s interest in the promised 25% share of the net profits from a future sale.
   6         The RICO Enterprise’s Laundering of Fraud Proceeds Through BoraJet
   7         609.    Within days of the BoraJet takeover, Defendant KORKMAZ, through
   8 Defendants SBK TURKEY and BUGARAJ, and aided and abetted by Defendants
   9 OZKARAMAN and AKOL, began the first of what would be several dozen
  10 transactions through which Fraud Proceeds would be laundered through BoraJet.
  11   Date:        From:        To:                Amount:           Description:
       1/03/2017    Bugaraj      BoraJet            750,000 USD       Cash transfer to the Aviation account
  12   1/10/2017    Bugaraj      BoraJet            975,000 USD       Cash transfer to the Aviation account
       1/13/2017    Bugaraj      BoraJet            700,000 USD       Cash transfer to the Aviation account
  13   1/13/2017    Bugaraj      BoraJet            100,000 USD       Cash transfer to the Aviation account
       1/25/2017    Bugaraj      BoraJet            500,000 USD       Cash transfer to the Aviation account
  14   2/01/2017    Bugaraj      Aydin Jet          175,611 USD       Cash transfer to the Aviation account
       2/22/2017    SBK Turkey   GE Commercial      500,000 USD       Direct transfer from "Holding" to
  15                             Aviation Funding                     GECAS
       2/23/2017    Bugaraj      BoraJet            42,916 USD        Cash transfer to the Aviation account
  16   2/27/2017    Bugaraj      BoraJet            124,000 USD       Cash transfer to the Aviation account
       3/13/2017    Bugaraj      BoraJet            5,700,000 TL      Checks paid to Celebi Aviation
  17   3/14/2017    SBK Turkey   GE Commercial      500,000 USD       Direct transfer from "Holding" to
                                 Aviation Funding                     GECAS
  18   3/28/2017    Bugaraj      BoraJet            289,000 USD       Cash transfer to the Aviation account
       3/31/2017    Bugaraj      BoraJet            184,000 USD       Cash transfer to the Aviation account
  19   4/3/2017     Bugaraj      BoraJet            13,000 USD        Cash transfer to the Aviation account
       4/3/2017     Bugaraj      BoraJet            55,000 USD        Cash transfer to the Aviation account
  20   4/5/2017     Bugaraj      BoraJet            248,200 USD       Cash transfer to the Aviation account
       4/12/2017    Bugaraj      BoraJet            107,000 USD       Cash transfer to the Aviation account
  21   4/21/2017    Bugaraj      BoraJet            132,000 USD       Cash transfer to the Aviation account
       5/4/2017     Bugaraj      BoraJet            370,000 TL        Checks paid to Aviation Akdeniz Petur
  22   5/8/2017     Bugaraj      BoraJet            11,500 USD        Cash transfer to the Aviation account
       5/10/2017    Bugaraj      BoraJet            24,000 USD        Cash transfer to the Aviation account
  23   5/12/2017    Bugaraj      BoraJet            8,600 USD         Cash transfer to the Aviation account
       5/15/2017    Bugaraj      BoraJet            18,500 USD        Cash transfer to the Aviation account
  24   5/16/2017    Bugaraj      BoraJet            74,145 TL         Checks paid to Garanti Filo
       5/17/2017    Bugaraj      BoraJet            18,000 USD        Cash transfer to the Aviation account
  25   5/26/2017    Bugaraj      BoraJet            14,800 USD        Cash transfer to the Aviation account
       6/2/2017     Bugaraj      BoraJet            70,000 USD        Cash transfer to the Aviation account
  26   6/5/2017     SBK Turkey   Aydin Jet          63,000,000 TL     Checks paid from SBK to Aydin Jet
       6/7/2017     Bugaraj      BoraJet            300,000 TL        Checks paid to Bilin Gumruk
  27   6/28/2017    Bugaraj      BoraJet            350,000 USD       Cash transfer to the Aviation account
                                 Total              $6,411,127 USD
  28                                                + 63,744,145 TL


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   1
               610. Conservatively, the RICO Enterprise laundered at least $6,411,127 of
   2
       Fraud Proceeds in U.S. dollars, another 63,744,145 of Fraud Proceeds in Turkish
   3
       liras (approximately $17,000,000 at the time), totaling approximately $23,41,127
   4
       through BoraJet post-sale.
   5
               611. Defendant KORKMAZ, on behalf of the RICO Enterprise, also
   6
       committed additional Fraud Proceeds to rebrand Aydin Jet as “SBK Air.”
   7
               1.    The RICO Enterprise Systematically Defaults on BoraJet’s
   8                 Financial Obligations to Exploit Dr. Ayasli’s Personal Guarantees
   9                 1.     Defendant KORKMAZ’s attempts to extort money from Dr.
                            Ayasli
  10
               612. On February 25, 2017, Defendant KORKMAZ drove into Dr. Ayasli’s
  11
       Kandilli, Istanbul property in a Ferrari, where he was intercepted by one of Dr.
  12
       Ayasli’s security guards. This entire episode was captured on security cameras.25
  13
               613. That same day, Defendant KORKMAZ sent a lengthy series of text
  14
       messages through the WhatsApp text messaging application that Dr. Ayasli
  15
       received at his U.S. residence and which directly threatened Dr. Ayasli, his family,
  16
       and his business associates, in an effort to extract additional financial payments
  17
       from Dr Ayasli.
  18
               614. The following were among the threats Defendant KORKMAZ made to
  19
       Dr. Ayasli:
  20
                     “You have one day, either you come forward and do
  21                 what is necessary or you will be responsible for what
                     happens.”
  22
                     “Fatih [AKOL] and Zahide first”
  23
                     “Fatih [AKOL] deserved what I did to him”
  24
  25      25
            On July 30, 2017, Defendant KORKMAZ, again driving a Ferrari, returned to this property
  26 and  again was intercepted by Dr. Ayasli’s security personnel. This time, Defendant KORKMAZ
     told Dr. Ayasli’s security guard that he (Defendant KORKMAZ) had “purchased” the house and
  27 would be “moving in in a few days.”
  28

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   1                 “That bitch Zahide vouched for you but now she’s
                     disappeared”
   2
                     “You and your wife will look for a place to hide”
   3
                     “Your lawyer daughter or director son will pay”
   4
                     “I will disgrace you before the eyes of the whole world”
   5
                     “I will show all the donations you made to FETO”
   6
               615. Dr. Ayasli did not respond to any of Defendant KORKMAZ’s
   7
       WhatsApp text messages, which kept coming at all hours of the day and night.26
   8
               616. On this same day and for several days thereafter, Defendant
   9
       KORKMAZ also called Dr. Ayasli’s mobile phone, frequently in the middle of the
  10
       night, until Dr. Ayasli blocked Defendant KORKMAZ’s number.
  11
                     2.     The RICO Enterprise Accelerate Personally Guaranteed
  12                        Bank Debt
  13           617. Notwithstanding the negotiated one-year term for the repayment of
  14 BoraJet’s bank. loans established in the December 2016 Agreement, Defendant
  15 KORKMAZ and his agents, acting on behalf of the Defendant BUGARAJ and the
  16 RICO Enterprise, met with a number of banks including (1) Akbank T.A.S.
  17 (“Akbank”); (2) Deniz bank T.A.S. (Deniz bank”); (3) Turk Ekonomi Bancas
  18 T.A.S. (“Turk Ekonomi”); (4) Odea Bank A.S. (“Odea Bank”); and (5) Turkey
  19 Garanti Bancas A.S. (“Garanti”), all of which had provided credit to BoraJet
  20 secured by letters of credit or personal guarantees from Dr. Ayasli which had not
  21 been extinguished in connection with the sale.
  22           618. Defendant KORKMAZ, on behalf of the RICO Enterprise, then used
  23 his influence to trigger those banks to close BoraJet’s existing lines of credit
  24
  25      26
           Over the next five months, Defendant KORKMAZ sent 137 text messages to Dr. Ayasli at
     his U.S. residence, all of which were designed to extract additional money from Dr. Ayasli. These
  26 included screenshots from a closed tax audit into one of Dr. Ayasli’s businesses and Defendant
     KORKMAZ’s subpoena in the Mueller investigation, which were designed to show that
  27 Defendant KORKMAZ had high-level connections in the Turkish and U.S. governments who
  28 could intercede on his behalf.

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   1 without cause, and to make immediate demand for repayment of BoraJet’s loans
   2 personally guaranteed by Dr. Ayasli.
   3           619. Dr. Ayasli’s loans with Odea Bank were not in default.
   4           620. In the world of Turkish finance, it is unheard of for a bank to
   5 accelerate a loan that is not in default.
   6           621. On February 28, 2017 – three days after Defendant KORKMAZ
   7 initiated the barrage of threatening text messages directed at Dr. Ayasli -- Odea
   8 Bank, without cause or justification, sent a notice to BoraJet, and to Dr. Ayasli as
   9 joint guarantor, demanding that payment on all of BoraJet’s outstanding loans,
  10 totaling 21,070,603.45 liras (approximately $5.3 million USD), be made within 24
  11 hours.27
  12           622. Despite its longstanding relationship with Dr. Ayasli, and Dr. Ayasli’s
  13 sterling credit, Odea Bank refused Dr. Ayasli's request for a one-week extension to
  14 permit him time to liquidate the assets needed to pay off the loans in an orderly
  15 fashion.
  16           623. Lacking immediate liquidity, Dr. Ayasli could not meet Odea Bank’s
  17 24-hour payoff demand of his $5.3 million loan balance.
  18           624. On March 6, 2017, Odea Bank assigned the debt (which Dr. Ayasli
  19 had personally guaranteed) to Defendant MEGA VARLIK, the Turkish banking
  20 entity owned by Defendant KINGSTON, controlled by Defendant KORKMAZ,
  21 and initially funded with a $10 million transfer of Fraud Proceeds from the U.S.-
  22 Based Fraudulent Fuel Tax Credit Scheme.
  23           625. Defendant MEGA VARLIK has represented in court proceedings that
  24 it paid $5.7 million to acquire this assignment.
  25
  26      27
           Defendant BUGARAJ had an account at ODEA Bank, through which Defendant
     KORKMAZ regularly withdrew funds to launder through BoraJet, including one such transaction
  27 of $124,000 on February 27, 2016. Also on that date, Defendant KORKMAZ, through Defendant
  28 SBK TURKEY, withdrew $1,675,000 to cover unspecified expenses.

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   1        626. Defendant MEGA VARLIK immediately obtained an Order from the
   2 Turkish Execution Office, which initiates collection proceedings against debtors,
   3 including a bank’s right to seize a debtor’s real property used to collateralize loans.
   4 That Order permitted Defendant MEGA VARLIK to foreclose on the loan directly
   5 from the guarantor (Dr. Ayasli), rather than from the debtor, BoraJet, which, of
   6 course, was then owned by Defendant BUGARAJ – another member of the RICO
   7 Enterprise.
   8        627. Defendant MEGA VARLIK then immediately commenced
   9 enforcement proceedings against Dr. Ayasli, and in connection with those
  10 enforcement proceedings, was permitted to attach all of Dr. Ayasli’s other
  11 commercial and residential property and bank accounts in Turkey, totaling more
  12 than $150 million.
  13        628. Defendant MEGA VARLIK then demanded immediate payment of
  14 23,161,907.94 liras (approximately $5.8 million USD)—at least $500,000 USD
  15 more than the Odea Bank debt that Dr. Ayasli had personally guaranteed.
  16        629. Dr. Ayasli made the demanded payment of $5.8 million USD to
  17 release Defendant MEGA VARLIK’s attachments on his real estate and bank
  18 accounts.
  19        630. The RICO Enterprise similarly pressured other banks holding BoraJet
  20 loans to prematurely call BoraJet’s debt and demand immediate payment from Dr.
  21 Ayasli.
  22        631. Notably, only banks holding loans that Dr. Ayasli personally
  23 guaranteed issued premature demands on BoraJet’s loans.
  24        632. To counter these efforts, Dr. Ayasli was forced to proactively obtain a
  25 $20 million personal loan from Garanti Bank, where he maintained longstanding
  26 close business relationships.
  27        633. As a prerequisite for providing this loan, Garanti required Dr. Ayasli to
  28 prepay all of BoraJet’s leasing debts -- 487,607 liras (approximately $123,000

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   1 USD) -- underwritten by Garanti and assigned to him in the December 2016
   2 Agreement, whether those debts were due or not. Dr. Ayasli also was forced to
   3 collateralize this loan with several of his properties.
   4         634. Dr. Ayasli then used the $20 million loan from Garanti to clear all of
   5 BoraJet’s bank debt in Turkey that he had personally guaranteed to evade the RICO
   6 Enterprise’s ongoing efforts to attach and execute on Dr. Ayasli’s bank accounts
   7 and real estate holdings in Turkey.
   8                3.    Defendant BUGARAJ Deliberately Defaults on BoraJet’s
                          Trade Debts
   9
             635. Rather than utilize the funds being laundered through BoraJet as
  10
       investment capital, Defendant KORKMAZ, through Defendants SBK TURKEY,
  11
       BUKOMBIN, and BUGARAJ and on behalf of the RICO Enterprise, quickly and
  12
       intentionally defaulted on BoraJet’s trade debts.
  13
             636. This scheme had the benefit of having Dr. Ayasli use his U.S.-based
  14
       wealth to extinguish outstanding obligations for which Defendant BUGARAJ
  15
       would otherwise have been responsible when the RICO Enterprise scuttled BoraJet.
  16
             637. After Defendant BUGARAJ deliberately defaulted on these debts, the
  17
       affiliated banks called 12,500,000 liras (approximately $3.2 million USD) of Dr.
  18
       Ayasli’s letters of credit or personal guarantees, notwithstanding clear provisions in
  19
       the December 2016 Agreement that these debts were the obligation of Defendant
  20
       BUGARAJ.
  21
             638. Dr. Ayasli was then forced to pay 12,500,000 liras (approximately
  22
       $3.2 million USD) on these unreleased letters of credit or personal guaranties,
  23
       notwithstanding the fact that this debt had not been assigned to him under the
  24
       December 2016 Agreement.
  25
             639. Within less than a month, Dr. Ayasli was forced to transfer over $9
  26
       million from his U.S.-based based personal financial accounts and enter a new $20
  27
  28

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   1 million loan to pay off over $29 million in loans and lines of credit improperly
   2 accelerated or intentionally defaulted on by the RICO Enterprise.
   3        2.     The RICO Enterprise Shutters BoraJet and Proceeds with Sham
                   Litigation To Extract Additional Money and Property From Dr.
   4               Ayasli
   5        640. Having succeeded in forcing Dr. Ayasli to pay off each of the loans
   6 that he personally had guaranteed and having ensured the implosion of BoraJet by
   7 laundering funds through it, rather than investing funds in it, the Enterprise
   8 proceeded with the final phase of its plan. That plan targeted Dr. Ayasli’ property,
   9 to include his significant wealth in the U.S., and his equally significant commercial
  10 and residential real estate holdings in Turkey through a series of sham lawsuits
  11 alleging fraud and extensive losses in the BoraJet transaction.
  12        641. To enhance its leverage in these suits, the RICO Enterprise threatened
  13 and assaulted witnesses who then provided statements on its behalf, threatened and
  14 intimidated lawyers, witnesses, family members, and associates who defended Dr.
  15 Ayasli, “re-ignited” the media disinformation campaign falsely alleging Dr. Ayasli
  16 to be a FETO associate, and filed complaints with law enforcement authorities in
  17 Turkey and the United States to trigger criminal investigations against Dr. Ayasli
  18 and his associates.
  19                                 Initial Civil Fraud Case
  20        642. On March 13, 2017, Defendant BUGARAJ, on behalf of the RICO
  21 Enterprise and at the direction of Defendant KORKMAZ, filed its initial civil suit
  22 against Dr. Ayasli in the Istanbul 3rd Commercial Court of First Instance,
  23 demanding the payment of 253,305,035 liras (approximately $72 million USD) in
  24 damages stemming from alleged fraud in misrepresentations of BoraJet’s
  25 outstanding debt obligations.
  26        643. This lawsuit, like everything else that Defendant BUGARAJ did, was
  27 paid for using Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Fraud
  28 Scheme.

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   1            644. Even though Dr. Ayasli previously had provided his Nurosmaniye
   2 property as collateral as part of the December 2016 Agreement, Defendant
   3 BUGARAJ immediately sought to attach all of Dr. Ayasli’s real estate holdings in
   4 Turkey.
   5            645. The 3rd Commercial Court of First Instance found Defendant
   6 BUGARAJ’s request for this attachment to be “groundless.”28
   7            646. On March 18, 2017 – one week after filing this suit -- Defendants
   8 KORKMAZ, OZKARAMAN and AKOL29 met with Dr. Ayasli’s lawyer, Burhan
   9 Asaf Safak, and CFO Uner at Safak’s Istanbul office to address the allegations in
  10 the lawsuit.
  11            647. During this meeting, Defendant KORKMAZ, in an intimidating fit of
  12 rage, smashed and shattered Safak’s glass conference table, threw a glass teacup at
  13 Ms. Uner, attempted to attack Ms. Uner, and threatened her, yelling “You can’t
  14 escape me, I will fuck you, and then I will kill you!”
  15            648. Fortunately, Defendant KORKMAZ was physically restrained by
  16 Safak and others before he could attack Ms. Uner.
  17            649. During the same episode, Defendant KORKMAZ directly also
  18 threatened Dr. Ayasli’s wife and children, warning that he knew where each lived.
  19            650. In April 2017, Defendant KORKMAZ, through Defendant BUGARAJ
  20 and acting on behalf of the RICO Enterprise, shuttered BoraJet’s operations.30
  21
  22
  23      28
           The RICO Enterprise appealed that ruling, and the 12th Chamber of the Istanbul Regional
  24 Court of Appeals affirmed.

  25      29
           Defendant AKOL attended this meeting with Defendant KORKMAZ despite having ceased
  26 employment    at BoraJet a month before. On multiple occasions, Defendant KORKMAZ has
     shown photos depicting a bloodied Defendant AKOL and has claimed, both directly and
  27 indirectly, that he beat Defendant AKOL with an iron ash tray.
          30
  28           It continued to hold and use the executive jet that had been rebranded as SBK Air.

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   1         651. Defendant KORKMAZ withheld severance payments and otherwise
   2 exploited current and former BoraJet employees unless and until these individuals
   3 made false statements for the RICO Enterprise’s use in its trumped-up civil and
   4 criminal litigation against Dr. Ayasli.
   5         652. In April and May 2017, Defendant KORKMAZ, through defendant
   6 BUGARAJ, supplemented its civil case with additional “evidence” obtained
   7 through strong-arming, bribing and threatening former BoraJet employees and other
   8 business associates of Dr. Ayasli’s into providing false testimony supporting these
   9 claims.
  10                           The Sham Criminal Complaints
  11         653. Approximately two months after filing the initial civil fraud case, the
  12 RICO Enterprise, to increase its leverage in that case, secured the initiation of two
  13 criminal investigations into Dr. Ayasli, Ms. Uner, and their associates in Turkey.
  14 These actions threatened the liberty, livelihoods, and freedom of movement of Dr.
  15 Ayasli, Ms. Uner and others. One such investigation even resulted in Dr. Ayasli’s
  16 and Ms. Uner’s indictments in Turkey. After full investigation, however, Dr.
  17 Ayasli, Ms. Uner, and their associates were exonerated in each matter – but not
  18 before a significant civil judgment was entered against Dr. Ayasli in the civil cases
  19 at a hearing when he was not present and lacked representation and not before each
  20 had suffered significant mental and psychological distress and expended significant
  21 funds in legal defense costs.
  22                            The FETO-Terrorism Charges
  23         654. On May 17, 2017, approximately two months after the filing of the
  24 initial civil case, Defendant KORKMAZ personally filed a complaint with the
  25 Chief Public Prosecutor’s Office, thereby opening a FETO-based terrorism
  26 investigation of Dr. Ayasli, Ms. Uner, Tolga Danisman, the attorney who
  27 represented Dr. Ayasli in the civil fraud case, Necla Zarakol, Dr. Ayasli’s public
  28

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   1 relations assistant who led his public defense against the false FETO allegations,
   2 and BoraJet.
   3            655. Defendant KORKMAZ’s complaint almost exactly tracked the series
   4 of false allegations made in the media disinformation campaign against Dr. Ayasli
   5 and BoraJet, including allegations that (1) Dr. Ayasli was a member of, and funded,
   6 FETO; (2) Dr. Ayasli designed ByLock as a way for FETO members to secretly
   7 communicate with one another; (3) Dr. Ayasli had advance knowledge of the
   8 planned coup; and (4) Dr. Ayasli committed espionage against the Turkish
   9 government (the “Terrorism Investigation”).
  10            656. The crimes alleged in the Terrorism Investigation fall into the most
  11 serious category of crimes in Turkey. Prosecutors in Turkey often charge accused
  12 FETO members and FETO supporters with attempting to change the constitutional
  13 regime by terroristic force.
  14            657. The maximum punishment for conviction on these charges is life
  15 imprisonment.
  16            658. During the pendency of the FETO-related terrorism investigation, Dr.
  17 Ayasli faced immediate arrest and imprisonment if he returned to Turkey, and Ms.
  18 Uner was subjected to a travel ban barring her from leaving Turkey for any
  19 reason.31
  20            659. Following a four-year investigation, which concluded shortly after
  21 Defendant KORKMAZ’s indictment by both U.S. and Turkish authorities on
  22 various fraud and money laundering charges, each of the charged parties, including
  23 Dr. Ayasli, was exonerated when the Chief Public Prosecutor’s Office, on July 12,
  24 2021, closed the case finding “no need for prosecution” and lifted the travel ban
  25 against Ms. Uner.
  26
          31
               A byproduct of this spurious travel ban was that the RICO Enterprise successfully blocked
  27 Ms. Uner from travelling to the United States to participate in earlier proceedings in New
  28 Hampshire related to this civil case.

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   1                                 Aggravated Fraud Case
   2          660. On May 5, 2017, Defendant KORKMAZ, through defendant
   3 BUGARAJ, also filed a sham criminal complaint against Dr. Ayasli alleging fraud
   4 in connection with the December 2016 Agreement.
   5          661. The allegations in this suit largely track those raised in the civil fraud
   6 suits.
   7          662. In advance of filing this suit, Defendants KORKMAZ and
   8 OZKARAMAN sought to intimidate former BoraJet employees, including
   9 Defendant AKOL, CFO Uner, and General Manager Kadir Peker into providing
  10 false statements to the prosecutors investigating these allegations.
  11          1.     Defendant OZKARAMAN attempts to intimidate CFO Uner into
                     providing false testimony against Dr. Ayasli
  12
              663. On April 28, 2017, Defendant OZKARAMAN, on behalf of the RICO
  13
       Enterprise, first contacted CFO Zahide Uner to “encourage” her to provide
  14
       testimony supportive of Defendant BUGARAJ’s claims against Dr. Ayasli. In so
  15
       doing, Defendant OZKARAMAN began a weeks-long campaign of intimidation
  16
       against Ms. Uner.
  17
              664. Ms. Uner had no prior relationship with Defendant OZKARAMAN,
  18
       and had never previously met or talked with him.
  19
              665. Defendant OZKARAMAN served as Defendant KORKMAZ’s
  20
       “enforcer.”
  21
              666. When Ms. Uner failed to respond, Defendant OZKARAMAN
  22
       repeatedly called and texted her, insisting on a meeting at her office.
  23
              667. When Ms. Uner continued to refuse to respond, Defendant
  24
       OZKARAMAN appeared at her office unannounced. Ms. Uner still refused to
  25
       meet with Defendant OZKARAMAN.
  26
              668. In a series of text messages Defendant OZKARAMAN then sent to
  27
       Ms. Uner, Defendant OZKARAMAN advised Ms. Uner that the commercial case
  28

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   1 against Dr. Ayasli was now also “being handled by the public prosecutor’s office” –
   2 implying the potential for more serious ramifications.
   3         669. Defendant OZKARAMAN instructed Ms. Uner to “remind” Dr.
   4 Ayasli that “the matter is being handled by the public prosecutor’s office, that he
   5 [Dr. Ayasli] can be facing a difficult legal process as a result of this,” and that it
   6 would be to Dr. Ayasli’s benefit to agree to meet with Defendant KORKMAZ to
   7 resolve Defendant KORKMAZ’s issues with Dr. Ayasli.
   8         670. Defendant OZKARAMAN then escalated his threats against Ms. Uner,
   9 warning her that they expected her to talk to the prosecutor, support their position,
  10 and informed her that they “have no outstanding issue with [her] other than this
  11 one.”
  12         671. Ms. Uner interpreted Defendant OZKARAMAN’s threat as an attempt
  13 to intimidate her and influence her testimony about Dr. Ayasli.
  14         672. Ms. Uner then hired an armed security guard because she feared for
  15 her safety.
  16         673. Ms. Uner, however, still refused to engage in any way with Defendant
  17 OZKARAMAN. A few days later, Defendant OZKARAMAN sent the following
  18 threatening text message to Ms. Uner:
  19               Hello, you need to give a statement at the Public
                   Prosecutor’s Office, it may be an issue for you later if
  20               you don’t show up. I would like to let you know that
                   you should tread carefully with this matter. Please keep
  21               me posted after you are done with giving the statement.
  22         674. On May 10, 2017, after Defendant OZKARAMAN’s efforts to
  23 influence Ms. Uner to provide false testimony to the Public Prosecutor had failed,
  24 Defendant KORKMAZ called the TCF office in Istanbul, provided a false name,
  25 and asked to speak to Ms. Uner.
  26         675. When Ms. Gulhan Ozkan, a TCF executive assistant, refused to
  27 provide him with information about Ms. Uner, Defendant KORKMAZ angrily
  28

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   1 identified himself, threatened to stalk and sexually violate Ms. Ozkan, and then
   2 made a series of “heavy threats” to Ms. Ozkan.
   3         676. Following the call, the executive director of TCF in Istanbul, closed
   4 the TCF office fearing that Defendant KORKMAZ, Defendant OZKARAMAN, or
   5 their associates would act on their threats against Ms. Uner or Ms. Ozkan.
   6         677. For the next two months, TCF employees worked out of a separate,
   7 unidentified office elsewhere in Istanbul.
   8         678. Ms. Uner continued to refuse to provide the demanded false testimony
   9 on behalf of the RICO Enterprise
  10         2.    Defendant Korkmaz blackmails Kadir Peker
  11         679. Prior to Defendant AKOL taking over BoraJet, Kadir Peker (“Mr.
  12 Peker) was the General Manager of BoraJet.
  13         680. Mr. Peker left BoraJet in April 2014—more than two years prior to the
  14 RICO Enterprise commencing its scheme against Dr. Ayasli and BoraJet.
  15         681. Nevertheless, Defendant KORKMAZ blackmailed Mr. Peker into
  16 providing false written statements about Dr. Ayasli and BoraJet that were used to
  17 support of the criminal and civil litigation against Dr. Ayasli by threatening to call a
  18 personal loan made to Mr. Peker and carried on BoraJet’s books, and by placing an
  19 attachment on Mr. Peker’s personal residence and property.
  20         682. On or about July 13, 2017, Defendant KORKMAZ sent an extortionate
  21 WhatsApp message to Dr. Ayasli threatening to strongarm Mr. Peker, stating, “I am
  22 sure the former general manager, Kadir PEKER, will also sing once the execution
  23 office is at his door.”
  24         683. On that same day, July 13, 2017, Mr. Peker sent Dr. Ayasli a series of
  25 WhatsApp messages, written by Defendant KORKMAZ, referencing the financial
  26 and psychological duress that Defendant KORKMAZ had caused him—stating:
  27               Hello Yalcin Bey. I did not want to bother you, but
                   things here have gone way beyond what I can deal with
  28

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   1                   on my own. I need to ask your opinion. I would like to
                       talk if you are available. Regards, Kadir Peker
   2
                       Yalcin Bey, I cannot get a response from you or your
   3                   lawyers. My house, my salary, everything I own has
                       now been attached. I am in shame. But no one cares.
   4
                       I have no more strength to stand this. I will go to the
   5                   Prosecutor’s office tomorrow if my problem is not
                       solved.
   6
                684. When Dr. Ayasli was not able to contact Mr. Peker (because Mr. Peker
   7
       was a witness in the pending cases in Turkey), Mr. Peker yielded to the blackmail,
   8
       submitting a series of letters and complaints to the Public Prosecutor’s Office
   9
       alleging that Dr. Ayasli along with Ms. Uner, falsified BoraJet corporate records,
  10
       among other things.
  11
                685. Mr. Peker since has acknowledged that he was coerced by Defendant
  12
       KORKMAZ into providing false statements to law enforcement against Dr. Ayasli.
  13
                686. On August 12, 2022, Mr. Peker prepared a sworn Declaration stating
  14
       that he had been “threatened and then forced by Defendant KORKMAZ” to provide
  15
       the “false testimony,” that was later used by Defendant KORKMAZ to further
  16
       criminal charges against Dr. Ayasli in Turkey.
  17
                687. According to Mr. Peker’s Declaration, “[o]n July 13, 2017, a series of
  18
       WhatsApp messages32 was sent using my phone. They were written in my presence
  19
       by Defendant Korkmaz. I tried to object but could not, given the financial and
  20
       psychological duress that Defendant Korkmaz had caused me. I was especially
  21
       fearful for the physical safety of my children…. Facing these threats, I submitted a
  22
       complaint to the Turkish Public Prosecutor’s office alleging that Dr. Ayasli, along
  23
       with BoraJet’s Chief Financial Officer Zahide Uner, falsified BoraJet corporate
  24
       records and committed fraud.
  25
  26
  27
          32
  28           These messages are quoted in Paragraph 685.

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   1         688. Separately, Tolga Uzumcu, a witness in the criminal case, testified in a
   2 July 4, 2018 criminal hearing that Defendant KORKMAZ’s Turkish legal counsel,
   3 Gorkem Gokce, (1) intimidated him into believing that he was compelled to
   4 provide testimony to the Public Prosecutor without a subpoena; (2) concealed the
   5 fact that this was a criminal proceeding and the relevance of his testimony thereto;
   6 (3) continued to intimidate Uzumcu at the proceeding where he provided testimony;
   7 and (4) directed the actual content of the testimony Uzumcu ultimately provided.
   8         3.     Indictment Followed By Exoneration
   9         689. On October 4, 2017, Dr. Ayasli was indicted on fraud, tax evasion, and
  10 falsifying financial filings charges in connection with the sale of BoraJet. Ms. Uner
  11 was similarly indicted.
  12         690. In connection with this indictment, Ms. Uner was prohibited from
  13 travelling outside of the Republic of Turkey for any reason.
  14         691. Notably, four years later, after a full investigation, Dr. Ayasli and Ms.
  15 Uner both were exonerated when the charges were dismissed on September 14,
  16 2021.
  17                                     OFAC Referral
  18         692. The RICO Enterprise also sought to engage U.S. law enforcement to
  19 increase its leverage over Dr. Ayasli and to extract a settlement in its civil suit.
  20         693. On October 4, 2017, the very same day that Turkish prosecutors
  21 returned the aggravated fraud indictment against Dr. Ayasli and Ms. Uner,
  22 Defendant KORKMAZ, using a New York City law firm that he retained on behalf
  23 of Defendants SBK TURKEY and BUGARAJ, mailed Dr. Ayasli a demand letter
  24 masquerading as a “Settlement Communication.”
  25         694. The “Settlement Communication” informed Dr. Ayasli that
  26 Defendants SBK TURKEY and BUGARAJ, through Defendant KORKMAZ, had
  27 filed an initial notification of voluntary self-disclosure with the United States
  28 Department of Treasury, Office of Foreign Asset Control (“OFAC”) advising

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   1 OFAC that BoraJet, while owned Dr. Ayasli, had operated a handful of test flights
   2 into Iran in 2013 in violation of the U.S.-Iran trade embargo.
   3        695. Based on this referral, Dr. Ayasli now also faced potential jeopardy in
   4 the United States.
   5        696. Rather than participate in this “Settlement Communication,” Dr.
   6 Ayasli, through counsel, filed a response with OFAC.
   7        697. The U.S. government subsequently issued a “no-action” letter.
   8                             Additional Civil Fraud Case
   9        698. On November 21, 2017, Defendant BUGARAJ filed another civil case
  10 against Dr. Ayasli in the Istanbul 2nd Commercial Court of First Instance. This
  11 case also was funded by Fraud Proceeds derived from the U.S.-based Fraudulent
  12 Fuel Tax Credit Scheme.
  13        699. Using this pretext, Defendant BUGARAJ, on behalf of the RICO
  14 Enterprise, again unsuccessfully attempted to place attachments on Dr. Ayasli’s
  15 real estate.
  16        700. On December 29, 2017, the Turkish Court consolidated Defendant
  17 BUGARAJ’s two commercial cases.
  18        701. At every turn, the RICO Enterprise has sought to subvert the legal
  19 process to enhance its leverage, extract a significant monetary settlement, and
  20 acquire Dr. Ayasli’s commercial and residential real estate.
  21        702. Beyond weaponizing unfounded criminal prosecutions and
  22 intimidating witness to secure false testimony, Defendant KORKMAZ, on behalf of
  23 the RICO Enterprise, reinstituted the media disinformation campaign, corrupted the
  24 Court’s expert valuation, sought to liquidate Dr. Ayasli’s Turkish real estate
  25 holdings, and repeatedly acted to intimidate Dr. Ayasli, his family, his attorneys
  26 and his associates.
  27
  28

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   1         1.     Defendant KORKMAZ Re-ignites the Media Disinformation
                    Campaign
   2
             703. Shortly after filing the criminal complaint initiating the FETO
   3
       Terrorism Investigation against Dr. Ayasli, Defendant KORKMAZ, in August
   4
       2017, hosted a gathering for Turkish reporters at a posh waterfront villa on the
   5
       Bosphorus in Istanbul owned by Defendant MEGA VARLIK’s.
   6
             704. During this event, Defendant KORKMAZ hosted journalists from
   7
       news outlets including Hurriyet and Haberturk and enticed them to continue
   8
       publishing stories amplifying Defendant KORKMAZ’s false claims that Dr. Ayasli
   9
       engaged in fraudulent conduct in the BoraJet sale, continued to hold allegiance to
  10
       FETO and exiled Turkish cleric Fethullah Gulen, and violated U.S. sanctions
  11
       through BoraJet flights to Iran.
  12
             705. Defendant KORKMAZ’s reference to BoraJet’s alleged OFAC
  13
       violation was the identical issue that would be raised by Defendant BUGARAJ in
  14
       its extortionate “Settlement Communication” sent to Dr. Ayasli by Defendant
  15
       BUGARAJ’s U.S. counsel only six weeks later.
  16
             706. Defendant KORKMAZ promised any “journalists” who printed or ran
  17
       such stories all-expenses-paid European vacations.
  18
             707. Following this event, Turkish newspapers Hurriyet, Haberturk and
  19
       Aksam published stories exactly like those requested by Defendant KORKMAZ at
  20
       the August 2017 Bosphorus gathering.
  21
             708. For example, on August 15, 2017, Hurriyet published a one-sided
  22
       article prominently featuring Defendant BUGARAJ’s claims of fraud against Dr.
  23
       Ayasli.
  24
             709. Two days later, Haberturk published an article falsely accusing
  25
       BoraJet of improperly having flown domestic routes in Iran, stating:
  26
                    BoraJet, which was created as a regional airline
  27                company, made an effort to fly to problematic countries
                    in the region. BoraJet, the regional airline company
  28                that was expected to increase its activities through cross

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   1                flights in Turkey, made 22 connecting flights in Iran in
                    2013. It is very interesting. Isn’t it interesting that
   2                BoraJet, a Turkish company with American capital in
                    a way, made domestic flights between cities in Iran?
   3
                    The current status: after the case was filed with respect
   4                to the disputes of BoraJet, the related person has
                    applied for a preliminary injunction and the court has
   5                issued a warrant for Yalcin Ayasli regarding his
                    testimony before the authorities.
   6
              710. On December 7, 2017, the Turkish national newspaper Aksam
   7
       published an article that parroted the false information disseminated by Defendant
   8
       KORKMAZ at the Bosphorus villa when, in its article entitled The Embargo did
   9
       not Affect Gulenist Ayasli, an Aksam “journalist” wrote that Dr. Ayasli was
  10
       affiliated with FETO and that he violated the United States embargo on Iran by
  11
       conducting BoraJet flights into Iran.
  12
              711. On December 27, 2017, Patronlar Dunyasi published another article
  13
       parroting the false claims disseminated by Defendant KORKMAZ at the Bosphorus
  14
       villa. In his article, The Armenian Lobby is an Excuse, the Dirty Alliance is
  15
       Brilliant, Patronlar Dunyasi asserted that Dr. Ayasli is a “Gulenist,” that Dr. Ayasli
  16
       associated closely with alleged FETO leaders, and that Dr. Ayasli conspired to
  17
       violate the United States’ embargo on Iran using BoraJet.
  18
              712. Finally, on December 20, 2018, Hurriyet published an article entitled
  19
       FETO’s Justice Cleric was Found on the ‘Jet,’ peddling the demonstrably false
  20
       claim that Dr. Ayasli had flown Fethullah Gulen to Turkey on a BoraJet plane, and
  21
       identifying Dr. Ayasli, Ms. Uner, and others as “suspects of the FETO
  22
       investigation,” which was a “sealed” investigation that Defendant KORKMAZ had
  23
       initiated.
  24
              2.    Defendant KORKMAZ’s Repeated Efforts to Directly Intimidate
  25                and Extort Dr. Ayasli
  26          713. In March 2018, Defendant KORKMAZ again sought to directly
  27 engage Dr. Ayasli via WhatsApp text messaging. Specifically, on March 26, 2018,
  28

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   1 Defendant KORKMAZ demanded an immediate “settlement” from Dr. Ayasli,
   2 claiming that BoraJet was facing an exigent impending license suspension.
   3         714. Dr. Ayasli, for the first time, responded to Defendant KORKMAZ by
   4 WhatsApp text messaging.
   5         715. During the ensuing WhatsApp text conversations that occurred
   6 consistently through April 11, 2018, Defendant KORKMAZ sought to entice Dr.
   7 Ayasli to meet with him in person in Massachusetts.
   8         716. In doing so, Defendant KORKMAZ repeatedly made
   9 misrepresentations minimizing the physical threat that Dr. Ayasli would face by
  10 attending this meeting.
  11         717. For example, Defendant Korkmaz claimed, among other things: (1)
  12 that “I never called you a FETO supporter [to the public prosecutor];” (2) “I did not
  13 do anything to [Ms. Uner], my professor. I just got upset and slammed the cup on
  14 the table. The glass table broke.” (3) that he had not beaten up Defendant AKOL as
  15 he previously represented but rather only “threw an ashtray at him,” and (4) that he
  16 “never” showed a photo to Attorney Safak or Professor Yavuz depicting a bloodied
  17 Defendant AKOL.
  18         718. Addressing BoraJet, Defendant KORKMAZ further misrepresented
  19 that: (1) “I only had one goal and that was to fly BoraJet, to grow it, and eventually
  20 sell or make it go public;” and (2) his losses from the BoraJet acquisition would be
  21 $150 million by month’s end.
  22         719. Through these knowing and intentional misrepresentations, Defendant
  23 KORKMAZ sought to extract from Dr. Ayasli a monetary settlement to which he
  24 was not entitled.
  25
  26
  27
  28

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   1           3.    Systemic acts of intimidation, assault, bribery directed at Dr.
                     Ayasli’s family and associates
   2
               720. Defendant KORKMAZ further elevated his campaign of pressure
   3
       against Dr. Ayasli by extending his direct threats to Dr. Ayasli’s employees,
   4
       business associates, and attorneys.
   5
               721. At a follow-up meeting to the March 18, 2017 meeting when
   6
       Defendant KORKMAZ smashed the table at Attorney Safak’s office, Defendant
   7
       KORKMAZ showed Safak a photograph depicting a badly beaten and bloodied
   8
       Defendant AKOL.
   9
               722. Defendant KORKMAZ boasted to Safak that he (Defendant
  10
       KORKMAZ) had bashed Defendant AKOL’s face in with an iron ashtray, and
  11
       bragged, “I have beaten many people in my life.”
  12
               723. On October 5, 2017, prior to a hearing before the Istanbul 3rd
  13
       Commercial Court of First Instance, Defendant KORKMAZ approached Attorney
  14
       Hamdi Tolga Danışman of the Istanbul law firm Herguner Bilgen. Pulling
  15
       Danışman aside, Defendant KORKMAZ told Danışman: “I am following you, I
  16
       know where you go and who you are with…” and “I will expose you as a member
  17
       of FETO.”33
  18
               724. When the Herguner Bilgen firm, on behalf of Dr. Ayasli, filed a
  19
       criminal complaint against Defendant KORKMAZ (and others) with the Office of
  20
       the Chief Public Prosecutor of Istanbul in November 2017 asserting charges of
  21
       perjury and attempt to influence a fair trial, Defendant KORKMAZ sent a
  22
       threatening message to Umit Herguner, the senior partner of the Herguner Bilgen
  23
       firm, enclosing a screenshot of the just-filed criminal complaint and stating: “You
  24
       will face the consequences for these kinds of games.”
  25
  26
  27      33
            Defendant KORKMAZ previously had included Danisman in the criminal complaint he
  28 filed triggering the Terrorism Investigation.

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   1         725. A few days later, on November 28, 2017, Defendant KORKMAZ
   2 threatened Dr. Ayasli through Attorney Safak, directing Safak to “tell Ayasli to stop
   3 talking negatively about me” unless he wants to face a “re-ignition of the FETO
   4 allegations.”
   5         726. Defendant KORKMAZ then attempted to bribe Attorney Safak,
   6 offering him $5 million USD to misuse his power of attorney to transfer all of Dr.
   7 Ayasli’s real estate in Turkey to Defendant KORKMAZ.
   8         727. On New Year’s Eve 2018, while speaking to Dr. Ayasli’s lawyer
   9 Muhlis Arvas, Defendant KORKMAZ made violent threats against Dr. Ayasli’s
  10 daughter. Defendant KORKMAZ told Attorney Arvas to tell Dr. Ayasli that he
  11 (Defendant KORKMAZ) had “discovered her address in New York,” and that
  12 unless Dr. Ayasli settled up with him, “he would never let this go.”
  13         728. In February 2018, Defendant KORKMAZ travelled from Turkey to
  14 Salt Lake City, Utah to confront, threaten, and attempt to bribe University of Utah
  15 Professor Hakan Yavuz into pressuring Dr. Ayasli to “surrender” and pay a
  16 monetary “settlement” to the RICO Enterprise.
  17         729. Prof. Yavuz is a Turkish citizen and currently lives in Salt Lake City,
  18 Utah.
  19         730. Prof. Yavuz is a tenured professor in the Department of Political
  20 Science at the University of Utah’s Middle East Center.
  21         731. Prof. Yavuz has extensively studied and written several books about
  22 the Gulen movement.
  23         732. Prof. Yavuz publicly and repeatedly has denounced, both in his
  24 writings and in his online postings, the RICO Enterprise’s relentless media
  25 disinformation campaign alleging that Dr. Ayasli is a member of FETO and was in
  26 any way connected to the July 2016 failed coup attempt.
  27
  28

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   1        733. During high-level meetings with members of the Erdogan
   2 administration in Ankara in 2017, Dr. Yavuz advised Turkish officials that the
   3 RICO Enterprise’s campaign linking Dr. Ayasli to FETO was baseless and false.
   4        734. Prof. Yavuz sought these meetings because he was concerned that the
   5 RICO Enterprise’s disinformation campaign had been so successful among the
   6 citizens, business people and banks in Turkey, that it might actually also have
   7 influenced officials in the Turkish government against Dr. Ayasli.
   8        735. On February 22, 2018, Defendant KORKMAZ appeared at Prof.
   9 Yavuz’s campus office in Salt Lake City unannounced, uninvited and accompanied
  10 by an unidentified American henchman, believed to be Defendant KINGSTON.
  11        736. Defendant KORKMAZ insisted on having an immediate meeting with
  12 Professor Yavuz.
  13        737. Professor Yavuz felt threatened and intimidated, and believed that he
  14 had no choice but to meet with Defendant KORKMAZ.
  15        738. Defendant KORKMAZ informed Professor Yavuz that he was aware
  16 that Professor Yavuz had family living in Turkey and that Defendant KORKMAZ
  17 “knew where they lived.”
  18        739. Prof. Yavuz interpreted Defendant KORKMAZ’s statement as a direct
  19 threat against his family.
  20        740. Defendant KORKMAZ then confronted Professor Yavuz, stating that
  21 Professor Yavuz’s meetings with high ranking government officials in Ankara
  22 debunking Dr. Ayasli’s alleged FETO ties had done “great damage” to Defendant
  23 KORKMAZ’s interests in Turkey.
  24        741. Defendant KORKMAZ warned Professor Yavuz to “be careful” and
  25 threatened Professor Yavuz against “getting involved in these matters again” -
  26 referring specifically to Professor Yavuz’s writings and online statements
  27 exonerating Dr. Ayasli from involvement with Gulen or FETO.
  28

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   1        742. During his meeting with Professor Yavuz, Defendant KORKMAZ
   2 admitted that he knew that Dr. Ayasli and Ms. Uner had no connections to FETO,
   3 that he (Defendant KORKMAZ) had, in fact, fabricated the FETO allegations
   4 against Dr. Ayasli and Ms. Uner, and that he did so because Dr. Ayasli “put us in a
   5 tight corner.”
   6        743. Defendant KORKMAZ further admitted that Defendants DERMEN,
   7 KINGSTON and ISAIAH KINGSTON were his “business partners.”
   8        744. Defendant KORKMAZ also told Professor Yavuz that “there is no
   9 justice in Turkey” and that “everything is about money.”
  10        745. Defendant KORKMAZ then asserted that he had paid bribes to many
  11 people in positions of influence in Turkey, and that he had "records of everything
  12 he had given” to those individuals.
  13        746. By way of example, Defendant KORKMAZ showed Professor Yavuz
  14 a copy of a check for $250,000 he had sent jointly with Lev Aslan Dermen to Ibn
  15 Haldun University in Istanbul where high-ranking Turkish officials and members of
  16 prominent political families serve on the Board of Trustees.
  17        747. Defendant KORKMAZ also bragged to Professor Yavuz about his
  18 (Defendant KORKMAZ’s) role in the Mueller Investigation and his “high level
  19 connections” in the United States Government.
  20        748. Defendant KORKMAZ then threatened Professor Yavuz by showing
  21 him a photograph on Defendant KORKMAZ’s phone showing Defendant AKOL
  22 with his face bashed in and bloodied—the same photograph that Defendant
  23 KORKMAZ had earlier brandished in front of Attorney Safak.
  24        749. Defendant KORKMAZ demanded that Professor Yavuz contact Dr.
  25 Ayasli to set up a face-to-face meeting between Defendant KORKMAZ and Dr.
  26 Ayasli.
  27
  28

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   1         750. Professor Yavuz felt threatened by Defendant KORKMAZ and
   2 immediately informed Dr. Ayasli of the details surrounding Defendant
   3 KORKMAZ’s unannounced visit to his office.
   4         751. Finally, on February 14, 2019, thirty armed police officers from the
   5 Chief Public Prosecutor’s Office of Terror and Organized Crime Investigation
   6 Bureau raided the Istanbul offices of Herguner Bilgen. These officers searched
   7 Attorney Tolga Danisman’s office, and seized his laptop computer, mobile devices,
   8 flash drives, documents, and other items.
   9         752. Attorney Danisman was detained on suspicion of FETO affiliation. He
  10 was later released.
  11         4.    Corruption of Court Proceedings and Expert Accounting Process
  12         753. Approximately two weeks after Mr. Danisman was arrested, there was
  13 a hearing in the consolidated civil cases to address the findings of the panel of
  14 court-appointed economic experts in Turkey assigned to evaluate the merits of these
  15 commercial cases.
  16         754. Dr. Ayasli was not present or represented at this hearing due to the raid
  17 on his counsel’s offices and arrest of Mr. Danisman.
  18         755. In advance of this hearing, Defendant KORKMAZ had exerted
  19 influence over this panel. As a consequence of that influence, contrary to the
  20 commercial court’s explicit instructions, the panel failed: (1) to actually examine
  21 BoraJet’s books and records; (2) to visit the sites where BoraJet’s aircraft were
  22 located; and (3) to correctly state the number of aircraft actually owned by BoraJet
  23 or the condition of these aircraft.
  24         756. The panel of experts also ignored the statement of BoraJet’s President
  25 of Financial Affairs, Tolga Uzumcu, who confirmed that “many professionals” had
  26 examined and analyzed BoraJet’s financials on behalf of Defendant KORKMAZ
  27 prior to Defendant BUGARAJ’s purchase of BoraJet, and further ignored the three
  28 expert reports submitted by Dr. Ayasli.

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   1         757. Relying on this tainted expert analysis and without Dr. Ayasli’s
   2 counsel present to argue a counter position, the Court found in favor of Defendant
   3 BUGARAJ and awarded over $90 million in damages.
   4         758. At the hearing, the Court also granted the RICO Enterprise’s renewed
   5 request for liens on all of Dr. Ayasli’s properties in Turkey.
   6         759. Dr. Ayasli appealed this decision on September 12, 2019, and the
   7 decision remains pending.
   8         760. Dr. Ayasli further has filed a civil suit addressing Defendant
   9 KORKMAZs’ exercise of influence to corrupt the panel of experts and their
  10 findings.
  11         761. The RICO Enterprise’s continuing effort at intimidation and exerting
  12 undue influence on the judicial proceedings involving Dr. Ayasli prompted the
  13 entire Herguner firm to write and sign a letter to the Istanbul Bar Association citing
  14 their firm’s exposure to “threat, intimidation and pressure,” and the increasing use
  15 of the strategy of “calumniate and the stain will remain” to affect Dr. Ayasli’s cases
  16 in Turkey.
  17
       I.    The RICO Enterprise’s Continuing Effort to Complete the Illicit
  18         Acquisition of Dr. Ayasli’s Real Estate Holdings
  19         762. In each proceeding involving Dr. Ayasli – the December 2016
  20 Agreement, the proceedings to accelerate loans, and the civil actions -- Defendant
  21 KORKMAZ, acting on behalf of the Enterprise, has attempted to attach liens to at
  22 least one, and in most cases all, of Dr. Ayasli’s commercial and residential real
  23 estate in Turkey.
  24         763. Defendant KORKMAZ, through Defendant BUGARAJ, and on behalf
  25 of the RICO Enterprise, repeatedly has acted to liquidate these liens and either
  26 secure clean title to the properties at a below market price or to secure the proceeds
  27 of these sales.
  28

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   1        764. Defendant KORKMAZ, through Defendant BUGARAJ, secured a lien
   2 on Dr. Ayasli’s Nuruosmaniye property as part of the December 2016 Agreement,
   3 which attached in February 2017.
   4        765. As noted above, in February 2019, Defendant BUGARAJ attached
   5 liens on all of Dr. Ayasli’s commercial and residential property acquired after
   6 securing a civil judgment against Dr. Ayasli at a hearing in which he was neither
   7 present nor represented by counsel.
   8        766. In the fall of 2020, Defendant BUGARAJ assigned these liens to
   9 Turkish loan consolidation company Armada Varlik Yonetim A.S. (“Armada”) for
  10 liquidation.
  11        767. Armada subsequently auctioned Dr. Ayasli’s Nuruosmaniye property,
  12 selling the property to Defendant BUGARAJ for over $14 million.
  13        768. Upon receiving correspondence from undersigned counsel indicating
  14 that the property was the subject of pending litigation in the United States, Armada
  15 subsequently returned the Nuruosmaniye property to Defendant BUGARAJ and by
  16 agreement, it was subsequently transferred to Attorney Safak, who is now holding
  17 it.
  18        769. In May 2021, Defendant KORKMAZ, through Defendant BUGARAJ,
  19 triggered another auction of an Ayasli family residence in Ortakoy, Turkey. As was
  20 done with Dr. Ayasli’s Nuruosmaniye property, Defendant KORKMAZ, through
  21 Defendant BUGARAJ, and on behalf of Defendants DERMEN and KINGSTON,
  22 purchased this residence, as well as personal effects and artwork, for approximately
  23 $14,160,000 in Fraud Proceeds on May 21, 2021. This purchase later was unwound
  24 when a Turkish court declared it to be a fraudulent transfer.
  25        770. In July 2022, Defendant KORKMAZ, through Defendant BUGARAJ,
  26 and on behalf of Defendants DERMEN and KINGSTON, triggered an auction of
  27 six of Dr. Ayasli’s properties in which Garanti Bank held the superior interest. At
  28 the August 23, 2022, auction, Defendant BUGARAJ did not purchase the

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   1 properties, instead electing to collect the portion of the sale price subject to the
   2 liens. Dr. Ayasli, through his spouse, repurchased four of his properties, which
   3 were apartments in Cumhuriyet (2) and Tefken (2) for a total price of $2,7600,000
   4 in U.S.-based funds. The remaining two properties, buildings in Nisantasi, were
   5 purchased by Garanti Bank.
   6           771. Defendant BUGARAJ, through Armada, continues to hold title to all
   7 of the remaining properties, collectively totaling more than $150 million in
   8 additional value and could seek to liquidate them, with limited restrictions, at any
   9 time in the present or future.
  10                                  CLAIMS FOR RELIEF
  11                              FIRST CLAIM FOR RELIEF
  12                        (Violations of RICO, 18 U.S.C. §1962(c))
  13                                     (Select Defendants)
  14           772. Plaintiff re-alleges and incorporates herein by reference each and every
  15 foregoing paragraph of this Complaint as if set forth in full herein.
  16           773. At all times relevant to this Complaint, Dr. Ayasli was a “person”
  17 within the meaning of Title 18, United States Code, Sections 1961(3) and 1962(c).
  18           774. At all times relevant to this Complaint, each RICO Defendant was a
  19 “person” within the meaning of Title 18, United States Code, Sections 1961(3) and
  20 1962(c).
  21                                    The RICO Enterprise
  22           775. Defendants KORKMAZ, DERMEN, KINGSTON, ISAIAH
  23 KINGSTON, AKOL, OZKARAMAN, WASHAKIE, SBK TURKEY, SBK USA,
  24 BUGARAJ, and MEGA VARLIK (“RICO Defendants”),34 and their Co-
  25
          34
  26       The term “RICO Defendants” is limited to those individuals who are alleged to have
     committed a Section 1962(c) violation (substantive RICO). The RICO Defendants, along with
  27 fellow Co-conspirators YILMAZ, ZOUBKOVA, BUKOMBIN, NOIL ENERGY, SPEEDY
     LION, GT ENERGY, UNITED FUEL SUPPLY, ISANNE, BIOFARMA, BLANE, STONE, and
  28 KOMAK, are included in the Section 1962(d) allegation (RICO conspiracy). Together, they are

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   1 conspirators, are a group of persons associated in fact and constitute an
   2 “enterprise,” as defined in Title 18, United States Code, Section 1964 (“RICO
   3 Enterprise”).
   4         776. The RICO Enterprise constituted an ongoing organization whose
   5 members functioned as a continuing unit for the common purposes of: (1) enriching
   6 its members and associates, in substantial part, through the commission of
   7 sophisticated criminal conspiracies and acts, including mail fraud, wire fraud,
   8 money laundering, Hobbs Act Extortion, Travel Act violations, and obstruction of
   9 justice; (2) protecting its members and associates from external criminal and civil
  10 threats through systemic efforts of deception and concealment; and (3) preserving
  11 its illicitly secured assets from law enforcement seizures, criminal and civil
  12 judgments, or other external threats through the use of force, fear, and intimidation,
  13 as well as through the manipulation, obstruction, and subversion of legal
  14 proceedings.
  15         777. The RICO Enterprise is engaged in, and its activities affect, interstate
  16 and foreign commerce through operations that demonstrate continuity of both
  17 structure and personnel.
  18         778. The RICO Enterprise was founded in the United States by Defendants
  19 DERMEN, KINGSTON, ISAIAH KINGSTON and WASHAKIE by no later than
  20 2011 and continues to operate through this day.
  21         779. The RICO Enterprise principally operates within the United States,
  22 specifically within the Central District of California and the District of Utah.
  23         780. Defendant DERMEN is the leader of the RICO Enterprise.
  24         781. Defendant KINGSTON served as Defendant DERMEN’s top U.S.-
  25 based associate, who in turn, was closely aided by Defendant ISAIAH
  26 KINGSTON.
  27
  28 defined as the “RICO Co-conspirators.”

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   1        782. The RICO Enterprise conducts its U.S. operations through Enterprise-
   2 funded and controlled businesses, including but not limited to, Defendants
   3 WASHAKIE and SBK USA, and Co-conspirators NOIL ENERGY, SPEEDY
   4 LION, GT ENERGY and UNITED FUEL SUPPLY.
   5        783. To facilitate its transnational money laundering operations, the RICO
   6 Enterprise expanded its operations to Turkey, where Defendant KORKMAZ,
   7 assisted by Defendant OZKARAMAN, has overseen its operations since at least
   8 2013. During a critical period in 2016, Defendant AKOL assisted with the RICO
   9 Enterprise’s acquisition of BoraJet.
  10        784. As in the United States, the RICO Enterprise conducts its operations in
  11 Turkey through Enterprise-funded and controlled entities, including but not limited
  12 to, Defendants SBK TURKEY, BUGARAJ, and MEGA VARLIK and co-
  13 conspirators BUKOMBIN, ISANNE, BIOFARMA, BLANE, STONE and
  14 KOMAK.
  15        785. While the organization of the RICO Enterprise has evolved over time
  16 and its members have held different roles at different times, the RICO Enterprise
  17 has been structured to operate as an ongoing unit to accomplish its purpose. For
  18 example, following Defendants DERMEN and KINGSTON’s 2018 indictment in
  19 the District of Utah on mail fraud, money laundering, and obstruction of justice
  20 charges (Dermen/Kingston Criminal Proceeding), Defendant KORKMAZ assumed
  21 the principal leadership role and actively pursued the RICO Enterprise’s ongoing
  22 fraud, extortion, and money laundering activities, including those that have been,
  23 and continue to be, directed at Dr. Ayasli.
  24                           Pattern of Racketeering Activity
  25        786. Each of the RICO Defendants conducted and participated, directly and
  26 indirectly, in the operation, management, and affairs of the RICO Enterprise
  27 through a “pattern of racketeering activity” within the meaning of Title 18, United
  28

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   1 States Code, Section 1961(5) and in violation of Title 18, United States Code,
   2 Section 1962(c), as demonstrated below.
   3        787. In this case, the “pattern of racketeering activity” included multiple
   4 acts indictable under the following federal criminal statutory provisions:
   5               a.    Mail Fraud, in violation of Title 18, United States Code, Section
   6                     1341;
   7               b.    Wire Fraud, in violation of Title 18, United States Code, Section
   8                     1343;
   9               c.    Money Laundering Conspiracy, in violation of Title 18, United
  10                     States Code, Section 1956(h);
  11               d.    Domestic Promotional Money Laundering, in violation of Title
  12                     18, United States Code, Section 1956(a)(1)(A)(i);
  13               e.    Domestic Concealment Money Laundering, in violation of Title
  14                     18, United States Code, Section 1956(a)(1)(B)(i);
  15               f.    Transnational Promotional Money Laundering, in violation of
  16                     Title 18, United States Code, Section 1956(a)(2)(A);
  17               g.    Transnational Concealment Money Laundering, in violation of
  18                     Title 18, United States Code, Section 1956(a)(2)(B)(i);
  19               h.    Engaging in Monetary Transactions Using Criminally Derived
  20                     Proceeds, in violation of Title 18, United States Code, Sections
  21                     1957(a), (d)(1);
  22               i.    United States Person Engaging in Monetary Transactions Using
  23                     Criminally Derived Proceeds Outside the United States, in
  24                     violation of Title 18, United States Code, Sections 1957(a),
  25                     (d)(2);
  26               j.    Obstruction of Justice, in violation of Title 18, United States
  27                     Code, Section 1512;
  28               k.    Hobbs Act Extortion, in violation of Title 18, United States

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   1                      Code, Section 1951; and
   2                l.    Travel Act offenses, in violation of Title 18, United States Code,
   3                      Section 1952.
   4         788. Each RICO Defendant has engaged in the pattern of racketeering
   5 activity alleged herein.
   6         789. The RICO Defendants’ commission of these predicate acts of
   7 racketeering has had a direct or indirect effect on the RICO Enterprise.
   8         790. The RICO Defendants’ predicate acts of racketeering activity were
   9 sufficiently connected to each other by a common scheme, plan, or motive to
  10 constitute a “pattern.”
  11         791. The RICO Defendants’ predicate acts of racketeering activity were
  12 related to each other. These were not isolated, disconnected events, but instead,
  13 events connected by shared participants, shared recipients, and shared methods of
  14 commission so as to establish a sufficient interrelationship evidencing a common,
  15 overarching purpose.
  16         792. The RICO Defendants’ predicate acts of racketeering activity were
  17 both sufficient in number and have been conducted over the course of years,
  18 thereby establishing closed-ended continuity.
  19         793. The RICO Defendants’ predicate acts of racketeering activity continue
  20 to this day, and as such, are capable of indefinite repetition into the future sufficient
  21 to establish open-ended continuity.
  22         794. The RICO Enterprise has profited immensely from the totality of
  23 criminal acts constituting the pattern of racketeering activity conducted by the
  24 RICO Defendants.
  25         795. Initially, the RICO Enterprise obtained its operational funding through
  26 its U.S.-based Fraudulent Fuel Tax Credit Scheme, a brazen mail fraud scheme
  27 through which the RICO Enterprise defrauded the United States Treasury of
  28 approximately $470,000,000. Supra, ¶ 366-403.

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   1         796. The RICO Defendants and their Co-conspirators then actively
   2 laundered the illicit Fraud Proceeds through a series of sophisticated schemes
   3 involving multiple bank accounts and businesses that the RICO Enterprise created,
   4 acquired or otherwise controlled in the United States and Turkey. Through this
   5 process, the RICO Enterprise actively worked to conceal the source and location of
   6 these funds from law enforcement, while providing itself with nearly unlimited
   7 funds for use in promoting ongoing racketeering activity, acquiring goods, services,
   8 and businesses, and subverting the legal process through bribes, evidence
   9 manipulation, and sham litigation. Supra, ¶ 402-38, 442, 445, 454-80.
  10         797. By 2016, the RICO Enterprise’s U.S.-based Fraudulent Fuel Tax
  11 Credit Scheme had run its course. The IRS had refused payment on several
  12 Enterprise-submitted claims and an investigation into the validity of these claims
  13 had been initiated.
  14         798. Utilizing the vast cache of laundered Fraud Proceeds, Defendants
  15 KORKMAZ, DERMEN, and KINGSTON shifted much of the Enterprise’s focus,
  16 and thereby its racketeering activity, to a new half billion dollar fraud scheme: the
  17 targeting of (1) Dr. Ayasli’s businesses BoraJet and Aydin Jet, including his Global
  18 XRS executive jet; and (2) multiple prized commercial properties and private
  19 residences in Turkey collectively valued at approximately $150 million; all of
  20 which were acquired and funded through Dr. Ayasli’s U.S.-generated and U.S.-
  21 based wealth. It further has sought to extract tens of millions of dollars in U.S.-held
  22 money from Dr. Ayasli through sham litigation in Turkey funded by the laundered
  23 Fraud Proceeds, multiple acts of extortion directed at Dr. Ayasli at his U.S.-
  24 residences, and concerted and repeated efforts to obstruct the United States
  25 government’s investigation into the full scope of the RICO Enterprise’s money
  26 laundering activities, including those directed at Dr. Ayasli.
  27         799. For the past six years, the RICO Enterprise, operating principally
  28 through Defendants KORKMAZ and BUGARAJ, and on behalf of Defendants

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   1 DERMEN, KINGSTON, ISAIAH KINGSTON and its other members, has
   2 relentlessly pursued Dr. Ayasli’s assets through repeated acts of racketeering
   3 activity, including but not limited to obstruction of justice, money laundering,
   4 Hobbs Act extortion, Travel Act violations and wire fraud.
   5             Predicate Acts of Obstruction of Justice (18 U.S.C. § 1512)
   6        800. To protect its members, advance its interests, and hinder the efforts of
   7 law enforcement to identify the full scope of its fraud and money laundering
   8 operations, the RICO Enterprise, through Defendants KORKMAZ, DERMEN,
   9 KINGSTON, and ISAIAH KINGSTON engaged in multiple forms of obstruction
  10 of justice within the United States, and elsewhere.
  11        801. As acutely demonstrated through the federal criminal indictments
  12 returned against Defendants KORKMAZ, and Defendants DERMEN, KINGSTON
  13 and ISAIAH KINGSTON, the United States government is in the midst of a multi-
  14 year investigation in which it has sought to define the full scope of the U.S.-based
  15 Fraudulent Fuel Tax Credit Scheme and the myriad acts of money laundering
  16 through which Defendants KORKMAZ, DERMEN, KINGSTON, ISAIAH
  17 KINGSTON, and others at their direction, transferred the illicit Fraud Proceeds to
  18 Enterprise-controlled businesses and bank accounts throughout the United States
  19 and Turkey. Supra, ¶ 439-74.
  20        802. This includes the laundering of funds in connection with the RICO
  21 Enterprise’s fraudulent acquisition of BoraJet and Aydin Jet from Dr. Ayasli.
  22 Supra, ¶ 449-50, 464-65.
  23        803. At all times relevant to this Complaint, Defendants KORKMAZ,
  24 DERMEN, KINGSTON, and ISAIAH KINGSTON each well knew that the United
  25 States government had initiated a criminal investigation into the RICO Enterprise’s
  26 mail fraud and money laundering schemes. Supra, ¶ 441-42, 444-45, 466-73.
  27        804. Defendants KORKMAZ, DERMEN, KINGSTON and ISAIAH
  28 KINGSTON, acting to protect the RICO Enterprise and its members, conspired and

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   1 agreed to, and did in fact, corruptly alter, destroy and conceal records and hard
   2 drives documenting the scope of the Enterprise’s illegal conduct and separately
   3 conspired and agreed, and did act, to corruptly obstruct, influence and impede this
   4 official investigation, in violation of Title 18, United States Code, Sections
   5 1512(c)(1), (2) and (k), respectively.
   6         805. On April 29 and 30, 2019, Defendant KORKMAZ was interviewed in
   7 Utah by federal agents from the Internal Revenue Service and the Environmental
   8 Protection Agency as part of this investigation. Supra, ¶ 466.
   9         806. During this interview, Defendant KORKMAZ, acting on behalf of
  10 Defendants DERMEN, KINGSTON and ISAIAH KINGSTON, and to protect the
  11 interests of the RICO Enterprise, repeatedly lied about the true purpose underlying
  12 transnational financial transactions between Defendants KORKMAZ, DERMEN,
  13 and KINGSTON and involving Co-conspirators UNITED FUEL SUPPLY,
  14 KOMAK, and BLANE, claiming lawful reasons for each transfer of funds.
  15 Defendant KORKMAZ also lied when he concealed the ownership interest of
  16 Defendant DERMEN in Enterprise-acquired property, namely, the Queen Anne
  17 yacht. Supra, ¶ 467-73.
  18         807. Defendant KORKMAZ’s election not to provide truthful information
  19 and instead to intentionally tell material lies designed to shield the existence and
  20 scope of the RICO Enterprise’s money laundering operations deprived the U.S.
  21 government of complete clarity into the full scope of its money laundering scheme
  22 and the broader racketeering activity of the RICO Enterprise. This included the
  23 varied ways that the RICO Enterprises has used laundered Fraud Proceeds and its
  24 multi-tiered money laundering operation to target Dr. Ayasli’s business and
  25 property.
  26         808. Based on the lies told to federal investigators during this interview,
  27 Defendant KORKMAZ stands charged in the District of Utah with Obstruction of
  28

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   1 an Official Proceeding, in violation of Title 18, United States Code, Section
   2 1512(c)(2). (“Korkmaz Criminal Proceeding.”)
   3         809. Similarly, at earlier stages in the government’s investigation,
   4 Defendants KINGSTON and ISAIAH KINGSTON, acting on behalf of the RICO
   5 Enterprise, to include Defendants DERMEN and KORKMAZ, repeatedly sought to
   6 obstruct the government’s efforts to secure a full understanding of the scope of the
   7 criminal schemes that they had perpetuated on behalf of the RICO Enterprise,
   8 including the cross-border money laundering operations with Defendant
   9 KORKMAZ through Enterprise-controlled entities and accounts in the United
  10 States and Turkey.
  11         810. These efforts, which began as early as 2014 and continued through
  12 2017, in Salt Lake City, and elsewhere, included the production of false documents
  13 to government investigators and the grand jury, the destruction of business hard
  14 drives at Defendant WASHAKIE and Co-conspirator UNITED FUEL SUPPLY,
  15 and payments made with the intent to bribe multiple government officials and to
  16 hire enforcers to conduct acts of witness intimidation. Supra, ¶ 441-45.
  17         811. As part of his plea agreement, Defendant KINGSTON pled guilty to
  18 separate counts of obstruction of justice as a result of having conspired to obstruct
  19 the government’s investigation, in violation of Title 18, United States Code, Section
  20 1512(k), destroyed evidence, in violation of Title 18, United States Code, Section
  21 1512(c)(1), and tampered with witnesses, in violation of Title 18, United States
  22 Code, Section 1512(a)(2). This included Defendant KINGSTON’s admission to
  23 having unsuccessfully attempted to bribe a purported “high-level” official at the
  24 United States Department of Justice, federal agents, prosecutors, and judges and to
  25 having hired an “enforcer” to intimidate witnesses “through force or threat of
  26 force.”
  27         812. Defendant ISAIAH KINGSTON, likewise, pled guilty to conspiring to
  28 obstruct the government’s investigation, in violation of Title 18, United States

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   1 Code, Section 1512(k), and destroying evidence, in violation of Title 18, United
   2 States Code, Section 1512(c)(1), based on the same general conduct as his brother.
   3        813. Both independently and together, these acts of obstruction were
   4 designed to subvert the legal process and to preclude a full and honest accounting
   5 of the true scope of the RICO Enterprises’ criminal activities. This includes its
   6 transnational money laundering operation and its use of laundered funds to target
   7 Dr. Ayasli’s business and property.
   8                   Predicate Acts of Mail Fraud (18 U.S.C. § 1341)
   9        814. The RICO Enterprise, operating through Defendants DERMEN,
  10 KINGSTON, ISAIAH KINGSTON, and WASHAKIE conducted a massive multi-
  11 year mail fraud scheme in which they: (1) knowingly devised a scheme for
  12 obtaining money from the United States government by means of false or
  13 fraudulent pretenses, representations, or promises; (2) made material misstatements
  14 that had a natural tendency to influence, or were capable of influencing the United
  15 States government in paying the requested funds; (3) acted with the intent to
  16 defraud when submitting the fraudulent request for funds; and (4) used the mails to
  17 carry out an essential part of the scheme.
  18        815. Defendants DERMEN, KINGSTON, ISAIAH KINGSTON, and
  19 WASHAKIE knowingly devised, executed, implemented, and caused to be
  20 implemented a scheme to unlawfully obtain renewable fuel tax credits that the
  21 United States Treasury administered through the Internal Revenue Service (“IRS”)
  22 by filing by mail IRS Form 8499 claims (Claim for Refund of Excise Taxes) in
  23 which they falsely claimed refundable renewable fuel tax credits to which they
  24 knew they were not entitled. Supra, ¶ 384-405.
  25        816. Rather than produce or sell fuel that lawfully would qualify for a
  26 refundable renewable fuel tax credit, Defendants DERMEN, KINGSTON and
  27 ISAIAH KINGSTON falsified, or caused others to falsify, invoices, contracts,
  28 production records, bills of lading, sales invoices, and accounting records to create

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   1 the false appearance that legitimate business was being conducted and to conceal
   2 their unlawful conduct for federal regulators and law enforcement. .
   3           817. Despite not having produced or sold any lawfully qualifying biodiesel
   4 mixtures, agri-biodiesel mixtures, renewable diesel mixtures or liquid fuel derived
   5 from biomass, Defendants DERMEN, KINGSTON and ISAIAH KINGSTON,
   6 through Defendant WASHAKIE,35 filed, or caused to be filed, by mail 19 IRS
   7 Form 8449 claims between February 2013 and February 2016 in which they, acting
   8 with the intent to defraud, fraudulently represented to having produced or sold over
   9 1.2 billion gallons of such materials, thereby allowing them to falsely claim more
  10 than 1.1 billion dollars in fuel tax credits as follows:
  11    Date       Filer        False Item(s) Claimed                         Amount of Credit Claimed
        2/13/13    Washakie     Line 2a – Biodiesel mixtures                  $3,901,235
  12    2/25/13    Washakie     Line 2a – Biodiesel mixtures                  $640,959
        3/11/13    Washakie     Line 3f – Liquid fuel derived from biomass    $20,283,659
  13    3/12/13    Washakie     Line 2a – Biodiesel mixtures                  $806,041
                                Line 3f – Liquid fuel derived from biomass    $3,600,000
  14    3/27/13    Washakie     Line 2a – Biodiesel mixtures                  $2,398,274
                                Line 3f – Liquid fuel derived from biomass    $6,461,246
  15    4/17/13    Washakie     Line 3f – Liquid fuel derived from biomass    $11,872,884
        5/20/13    Washakie     Line 2a – Biodiesel mixtures                  $11,700,000
  16    6/3/13     Washakie     Line 2a – Biodiesel mixtures                  $11,400,000
        7/29/13    Washakie     Line 2b – Agri-biodiesel mixtures             $25,800,000
  17    8/13/13    Washakie     Line 2a – Biodiesel mixtures                  $16,200,000
        9/05/13    Washakie     Line 2a – Biodiesel mixtures                  $35,008,437
  18    9/30/13    Washakie     Line 2b – Agr—biodiesel mixtures              $33,465,236
        10/20/13   Washakie     Line 2a – Biodiesel mixtures                  $33,581,899
  19    11/17/13   Washakie     Line 2a – Biodiesel mixtures                  $38,078,529
        12/09/13   Washakie     Line 2a – Biodiesel mixtures                  $33,579,440
  20    12/24/13   Washakie     Line 2a – Biodiesel mixtures                  $21,789,321
        2/11/15    Washakie     Line 2a – Biodiesel mixtures                  $170,302,364
  21    1/20/16    Washakie     Line 2a – Biodiesel mixtures                  $322,900,000
  22    2/4/16     UFS          Line 2a – Biodiesel mixtures                  $321,573,260
                                TOTAL:                                        $1,125,342,784
  23
  24           818. Prior to when the scheme was detected, Defendants DERMEN,
  25 KINGSTON and ISAIAH KINGSTON, through Defendant WASHAKIE, received
  26
  27      35
          A single mailing in February 2016 which did not result in the issuance of a payment was
  28 submitted in the name of Co-conspirator United Fuel Supply.

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   1 at least 19 U.S. Treasury checks36 by mail totaling approximately $470,000,000 in
   2 Fraud Proceeds to which they were not entitled:
   3    Date Paid               Payor                           Payee             Amount

   4    3/21/13                 U.S. Treasury                   WASHAKIE          $640,959
        3/27/13                 U.S. Treasury                   WASHAKIE          $20,283,659
   5    3/27/13                 U.S. Treasury                   WASHAKIE          $4,408,041
        4/8/13                  U.S. Treasury                   WASHAKIE          $8,859,520
   6    5/24/13                 U.S. Treasury                   WASHAKIE          $11,872,884
        6/10/13                 U.S. Treasury                   WASHAKIE          $11,700,000
   7    6/17/13                 U.S. Treasury                   WASHAKIE          $11,400,000
        8/9/13                  U.S. Treasury                   WASHAKIE          $25,800,000
   8    8/27/13                 U.S. Treasury                   WASHAKIE          $16,200,000
        9/16/13                 U.S. Treasury                   WASHAKIE          $35,008,437
   9    10/22/13                U.S. Treasury                   WASHAKIE          $33,465,235
        11/12/13                U.S. Treasury                   WASHAKIE          $33,581,899
  10    12/2/13                 U.S. Treasury                   WASHAKIE          $38,078,529
        12/26/13                U.S. Treasury                   WASHAKIE          $33,578,660
  11    1/13/14                 U.S. Treasury                   WASHAKIE          $21,789,321
        3/16/15                 U.S. Treasury                   WASHAKIE          $82,102,840
  12    3/16/15                 U.S. Treasury                   WASHAKIE          $82,102,840

  13                                                            TOTAL:            $470,871,883

  14           819. This approximately half-billion dollars in illicit Fraud Proceeds has
  15 served as the financial lifeblood of the RICO Enterprise and is the source of the
  16 illicit funds laundered by Defendants KORKMAZ, DERMEN, KINGSTON,
  17 ISAIAH KINGSTON, WASHAKIE, SBK USA, SBK TURKEY, BUGARAJ and
  18 MEGA VARLIK, among others, in and through Turkey. These funds, in turn, have
  19 been repeatedly tapped into by the RICO Enterprise, including Defendants
  20 KORKMAZ and BUGARAJ, to fund the RICO Enterprise’s ongoing efforts to
  21 illicitly extract money and property from Dr. Ayasli.
  22           820. Defendant KINGSTON and ISAIAH KINGSTON, through their
  23 federal plea agreements, have admitted to having conducted the alleged mail fraud
  24 scheme. Supra, ¶ 441-45.
  25
  26
  27      36
            The payments received on 3/27/13 and 4/8/13 each included two checks, the total of which
  28 is included in the above chart.

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   1           821. Defendant DERMEN was convicted at trial of having conspired with
   2 Defendants KINGSTON and ISAIAH KINGSTON to conduct the alleged mail
   3 fraud scheme. Supra, ¶ 447..
   4           822. Defendant KORKMAZ currently stands charged with having
   5 conspired with Defendant DERMEN, among others, to launder the Fraud Proceeds
   6 from this scheme in the United States, Turkey, and elsewhere. Supra, ¶ 454-74.
   7
          Predicate Acts Involving the Enterprise’s Money  Laundering Conspiracy
   8                               (18 U.S.C. § 1956(h))37
   9           823. The RICO Enterprise’s multi-tiered money laundering operation was
  10 second only to its wildly profitable mail fraud scheme in scope and sophistication.
  11 Having stolen approximately half a billion dollars from the U.S. Treasury through
  12 its U.S.-based Fraudulent Fuel Tax Credit Scheme, the RICO Enterprise
  13 aggressively laundered these funds through numerous Enterprise-controlled
  14 businesses and bank accounts in the United States, Turkey, and elsewhere.
  15           824. To this end, each of the RICO Defendants, as well as multiple Co-
  16 conspirators, knowing and intentionally conspired and agreed to violate several
  17 anti-money laundering statutes, including multiple provisions of Title 18, United
  18 States Code, Section 1956, prohibiting the knowing transfer of illicit proceeds,
  19 including transnationally, for the purposes of either concealing the source, location,
  20 ownership or control of the funds (18 U.S.C. §§ 1956(a)(1)(B)(i), (a)(2)(B)(i)) or
  21 promoting additional illegal conduct (18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(2)(A)), and
  22 Title 18, United States Code, Section 1957, which prohibits the knowing use of
  23 illicit proceeds, including by a United States citizen while abroad (18 U.S.C. §§
  24 1957(a)(1), (d)(1), (d)(2)).
  25
  26
  27      37
         All of the acts in furtherance of the conduct that constitutes substantive violations of the
  28 money laundering statutes also serve as overt acts in furtherance of the conspiracy offenses.

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   1         825. These money laundering conspiracies originated by no later than 2013
   2 and have continued to the present day in Los Angeles County, within the Central
   3 District of California, and elsewhere, including but not limited to, Salt Lake City,
   4 Utah, and the Republic of Turkey. Supra, ¶ 404-38.
   5         826. Central to the success of these conspiracies was a large network of
   6 U.S. and internationally-based businesses and bank accounts that were created,
   7 opened, acquired or controlled by the RICO Enterprise, including but not limited to,
   8 U.S.-based RICO Defendants WASHAKIE and SBK USA and Co-conspirators
   9 NOIL ENERGY, SPEEDY LION, GT ENERGY, UNITED FUEL SUPPLY,
  10 Turkey-based RICO Defendants SBK TURKEY, BUGARAJ, and MEGA
  11 VARLIK, and Co-conspirators BUKOMBIN, BIOFARMA, BLANE, STONE, and
  12 KOMAK, and Luxemburg-based Co-conspirator ISANNE. Supra, ¶ 405-38.
  13         827. These Enterprise-controlled businesses provided a veneer of
  14 legitimacy to its illicit monetary transactions, which facially appeared to be
  15 business-related, while also serving as vehicles through which the RICO Enterprise
  16 conducted additional racketeering activity or facilitated ongoing racketeering
  17 activity. Supra, ¶ 436-38.
  18         828. During the course of, and as part of, these money laundering
  19 conspiracies, Defendants DERMEN, KINGSTON, and ISAIAH KINGSTON
  20 knowingly and intentionally laundered significant amounts of Fraud Proceeds
  21 through monetary transactions between U.S.-based businesses controlled by
  22 Defendants DERMEN and KINGSTON, such as Defendants WASHAKIE and
  23 SBK USA, and Co-conspirators NOIL ENERGY, SPEEDY LION, GT ENERGY
  24 and UNITED FUEL SUPPLY, where these Fraud Proceeds remained available for
  25 the U.S.-based members of the RICO Enterprise to further launder or access.
  26 Several examples highlight the actual implementation of this agreement:
  27               a.     On January 17, 2014, Defendants DERMEN, KINGSTON, and
  28                      ISAIAH KINGSTON, acting through Defendant WASHAKIE,

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   1                     funded Defendant SBK USA through a wire transfer of $10
   2                     million in Fraud Proceeds. Over the next several years,
   3                     Defendant WASHAKIE wired Fraud Proceeds to Defendant
   4                     SBK USA on multiple occasions totaling more than $25 million.
   5                     Supra, ¶ 405.
   6               b.    On April 8, 2013, Defendants DERMEN, KINSGTON, and
   7                     ISAIAH KINGSTON, acting through Defendant WASHAKIE,
   8                     made separate transfers of Fraud Proceeds when it wired
   9                     $1,324,670 to Co-conspirator NOIL ENERGY and $10 million
  10                     to Co-conspirator UNITED FUEL SUPPLY. One week later,
  11                     Co-conspirator UNITED FUEL SUPPLY conducted an
  12                     additional laundering transaction when this $10 million was
  13                     transferred to a Merrill Lynch account controlled by Defendant
  14                     KINGSTON. Supra, ¶ 405.
  15        829. Equally significant amounts of Fraud Proceeds were the subject of
  16 “round trip” laundering transactions through which Defendants KORKMAZ,
  17 DERMEN, KINGSTON, and ISAIAH KINGSTON, occasionally with the
  18 assistance of Co-conspirator Defendants YILMAZ and ZOUBKOVA, knowingly
  19 and intentionally conducted monetary transactions in which Enterprise-controlled
  20 businesses or bank accounts in the United States wired Fraud Proceeds from the
  21 U.S.-based Fraudulent Fuel Tax Credit Scheme to Enterprise-controlled businesses
  22 or bank accounts in Turkey or Luxembourg, after which some, or all, of these funds
  23 would be indirectly returned to another Enterprise-controlled U.S.-based business
  24 or bank account. This was done to conceal the source, ownership and control of the
  25 funds, as well as to obfuscate the laundering trail. Several examples highlight this
  26 conduct:
  27               a.    On September 9, 2013, Defendant WASHAKIE, at the direction
  28                     of Defendants DERMEN and KINGSTON, and with the

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   1                     assistance of Defendant ISAIAH KINSGTON, sent separate
   2                     wire transfers involving Fraud Proceeds of $5 million and $4
   3                     million to Co-conspirator KOMAK. Over the course of the next
   4                     10 days, Co-conspirator KOMAK, at the direction of Defendant
   5                     KORKMAZ, sent three separate wire transfers to Co-conspirator
   6                     SPEEDY LION of $4,999,964, $1,999,964, and $1,999,964,
   7                     thereby returning the entirety of the $9 million (with the
   8                     exception of the wire fee transaction) to the RICO Enterprise
   9                     within the United States. Supra, ¶ 405.
  10               b.    In May 2015, Defendant WASHAKIE, at the direction of
  11                     Defendants DERMEN and KINGSTON, and with the assistance
  12                     of Defendant ISAIAH KINGSTON, sent separate wire transfers
  13                     of $35 million and $21million in Fraud Proceeds to Co-
  14                     conspirator ISANNE. Slightly more than a month later, Co-
  15                     conspirator ISANNE, at the direction of Defendant KORKMAZ,
  16                     wired $15 million in Fraud Proceeds to Defendant SBK USA.
  17                     Supra, ¶ 405.
  18        830. Additionally, Defendants KORKMAZ, DERMEN, KINGSTON, and
  19 ISAIAH KINGSTON further agreed to deposit approximately one-third of the
  20 Fraud Proceeds -- over $133 million – in Turkey, where this amount of the Fraud
  21 Proceeds would be controlled by Defendant KORKMAZ for the benefit of the
  22 RICO Enterprise and its members. Supra, ¶ 3, 441-45.
  23        831. The RICO Enterprise made this investment in Turkey because, in
  24 addition to being the country where Defendant KORKMAZ resided, Defendant
  25 DERMEN frequently visited, and Defendant KINGSTON had fledgling business
  26 interests, Turkey at the time was not granting most extradition requests with the
  27 United States, thereby making it an attractive place to flee from U.S. law
  28 enforcement, as Defendant DERMEN had done once before. Supra, ¶ 450.

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   1        832. Masquerading as legitimate investments, Defendants KORKMAZ,
   2 DERMEN, KINGSTON and ISAIAH KINGSTON, through Defendants
   3 WASHAKIE and SBK USA and Co-conspirators SPEEDY LION, NOIL
   4 ENERGY, GT ENERGY, and UNITED FUEL SUPPLY, directed tens of millions
   5 of dollars of Fraud Proceeds from the United States to Turkey to fund businesses
   6 created or acquired by the enterprise, including Defendants SBK TURKEY,
   7 BUGARAJ, AND MEGA VARLIK, and Co-conspirators BUKOMBIM, ISANNE,
   8 BIO FARMA, BLANE, STONE, and KOMAK. Again, several examples highlight
   9 the implementation of this agreement:
  10              a.    On November 13, 2013, Defendant WASHAKIE, at the
  11                    direction of Defendants KORKMAZ, DERMEN, and
  12                    KINGSTON, funded Defendant SBK TURKEY through a $10
  13                    million wire transfer of Fraud Proceeds. In 2015 and 2016,
  14                    Defendant SBK TURKEY received at least seven additional
  15                    wire transfers of Fraud Proceeds sent by RICO Defendant SBK
  16                    USA and Co-conspirator NOIL ENERGY, at the direction of
  17                    Defendants KORKMAZ and DERMEN, totaling in excess of
  18                    $80 million. Supra, ¶ 405.
  19              b.    On March 12, 2014, Defendant ISAIAH KINGSTON, at the
  20                    direction of Defendants KORKMAZ, DERMEN, and
  21                    KINGSTON, and acting through Defendant WASHAKIE, wired
  22                    $10 million in Fraud Proceeds to a bank account opened by
  23                    Defendant KINGSTON at Garanti Bank in Turkey
  24                    (“KINGSTON Garanti account”). In June 2015, defendant
  25                    KINGSTON, at the direction of Defendants KORKMAZ and
  26                    DERMEN, funded Defendant MEGA VARLIK with a $10
  27                    million investment of Fraud Proceeds from Defendant
  28                    KINGSTON’s Garanti Account. Supra, ¶ 103, 405,

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   1               c.    From February to August 2018, Defendant KINGSTON, acting
   2                     at the direction of Defendants KORKMAZ and DERMEN,
   3                     made ten wire transfers totaling $6 million in Fraud Proceeds:
   4                     two of which were sent from Defendant WASHAKIE to
   5                     Defendant KINGSTON’s Garanti account, which Defendant
   6                     KORKMAZ then controlled, and eight of which were sent by
   7                     Co-conspirator UNITED FUEL SUPPLY to Defendant
   8                     KINGSTON’S Garanti account (two wire transfers), and to Co-
   9                     conspirators STONE (five wire transfers) and BLANE (one
  10                     transfer). Supra, ¶ 405. At the time of these transfers, Defendant
  11                     KORKMAZ controlled these accounts on behalf of the
  12                     Enterprise and was fully engaged in its ongoing efforts to extract
  13                     large-scale payments and valuable property from Dr. Ayasli
  14                     through sham litigation or extortionate demands.
  15        833. Once successfully laundered into Turkey, these funds were under the
  16 control of Defendant KORKMAZ, who would utilize the Fraud Proceeds as a secret
  17 war chest to further the RICO Enterprise’s financial interests. Defendant
  18 KORKMAZ, with the assistance of RICO Defendants OZKARAMAN and AKOL
  19 and Co-conspirators including YILMAZ and ZOUBKOVA, would conduct
  20 additional “layering” to further “clean” the laundered funds. This involved moving
  21 the funds between the various enterprise-controlled businesses and bank accounts
  22 where they occasionally would be comingled with other funds or used either to
  23 purchase goods or services that would be utilized in service of the RICO Enterprise,
  24 or to acquire assets through which additional funds could be laundered or exploited
  25 for additional money or property. Again, several examples highlight the conduct:
  26               a.    In 2014-2105, Defendant SBK TURKEY, utilizing Fraud
  27                     Proceeds that it possessed through its participation in the RICO
  28                     Enterprise’s money laundering conspiracies and operating under

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   1                     Defendant KORKMAZ’s direction, provided either initial or
   2                     principal funding to Defendant BUGARAJ, and Co-conspirators
   3                     BUKOMBIN, ISANNE, and BIOFARMA. Supra, ¶ 405-35.
   4               b.    In the spring of 2017, following the Enterprise’s acquisition of
   5                     BoraJet and Aydin Jet, Defendant KORKMAZ, through
   6                     Defendants SBK TURKEY and BUGARAJ, and aided and
   7                     abetted by Defendant AKOL, conducted several dozen
   8                     transactions through which six million dollars in Fraud Proceeds
   9                     flowed into these newly acquired businesses. Supra, ¶ 612.
  10        834. From late 2016 forward, the RICO Enterprise’s efforts to secure Dr.
  11 Ayasli’s business and property have incorporated its money laundering
  12 conspiracies. Beyond further concealing Fraud Proceeds by laundering them
  13 through BoraJet, the RICO Enterprise used laundered funds: (1) to assist in its
  14 acquisition of BoraJet to serve this purpose; and (2) to fund additional racketeering
  15 activity designed to exploit both BoraJet’s existing assets and Dr. Ayasli’s money
  16 and property for the benefit of the Enterprise.
  17        835. Defendants KINGSTON and ISAIAH KINGSTON have pled guilty to
  18 participating in a money laundering conspiracy involving the concealment and
  19 knowing use of the Fraud Proceeds, which included laundering in excess of $100
  20 million through Turkey. Supra, ¶ 441-45.
  21        836. Defendant DERMEN was convicted at trial of being a member of this
  22 conspiracy. Supra, ¶ 447-49.
  23        837. Defendant KORKMAZ stands charged with being a member of this
  24 conspiracy, with the operative indictment expressly noting that laundered funds
  25 were used to acquire BoraJet and Aydin Jet. Supra, ¶ 451, 454-65.
  26
  27
  28

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   1              Predicate Acts Involving Concealment Money Laundering
                          (18 U.S.C. §§ 1956(a)(1)(B)(i), (a)(2)(B)(i))
   2
             838. Given the magnitude of Fraud Proceeds generated through its mail
   3
       fraud scheme, a principal focus of the RICO Enterprise’s multi-tiered money
   4
       laundering operation has been to conceal the location, source, ownership and
   5
       control of these funds. By doing so, the RICO Defendants and their Co-conspirators
   6
       have sought to limit the likelihood of law enforcement seizures or prosecutions,
   7
       while preserving the availability of the funds for future use by the RICO Enterprise.
   8
             839. The RICO Defendants, under the direction of Defendants KORKMAZ,
   9
       DERMEN and KINGSTON, and with the assistance of Defendants ISAIAH
  10
       KINGSTON, AKOL, and OZKARAMAN and Co-conspirators YILMAZ and
  11
       ZOUBKOVA, and operating through Defendants WASHAKIE, SBK TURKEY,
  12
       SBK USA, BUGARAJ, and MEGA VARLIK and Co-conspirators BUKOMBIN,
  13
       NOIL ENERGY, SPEEDY LION, GT ENERGY, UNITED FUEL SUPPLY,
  14
       ISANNE, BIOFARMA, BLANE, STONE and KOMAK, engaged in multiple acts
  15
       of concealment money laundering when they:
  16
                    a.    conducted financial transactions affecting interstate and foreign
  17
                          commerce involving the proceeds of specified unlawful activity,
  18
                          namely, mail fraud, in violation of Title 18, United States Code,
  19
                          Section 1341, knowing that the property involved in the
  20
                          financial transactions represented the proceeds of some form of
  21
                          unlawful activity, and knowing that the transactions were
  22
                          designed in whole or in part to conceal and disguise the nature,
  23
                          location, source, ownership, and control of said proceeds, each
  24
                          act of which violated Title 18, United States Code, Section
  25
                          1956(a)(1)(B)(i);
  26
                    b.    transported, transmitted, and transferred a monetary instrument
  27
                          from a place in the United States to or through a place outside
  28

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   1                      the United States (or vice versa), knowing that the monetary
   2                      instrument or funds represented the proceeds of prior unlawful
   3                      conduct, and knowing that the transmission was designed in
   4                      whole or in part to conceal or disguise the nature, location,
   5                      source, ownership, or control of proceeds of specified unlawful
   6                      conduct, namely mail fraud, in violation of Title 18, United
   7                      States Code, Section 1341, each act of which violated Title 18,
   8                      United States Code, Section 1956(a)(2)(B)(i).
   9         840. Again, the RICO Enterprise’s use of the network of businesses that it
  10 created, acquired or controlled in the United States, Turkey, and Luxembourg was
  11 instrumental to the success of these concealment efforts. In many instances, these
  12 companies, which were Enterprise controlled and which were interconnected
  13 principally through their involvement in the RICO Enterprise’s money laundering
  14 schemes, entered fake business contracts when no actual business relationship
  15 existed, created false business records to support the individual transfer of Fraud
  16 Proceeds, or otherwise took steps to prop up bogus business relationships that
  17 facilitated the concealment of the Fraud Proceeds generated through the U.S.-based
  18 Fraudulent Fuel Tax Credit Scheme.
  19         841. While all of the Enterprise-controlled businesses in the United States,
  20 with the exception of SBK USA, were pre-existing entities under the control of
  21 Defendants DERMEN, KINGSTON and ISAIAH KINGSTON when the money
  22 laundering conspiracies began, the majority of businesses that served as money
  23 laundering hubs in Turkey were created and principally funded by the RICO
  24 Enterprise using Fraud Proceeds, at least in part, to facilitate the RICO Enterprise’s
  25 ongoing money laundering operations, including its concealment efforts. This
  26 includes Defendants SBK TURKEY, BUGARAJ, MEGA VARLIK and Co-
  27 Conspirator BUKOMBIN, each of which initially was funded with illicit Fraud
  28 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme. This funding

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   1 infusion served as the first, frequently of many, acts of concealment money
   2 laundering involving these entities. Supra, ¶ 405-35.
   3        842. From April 2013 to August 2018, Defendants KORKMAZ, DERMEN,
   4 KINGSTON and ISAIAH KINSGTON conducted several dozen monetary
   5 transactions involving more than $360 million in Fraud Proceeds as part of the
   6 RICO Enterprise’s money laundering concealment efforts, approximately $133
   7 million of which remained in Turkey. The majority of these transactions, as
   8 represented in the following chart, involved transnational wire transfers from
   9 Enterprise-controlled businesses or accounts in the United States to Enterprise-
  10 controlled businesses or accounts in Turkey, or vice versa, and were conducted with
  11 the knowledge that the funds transferred involved Fraud Proceeds and that the act
  12 of transfer was intended to help conceal the source, location, ownership and control
  13 of the Fraud Proceeds:
  14      Date                 Payor                  Payee                           Amount

  15      April 8, 2013        WASHAKIE               NOIL ENERGY                     $1,324,670
          April 8, 2013        WASHAKIE               UNITED FUEL SUPPLY              $10,000,000
  16      April 15, 2013       UNITED FUEL SUPPLY     MERRILL LYNCH #4805             $10,000,000
          September 9, 2013    WASHAKIE               KOMAK                           $4,000,000
  17      September 9, 2013    WASHAKIE               KOMAK                           $5,000,000
          September 12, 2013   KOMAK                  SPEEDY LION                     $4,999,964
  18      September 17, 2013   KOMAK                  SPEEDY LION                     $1,999,964
          September 19, 2013   KOMAK                  SPEEDY LION                     $1,999,964
  19      November 13, 2013    WASHAKIE               SBK TURKEY                      $10,000,000
          December 31, 2013    WASHAKIE               KOMAK                           $13,000,000
  20      January 17, 2014     WASHAKIE               SBK USA                         $10,000,000
          January 21, 2014     KOMAK                  SPEEDY LION                     $9,000,000
  21      March 5, 2014        WASHAKIE               DERMEN (VAT – MV mansion)       $483,000
          March 12, 2014       WASHAKIE               KINGSTON (MV initial funding)   $10,000,000
  22      March 24, 2014       WASHAKIE               BLANE                           $4,055,700
          March 24, 2014       WASHAKIE               BLANE                           $5,000,000
  23      May 9, 2014          WASHAKIE               BLANE                           $2,000,000
          August 21, 2014      SBK USA                WASHAKIE                        $5,000,000
  24      March 20, 2015       WASHAKIE               SBK USA                         $8,550,000
          March 26, 2015       SBK USA                Huntington Beach, CA property   $3,520,085
  25      April 28, 2015       WASHAKIE               Garanti Bank (Turkey)           $15,000,000
          May 19, 2015         WASHAKIE               ISANNE (Garanti)                $35,000,000
  26      May 27, 2015         WASHAKIE               ISANNE (Garanti)                $21,300,000
          June 3, 2015         WASHAKIE               SBK USA                         $10,000,000
  27      June 11, 2015        WASHAKIE               Garanti Bank (Turkey)           $200,000
          June 22, 2015        WASHAKIE               SBK USA                         $5,000,000
  28      June 22, 2015        BLANE/YILMAZ           SPEEDY LION                     $6,999,950


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   1       Date                 Payor                  Payee                         Amount

   2       June 23, 2015        BLANE/YILMAZ           SPEEDY LION                   $12,999,950
           July 3, 2015         ISANNE (Garanti)       SBK USA                       $15,000,000
   3       July 6, 2015         WASHAKIE               SBK USA                       $2,000,000
           September 23, 2015   KORKMAZ (Garanti)      KORKMAZ/DERMEN JA-BOA         $6,000,000
   4       October 16, 2015     KORKMAZ (Garanti)      KORKMAZ/DERMEN JA-BOA         $4,000,000
           October 27, 2015     NOIL ENERGY            SBKTURKEY/KOMAK/YILMAZ        $6,999,950
   5       October 28, 2015     NOIL ENERGY            SBKTURKEY/KOMAK/YILMAZ        $12,999,950
           November 3, 2015     BLANE                  GT ENERGY                     $19,999,950
   6       December 10, 2015    SBK USA                WASHAKIE                      $2,100,000
           December 14, 2015    WASHAKIE               KINGSTON (Garanti)            $2,100,000
   7       December 28, 2015    WASHAKIE               KINGSTON (Garanti)            $6,900,000
           December 28, 2015    SBK USA                SBK TURKEY                    $14,000,000
   8       February 17, 2016    NOIL ENERGY            SBK TURKEY                    $3,885,135
           March 22, 2016       NOIL ENERGY            KOMAK                         $3,810,000
   9       March 25, 2016       SBK USA                SBK TURKEY                    $458,000
           September 28, 2016   NOIL ENERGY            SBK TURKEY                    $11,000,000
  10       October 21, 2016     SBK USA                SBK TURKEY                    $6,000,000
           November 8, 2016     SBK USA                SBK TURKEY                    $15,000,000
  11       November 8, 2016     SBK USA                SBK TURKEY                    $265,000
           February 12, 2018    WASHAKIE               KINGSTON (Garanti)            $1,000,000
  12       February 13, 2018    WASHAKIE               KINGSTON (Garanti)            $1,000,000
           May 7, 2018          UNITED FUEL SUPPLY     KINGSTON (Garanti)            $350,000
  13       May 8, 2018          UNITED FUEL SUPPLY     KINGSTON (Garanti)            $400,000
           June 21, 2018        UNITED FUEL SUPPLY     STONE                         $250,000
  14       June 28, 2018        UNITED FUEL SUPPLY     STONE                         $100,000
           July 18, 2018        UNITED FUEL SUPPLY     STONE                         $1,500,000
  15       August 6, 2018       UNITED FUEL SUPPLY     STONE                         $100,000
           August 8, 2018       UNITED FUEL SUPPLY     STONE                         $100,000
  16       August 15, 2018      UNITED FUEL SUPPLY     BLANE                         $1,200,000

  17         843. Each transfer constitutes a separate act of concealment money
  18 laundering, and therefore, a separate racketeering act, for the involved RICO
  19 Defendants.
  20       Concealment Money Laundering Targeting Dr. Ayasli’s Business And
                                     Property
  21
             844. Having amassed within Turkey approximately $133 million in Fraud
  22
       Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme, Defendants
  23
       KORKMAZ, DERMEN and KINGSTON sought to further conceal these funds
  24
       through additional levels of layering, which included acquiring interests in
  25
       businesses and property – to include Dr. Ayasli’s business, BoraJet, and his
  26
       properties, which included his XRS executive jet, and his many prized commercial
  27
       and residential properties in Turkey.
  28

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   1                             Scheme to Acquire BoraJet
   2        845. In the Spring of 2016, Defendant DERMEN, while at Defendant SBK
   3 USA’s Beverly Hills offices, announced to associates the RICO Enterprise’s intent
   4 to acquire the airline BoraJet and its plan to use approximately $200 million in U.S.
   5 currency – i.e., the Fraud Proceeds from the U.S.-based Fraudulent Fuel Tax Credit
   6 Scheme that were then being laundered to, and through, Turkey -- to do so. Supra, ¶
   7 529-31.
   8        846. BoraJet was a particularly attractive property because it was an
   9 emerging airline, with a strong, but comparatively reasonable valuation, through
  10 which large amounts of money could be laundered without notice, and was backed
  11 by an extremely wealthy American who the RICO Enterprise could further exploit
  12 to secure additional funds and property.
  13        847. To acquire BoraJet, Defendants KORKMAZ, DERMEN, and
  14 KINGSTON implemented a classic organized crime scheme centered on devaluing
  15 and destabilizing the targeted business so that it could be acquired by the RICO
  16 Enterprise at a greatly reduced cost.
  17        848. This scheme was greatly aided by the July 2016 failed coup attempt in
  18 Turkey purportedly carried out by deposed cleric Fetullah Gulen and his
  19 organization, the Fetulluchi Teror Orgutu (“FETO”). From that point forward, any
  20 person or entity associated with Gulen or FETO effectively was deemed to be an
  21 enemy of the Turkish state, subject to prosecution and public ostracism. Supra, ¶
  22 532-33.
  23        849. Capitalizing on this development, Defendant KORKMAZ, on behalf
  24 of Defendants DERMEN and KINGSTON, coordinated a sophisticated
  25 disinformation campaign that used laundered Fraud Proceeds to generate false
  26 stories in prominent publications with globally accessed media platforms which
  27 were designed to devalue BoraJet by claiming that Dr. Ayasli was affiliated with
  28 FETO, created the ByLock communication device utilized by the plotters of the

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   1 attempted coup, and utilized BoraJet planes and facilities to assist in the attempted
   2 coup. (“Enterprise-Directed Disinformation Campaign”) Supra, ¶ 534-53.
   3         850. The unyielding series of unfounded media articles planted by
   4 Defendant KORKMAZ as part of this campaign operated to devastating effect, as
   5 they caused Turkish Airways to cancel major codeshare and wet lease contracts
   6 with BoraJet, supra, ¶ 572-74, banks to extinguish lines of credit and to refuse new
   7 loans, supra ¶ 576-79, BoraJet to suffer reduced ridership, supra, ¶ 569, and Dr.
   8 Ayasli to expend over $27,3000,000 from his U.S. financial accounts over a three
   9 month period to maintain the airline as an operating business. Supra, ¶ 582-83. The
  10 value of BoraJet plunged with no meaningful hope of recovery as long as Dr.
  11 Ayasli retained ownership and remained falsely tied to FETO.
  12         851. Through a series of misrepresentations made in November and
  13 December 2016, Defendant KORKMAZ, operating through Defendants SBK
  14 TURKEY and BUGARAJ, and aided and abetted by of Defendants
  15 OZKARAMAN and AKOL, then falsely presented himself as an experienced
  16 purchaser of distressed assets with high-ranking contacts in the Ministry of
  17 Transportation who could take over BoraJet, infuse it with approximately $50
  18 million in new working capital, reverse its slide by securing it access to the new
  19 state-of-the-art airport within Istanbul, and then quickly “flip” BoraJet in a sale to a
  20 major airline or investor, at which time Dr. Ayasli would receive 25 % of the net
  21 profit from the sale. Supra, ¶ 585-97.
  22         852. Due to the economic duress imposed through the Enterprise-directed
  23 Disinformation Campaign, Dr. Ayasli was compelled to enter the December 2016
  24 Agreement transferring ownership of BoraJet to Defendant BUGARAJ
  25         853. On December 29, 2016, Defendant KORKMAZ, operating through
  26 Defendants SBK TURKEY and BUGARAJ, acquired both BoraJet and the XRS
  27 executive jet on behalf of the RICO Enterprise, as Defendant DERMEN had
  28 foretold just months before. Supra, ¶ 599.

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   1               Laundering of Fraud Proceeds Through BoraJet and Aydin Jet
   2           854. The RICO Enterprise, through Defendant BUGARAJ, never attempted
   3 to stabilize or rebuild BoraJet, as Defendant KORKMAZ represented it would do
   4 during the negotiations.
   5           855. To the contrary, Defendant KORKMAZ, on behalf of Defendants
   6 DERMEN, KINGSTON, and ISAIAH KINGSTON, aided and abetted by
   7 Defendants OZKARAMAN and AKOL, used BoraJet as yet another vehicle
   8 through which to launder the Enterprise’s massive cache of Fraud Proceeds while
   9 the RICO Enterprise simultaneously acted to loot BoraJet’s remaining assets.
  10 Supra, ¶ 612.
  11           856. From January 2017 through June 2017, Defendant KORKMAZ,
  12 through Defendants SBK TURKEY38 and BUGARAJ, on behalf of Defendants
  13 DERMEN and KINGSTON, and aided by Defendants OZKARAMAN and
  14 AKOL39, knowingly laundered approximately $6,411,127 and 63,744,145 TL
  15 through BoraJet and Aydin Jet in thirty monetary transactions designed to further
  16 conceal the source, ownership and control of these assets:
  17   Date:         From:         To:                Amount:        Description:
       1/03/2017     Bugaraj       BoraJet            750,000 USD    Cash transfer to the Aviation account
  18   1/10/2017     Bugaraj       BoraJet            975,000 USD    Cash transfer to the Aviation account
       1/13/2017     Bugaraj       BoraJet            700,000 USD    Cash transfer to the Aviation account
  19   1/13/2017     Bugaraj       BoraJet            100,000 USD    Cash transfer to the Aviation account
       1/25/2017     Bugaraj       BoraJet            500,000 USD    Cash transfer to the Aviation account
  20   2/01/2017     Bugaraj       Aydin Jet          175,611 USD    Cash transfer to the Aviation account
       2/22/2017     SBK Turkey    GE Commercial      500,000 USD    Direct transfer from "Holding" to
  21                               Aviation Funding                  GECAS
       2/23/2017     Bugaraj       BoraJet            42,916 USD     Cash transfer to the Aviation account
  22   2/27/2017     Bugaraj       BoraJet            124,000 USD    Cash transfer to the Aviation account
       3/13/2017     Bugaraj       BoraJet            5,700,000 TL   Checks paid to Celebi Aviation
  23   3/14/2017     SBK Turkey    GE Commercial      500,000 USD    Direct transfer from "Holding" to
                                   Aviation Funding                  GECAS
  24   3/28/2017     Bugaraj       BoraJet            289,000 USD    Cash transfer to the Aviation account
       3/31/2017     Bugaraj       BoraJet            184,000 USD    Cash transfer to the Aviation account
  25   4/3/2017      Bugaraj       BoraJet            13,000 USD     Cash transfer to the Aviation account

  26     38
          In October and November of 2016, Defendant SBK USA laundered over $21 million into
  27 Turkey through a series of financial transactions with Defendant SBK TURKEY.
         39
  28          Defendant AKOL remained BoraJet’s General Manager through early February 2017.

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   1   Date:       From:        To:              Amount:           Description:
       4/3/2017    Bugaraj      BoraJet          55,000 USD        Cash transfer to the Aviation account
   2   4/5/2017    Bugaraj      BoraJet          248,200 USD       Cash transfer to the Aviation account
       4/12/2017   Bugaraj      BoraJet          107,000 USD       Cash transfer to the Aviation account
   3   4/21/2017   Bugaraj      BoraJet          132,000 USD       Cash transfer to the Aviation account
       5/4/2017    Bugaraj      BoraJet          370,000 TL        Checks paid to Aviation Akdeniz Petur
   4   5/8/2017    Bugaraj      BoraJet          11,500 USD        Cash transfer to the Aviation account
       5/10/2017   Bugaraj      BoraJet          24,000 USD        Cash transfer to the Aviation account
   5   5/12/2017   Bugaraj      BoraJet          8,600 USD         Cash transfer to the Aviation account
       5/15/2017   Bugaraj      BoraJet          18,500 USD        Cash transfer to the Aviation account
   6   5/16/2017   Bugaraj      BoraJet          74,145 TL         Checks paid to Garanti Filo
       5/17/2017   Bugaraj      BoraJet          18,000 USD        Cash transfer to the Aviation account
   7   5/26/2017   Bugaraj      BoraJet          14,800 USD        Cash transfer to the Aviation account
       6/2/2017    Bugaraj      BoraJet          70,000 USD        Cash transfer to the Aviation account
   8   6/5/2017    SBK Turkey   Aydin Jet        63,000,000 TL     Checks paid from SBK to Aydin Jet
       6/7/2017    Bugaraj      BoraJet          300,000 TL        Checks paid to Bilin Gumruk
   9   6/28/2017   Bugaraj      BoraJet          350,000 USD       Cash transfer to the Aviation account
                                Total            $6,411,127 USD
  10                                             + 63,744,145 TL

  11         857. Each transaction constitutes a separate concealment laundering
  12 violation and thus, a separate racketeering act for each of the involved parties.
  13         858. By using BoraJet as a money laundering vessel and having failed to
  14 make the promised and necessary capital investment to maintain the airline as a
  15 going concern, the RICO Enterprise, through Defendants KORKMAZ and
  16 BUGARAJ, ensured BoraJet’s demise, scuttling the airline in April 2017. By doing
  17 so, the Enterprise deprived Dr. Ayasli of his contracted interest in the 25% net
  18 profit to which he would have been entitled post sale. Dr. Ayasli’s investments in
  19 BoraJet, totaling approximately a quarter of a billion dollars, were completely lost.
  20
                   Predicate Acts Involving Promotional Money Laundering
  21                        (18 U.S.C. §§ 1956(a)(1)(A)(i), (a)(2)(A))
  22         859. The RICO Enterprise, under the direction of Defendants KORKMAZ,
  23 DERMEN and KINGSTON, assisted by Defendants ISAIAH KINGSTON, AKOL,
  24 OZKARAMAN and others, and operating through Defendants WASHAKIE, SBK
  25 TURKEY, SBK USA, BUGARAJ, AND MEGA VARLIK and Co-conspirators
  26 YILMAZ, ZOUBKOVA, BUKOMBIN, NOIL ENERGY, SPEEDY LION, GT
  27 ENERGY, UNITED FUEL SUPPLY, ISANNE, BIOFARMA, BLANE and
  28 KOMAK, also conducted repeated acts of promotional money laundering by:

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   1             a.    conducting financial transactions affecting interstate and foreign
   2                   commerce involving the proceeds of specified unlawful
   3                   activities, namely, mail fraud, in violation of Title 18, United
   4                   States Code, Section 1341, with the intent to promote the
   5                   carrying on of additional specified unlawful activity, namely,
   6                   mail fraud, in violation of Title 18, United States Code, Section
   7                   1341, wire fraud, in violation of Title 18, United States Code,
   8                   Section 1343, obstruction of justice, in violation of Title 18,
   9                   United States Code, Sections 1510-13, Hobbs Act Extortion, in
  10                   violation of Title 18, United States Code, Section 1951, Travel
  11                   Act offenses, in violation of Title 18, United States Code,
  12                   Section 1952, concealment money laundering, in violation of
  13                   Title 18, United States Code, Section 1956(a)(1)(B)(i),
  14                   (a)(2)(B)(i); the use of criminally derived proceeds, in violation
  15                   of Title 18, United States Code, Section 1957, and bribery, in
  16                   violation of Title 18, United States Code, Section 201, each act
  17                   of which constituted a violation of Title 18, United States Code,
  18                   Section 1956(a)(1)(A)(i); and
  19             b.    transporting, transmitting, and transferring a monetary
  20                   instrument or funds from a place in the United States to or
  21                   through a place outside the United States (or vice versa),
  22                   knowing that the monetary instrument or funds represented the
  23                   proceeds of prior unlawful conduct, with the intent to promote
  24                   the carrying on additional specified unlawful activity, including
  25                   mail fraud, in violation of Title 18, United States Code, Section
  26                   1341, wire fraud, in violation of Title 18, United States Code,
  27                   Section 1343, obstruction of justice, in violation of Title 18,
  28                   United States Code, Sections 1510-13, Hobbs Act Extortion, in

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   1                     violation of Title 18, United States Code, Section 1951, Travel
   2                     Act offenses, in violation of Title 18, United States Code,
   3                     Section 1952, concealment money laundering, in violation of
   4                     Title 18, United States Code, Section 1956(a)(1)(B)(i),
   5                     (a)(2)(B)(i); the use of criminally derived proceeds, in violation
   6                     of Title 18, United States Code, Section 1957, and bribery, in
   7                     violation of Title 18, United States Code, Section 201, each act
   8                     of which violated Title 18, United States Code, Section
   9                     1956(a)(2)(A).
  10        860. Defendants DERMEN and KINGSTON created, and Defendant
  11 KORKMAZ helped grow and expand, a RICO Enterprise that laundered its illicit
  12 Fraud Proceeds not only to conceal the source, ownership, and control of these
  13 funds but also to free up the funds such that they would serve as the life-blood of
  14 the Enterprise and be used to further its future criminal conduct.
  15        861. With the limited exception of select transactions in which Fraud
  16 Proceeds were laundered to allow for the purchase of purely personal goods, such
  17 as homes, the financial transactions that comprise concealment money laundering,
  18 supra 405, also constitute individual violations of promotional money laundering,
  19 as the laundered Fraud Proceeds were transferred with the intent of promoting
  20 future criminal conduct. In fact, the laundered Fraud Proceeds served as the
  21 principal revenue source relied upon by Defendants KORKMAZ, DERMEN and
  22 KINGSTON to fund the ongoing and forward-facing operations of the RICO
  23 Enterprise. By way of example, the RICO Enterprise’s laundered funds were used
  24 to build a large physical infrastructure at WASHAKIE that provided a veneer of
  25 legitimacy to the RICO Enterprise’s mail fraud scheme, to create and fund its
  26 network of money laundering hubs in the U.S. and Turkey, to support repeated
  27 Travel Act violations, and to pay for Defendant KINGSTON and ISAIAH
  28

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   1 KINGSTON’S attempted bribes of law enforcement and judicial officials, among
   2 other conduct.
   3
               Using Laundered Funds to Exploit BoraJet’s Assets for the
   4      Enterprise’s Financial Benefit Through Further Racketeering Conduct
   5         862. The Enterprise’s promotional money laundering operation extended to
   6 its actions against, and involving, Dr. Ayasli.
   7         863. Defendants KORKMAZ, DERMEN, and KINGSTON, through
   8 Defendant SBK TURKEY, created Defendant BUGARAJ in August 2015 as a shell
   9 company that would hold its acquisition of BoraJet and funded it with Fraud
  10 Proceeds from the U.S.-based Fraudulent Fuel Tax Credit Scheme. Supra, ¶ 97-
  11 100.
  12         864.   Defendant BUGARAJ’s funding through Defendant SBK TURKEY
  13 was used to support BoraJet’s operations during the approximately four month
  14 period in early 2017 that it took the Enterprise to exploit BoraJet’s assets before
  15 scuttling the airline – a period during which BoraJet provided cover to the
  16 Enterprise’s concealment money laundering conspiracy. Supra, ¶ 281, 419-20, 612.
  17         865. Further, during that time, Defendants KORKMAZ, through Defendant
  18 BUGARAJ, utilized Fraud Proceeds to extort and defraud Dr. Ayasli into
  19 extinguishing BoraJet debt which either was not yet due or for which he should not
  20 have been responsible.
  21         866. On February 28, 2017, Defendant KORKMAZ, through Defendant
  22 BUGARAJ, influenced Odea Bank into requiring a 24 hour repayment of a
  23 $5,300,000 loan that was not in default but was held principally by BoraJet, and
  24 personally guaranteed by Dr. Ayasli. Supra, ¶ 620, 624-25.
  25         867. When liquidity limitations precluded Dr. Ayasli from meeting this
  26 accelerated payment demand, Defendant KORKMAZ, through Defendant MEGA
  27 VARLIK, and on behalf of Defendants DERMEN and KINGSTON, acquired this
  28

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   1 debt obligation through a self-claimed payment to Odea Bank of approximately 5.7
   2 million dollars in Fraud Proceeds. Supra, ¶ 626-27.
   3        868. Defendant MEGA VARLIK, in turn, acquired a court order requiring
   4 Dr. Ayasli, not BoraJet (which was owned by Defendant BUGARAJ), to pay off
   5 this debt obligation, and as part of the ensuing enforcement action, placed liens on
   6 all of Dr. Ayasli’s commercial and residential property within Turkey, valued at
   7 approximately $150 million. Supra, ¶ 629-30.
   8        869. Defendant KORKMAZ, through Defendant MEGA VARLIK, and on
   9 behalf of Defendants DERMEN, KINGSTON, and BUGARAJ, required Dr. Ayasli
  10 to pay $5,800,000 from his U.S.-based financial accounts to extinguish this
  11 obligation and release the liens on his property without ever disclosing that
  12 Defendant MEGA VARLIK was an Enterprise-controlled business. The practical
  13 effect was to relieve Defendant BUGARAJ, and thereby the RICO Enterprise, of
  14 this debt obligation and to have Dr. Ayasli pay an additional $5,800,000 to the
  15 RICO Enterprise through a payment made to an Enterprise created, funded, and
  16 controlled business, Defendant MEGA VARLIK (“BUGARAJ/MEGA VARLIK
  17 Loan Acceleration Scheme”). Supra, ¶ 631-32.
  18        870. Defendant KORKMAZ, through Defendant BUGARAJ, sought to
  19 accelerate all other loans personally guaranteed by Dr. Ayasli despite any lack of
  20 default. Having witnessed not just the acceleration of the Odea Bank loan but the
  21 threat to his extensive property holdings that accompanied the assignment of this
  22 debt obligation, Dr. Ayasli was forced to quickly acquire a new, $20 million loan,
  23 that would allow him to pay off these accelerated debt obligations, and in
  24 connection with doing so, was further required to by Garanti Bank to pay off all of
  25 BoraJet’s leasing debts -- 487,607 liras (approximately $123,000 USD) – in
  26 advance of receipt of this loan. Supra, ¶ 633-37.
  27        871. Similarly, when Defendant BUGARAJ intentionally defaulted on its
  28 trade obligations, Dr. Ayasli, although not legally responsible for this debt under

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   1 the December 2016 Agreement with Bugaraj, nevertheless was forced to pay
   2 approximately $3,200,000 from his U.S.-based funds to pay off this obligation.
   3 Supra, ¶ 638-41.
   4         872. From 2017 through the present, Defendant KORKMAZ, DERMEN,
   5 and KINGSTON, principally through Defendant BUGARAJ, further used
   6 laundered funds to support sham litigation seeking to extort and defraud Dr. Ayasli
   7 of additional money and allow for the further liquidation of Dr. Ayasli’s real estate
   8 interests. This includes civil fraud suits filed on March 13, 2017 and November 21,
   9 2017 seeking tens of millions of dollars in damages and through which Defendant
  10 BUGARAJ has secured liens on approximately $150 million of Dr. Ayasli’s
  11 commercial and real property in Turkey. Supra, ¶ 645-55, 701-05.
  12         873. As is true with all of Defendant BUGARAJ’s operations, its pursuit of
  13 these civil suits against Dr. Ayasli have been funded with Fraud Proceeds. Supra, ¶
  14 646.
  15         874.   To increase Defendant BUGARAJ’s leverage in these civil suits,
  16 Defendant KORKMAZ weaponized criminal charges and penalties by personally
  17 filing a criminal complaint that reiterated the FETO allegations that were at the core
  18 of the Enterprise-Directed Disinformation Campaign, despite knowing these
  19 allegations to be false, and through Defendant BUGARAJ, filed a separate criminal
  20 case alleging aggravated fraud by Dr. Ayasli. Supra, ¶ 656-65.
  21         875. With the benefit of significantly increased leverage artificially created
  22 by the existence of dual ongoing criminal investigations against Dr. Ayasli,
  23 Defendant KORKMAZ, through Defendant BUGARAJ, aggressively pursued the
  24 civil litigation utilizing Fraud Proceeds.
  25         876. At a February 2019 hearing in which Dr. Ayasli was neither present
  26 nor represented by counsel, Defendant BUGARAJ succeeded in securing a $90
  27 million judgment against Dr. Ayasli. Supra, ¶ 756-60.
  28

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   1           877. Defendant KORKMAZ, through Defendant BUGARAJ, and on behalf
   2 of Defendants DERMEN and KINGSTON, further has used this judgment to
   3 achieve the Enterprise’s goal of securing liens on all of Dr. Ayasli’s remaining
   4 commercial and residential real estate in Turkey. Supra, ¶ 761.
   5           878. For the past several years, Defendant KORKMAZ, acting through
   6 Defendant BUGARAJ, and on behalf of Defendants DERMEN and KINGSTON,
   7 while using laundered funds, has made multiple efforts to liquidate Dr. Ayasli’s
   8 properties for the benefit of the Enterprise. Supra, ¶ 765-74.
   9           879. In the summer of 2020, Defendant KORKMAZ, operating through
  10 Defendant BUGARAJ, and on behalf of the Enterprise, acted to liquidate Dr.
  11 Ayasli’s Nuruosmaniye property by triggering an auction for that property. Supra, ¶
  12 769-70.
  13           880. On July 27, 2020, Defendant KORKMAZ, through Defendant
  14 BUGARAJ, and on behalf of Defendants DERMEN and KINGSTON, purchased
  15 this property with approximately $14,530,000 in Fraud Proceeds. Supra, ¶ 770.
  16           881. In the spring of 2021, Defendant KORKMAZ, through defendant
  17 BUGARAJ, and on behalf of Defendants DERMEN and KINGTON, triggered an
  18 auction of another property: a family residence in Ortakoy, Turkey. As was done
  19 with the Dr. Ayasli’s Nuruosmaniye property, Defendant KORKMAZ, through
  20 defendant BUGARAJ, and on behalf of Defendants DERMEN and KINGTON,
  21 purchased this residence as well as personal effects and artwork, for approximately
  22 $14,160,000 in Fraud Proceeds on May 21, 2021.40 Supra, ¶ 772-13.
  23           882. In July 2022, Defendant KORKMAZ, through Defendant BUGARAJ,
  24 and on behalf of Defendants DERMEN and KINGSTON, triggered yet another
  25 auction, this time of six of Dr. Ayasli’s properties. At the August 23, 2022,
  26 Defendant BUGARAJ did not purchase the properties, instead electing to collect
  27
         40
  28          This purchase later was unwound when a court found it to be a fraudulent transfer.

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   1 the amount owed under the liens. Dr. Ayasli, through his spouse, effectively
   2 repurchased four of his properties, and spent approximately $2,760,000 in U.S.-
   3 based funds to do so. The remaining two properties were purchased by Garanti
   4 Bank. Supra, ¶ 774.
   5         883. In sum, the RICO Enterprise, through its promotional money
   6 laundering activities, successfully took over BoraJet and Aydin Jet at great loss to
   7 Dr. Ayasli, forced Dr. Ayasli to pay off more than $28 million in BoraJet debt that
   8 was not due or not his obligation to repay, secured a fraudulent $90 million
   9 judgment through sham litigation, attached liens to all of Dr. Ayasli’s commercial
  10 and residential property in Turkey, and has begun the process of liquidating these
  11 properties.
  12
          Predicate Acts Involving Knowing Use of Criminally Derived Property
  13                      (18 U.S.C. §§ 1957(a)(1), (d)(i), (d)(2))
  14         884. The RICO Defendants, including Defendants KORKMAZ, DERMEN,
  15 and KINGSTON, regularly conducted or had others conduct, including but not
  16 limited to Defendant ISAIAH KINGSTON, transactions of more than $10,000 that
  17 they knew involved criminally derived proceeds, namely, Fraud Proceeds, through
  18 a financial institution operating in interstate and foreign commerce, in violation of
  19 Title 18, United States Code, Section 1957(a), (d)(1).
  20         885. As addressed throughout this Complaint, Defendants KORKMAZ,
  21 DERMEN, KINGSTON, and ISAIAH KINGSTON each well knew that the RICO
  22 Enterprise was funded through hundreds of millions of dollars in illicit Fraud
  23 Proceeds from its U.S.-based Fraudulent Fuel Tax Credit Scheme and knowingly
  24 made dozens of transactions through accounts that originated or ended at U.S.
  25 financial institutions in which more than $10,000 in Fraud Proceeds were sent in
  26 interstate, and frequently foreign, commerce by Defendant WASHAKIE and SBK
  27 USA, as well as Co-conspirators NOIL OIL, SPEEDY LION, GT ENERGY and
  28 UNITED FUEL SUPPLY. Supra, ¶ 405.

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   1        886. This includes the transactions used to fund the Turkish-based
   2 companies that served as hubs within the RICO Enterprise’s money laundering
   3 network. Supra, ¶ 406-35.
   4        887. For example, Defendants KORKMAZ, DERMEN and KINGSTON,
   5 through Defendants WASHAKIE and SBK USA, knowingly conducted the
   6 following financial transactions in which fraud proceeds were wired from the U.S.
   7 bank accounts of Defendants WASHAKIE and SBK USA and Co-conspirator
   8 NOIL ENERGY to accounts held by Defendant SBK TURKEY for the purpose of
   9 funding its operations: $10 million sent from Defendant WASHAKIE’s U.S. bank
  10 account on November 13, 2103, $6,999,950 and $12,999,950 sent from Co-
  11 conspirator NOIL ENERGY’s U.S. bank account on October 27, 2015 and October
  12 28, 2015, $14 million sent from Defendant SBK USA’s U.S. bank account on
  13 December 28, 2015, $3,885,135 sent from Co-conspirator NOIL ENERGY’s U.S.
  14 bank account on February 17, 2016, $458,000 sent from Defendant SBK USA’s
  15 U.S. bank account on March 25, 2016, $11 million sent from Co-conspirator NOIL
  16 ENERGY’s U.S. bank account on September 28, 2016, and $6 million, $15 million
  17 and $265,000 sent from Defendant SBK USA’s U.S. bank account on October 21,
  18 2016, and November 8, 2016 (2 deposits). Supra, ¶ 405.
  19        888. Defendant BUGARAJ, which is a subsidiary of Defendant SBK
  20 TURKEY, also is funded through these Fraud Proceeds – funding that has directly
  21 supported its acquisition of BoraJet, its laundering of proceeds through BoraJet, its
  22 looting of BoraJet’s assets, and the subsequent sham litigation that has been
  23 ongoing since 2017.
  24        889. Similarly, on March 12, 2014, Defendant KINGSTON, at the direction
  25 of Defendants KORKMAZ and DERMEN, had Defendant ISAIAH KINGSTON
  26 conduct a financial transaction in which $10 million in Fraud Proceeds were wired
  27 from the U.S. bank account of Defendant WASHAKIE to Defendant
  28 KINGSTON’S Garanti account in Turkey for later use in funding Defendant

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   1 MEGA VARLIK, a bank that would be used to further the Enterprise’s money
   2 laundering operations. Supra, ¶ 103, 405.
   3           890. Defendant KINGSTON, at the direction of Defendants KORKMAZ
   4 and DERMEN, conducted numerous additional financial transactions, including a
   5 series of 2018 transactions, all of which exceeded $10,000, made when Defendant
   6 KINGSTON knowingly sent a total of $6 million from U.S. bank accounts held by
   7 Defendant WASHAKIE and Co-conspirator UNITED FUEL SUPPLY to accounts
   8 controlled by Defendant KORKMAZ in Turkey, including Defendant
   9 KINGSTON’s personal account at Garanti bank and the account held by Co-
  10 conspirators BLANE AND STONE. Supra, 405.
  11           891. The Fraud Proceeds sent by Defendant KINGSTON were the only
  12 payments directed to Turkey by the Enterprise during that time period – a period
  13 when Defendants KORMAZ and BUGARAJ, on behalf of Defendants DERMEN
  14 and KINGSTON, were fully entrenched in their efforts to secure monetary
  15 settlements from Dr. Ayasli and control of Dr. Ayasli’s real estate through both its
  16 Fraud Proceeds-funded sham litigation and Defendant KORKMAZ’s extortionate
  17 communications with Dr. Ayasli and his associates.41 Supra, ¶ 405.
  18           892. Defendants DERMEN and KINGSTON, United States citizens, also
  19 have knowingly engaged, and aided, abetted, counseled, or caused the engaging in,
  20 a monetary transaction affecting international commerce by, though, or to a
  21 financial institution, involving property of a value greater than $10,000 that
  22 Defendants DERMEN and KINGSTON knew to have been criminally derived,
  23 with each transaction constituting a violation of Title 18, United States Code,
  24 Section 1957(a), (d)(2).
  25
  26      41
            Defendant KORKMAZ traveled to the United States in both February and March 2018 to
     secure an in-person meeting with Dr. Ayasli, outside the presence of counsel, to discuss a
  27 “settlement” in which Dr. Ayasli would pay him upwards of tens of millions of dollars in
  28 fraudulently asserted losses. Supra, ¶ 716-22, 731-52.

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   1        893. From 2013 through their arrests by federal authorities in 2018,
   2 Defendants DERMEN and KINGSTON regularly traveled to Turkey to assist with
   3 the oversight, implementation, and operation of the RICO Enterprise’s transnational
   4 money laundering operation, including trips in September 2013, January 2014,
   5 August 2014, June 2015, January 2016, fall 2017, and February 2018. This
   6 included not only directing “round trip” money laundering transactions, and money
   7 laundering transactions between the U.S. and Turkey, but also the purely foreign
   8 movement of Fraud Proceeds involving foreign financial institutions.
   9        894. For example, in June 2015, Defendant KINGSTON, at the direction of
  10 Defendants KORKMAZ and DERMEN, conducted a financial transaction in which
  11 the $10 million that previously was laundered into Defendant KINGSTON’S
  12 Garanti account through a transnational transaction involving Defendant
  13 WASHAKIE, was then used to conduct a separate, purely foreign transaction
  14 through which Defendant KINGSTON, again at Defendants KORKMAZ and
  15 DERMEN’s direction, sent $10 million to fund Defendant MEGA VARLIK.
  16        895. Defendants KORKMAZ and KINGSTON, through Defendant MEGA
  17 VARLIK, latter employed these funds, or others with which were comingled, to
  18 acquire BoraJet’s $5,300,000 Odea Bank loan obligation at a purported cost of
  19 $5,7000,0000, which Dr. Ayasli was required to payoff at the cost of $5,8000,0000.
  20 Supra, ¶ 624-31.
  21             Predicate Acts of Hobbs Act Extortion (18 U.S.C. § 1951)
  22        896. At all times relevant to this Complaint, Dr. Ayasli, through his
  23 ownership of BoraJet and his other companies, charities and real estate holdings,
  24 was engaged in interstate or foreign commerce and in industries that affect
  25 interstate and foreign commerce.
  26        897. Beginning no later than December 2016, lasting over the course of
  27 years, and as reflected through multiple acts, Defendants KORKMAZ, DERMEN,
  28 KINGSTON and BUGARAJ, aided and abetted by Defendants AKOL and

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   1 OZKARAMAN, attempted to obstruct, delay and affect, and, in fact, did unlawfully
   2 obstruct, delay and affect commerce, through use of actual or threatened force,
   3 violence or fear, or under color of official right, as referenced in Title 18, United
   4 States Code, Section 1951, and the movement of articles and commodities in such
   5 commerce, by extortion, as that term is defined in Section 1951, in that the RICO
   6 Defendants attempted to compel Dr. Ayasli to relinquish his property, to include
   7 tens of millions of dollars in funds and commercial and residential real estate
   8 valued at approximately $150 million, through the wrongful use of actual and
   9 threatened force, violence, and fear, including fear of economic harm.
  10         898. In 2016, Defendants KORKMAZ, DERMEN and KINGSTON
  11 unleashed the first salvo in its long running extortion campaign to deprive Dr.
  12 Ayasli of business and property, when it implemented its plan to devalue and
  13 destabilize BoraJet, and thereby facilitate its takeover, through intensely
  14 inflammatory, and fundamentally false FETO claims that were the centerpiece of
  15 the Enterprise-Directed Disinformation Campaign. Supra, ¶ 538-53.
  16         899. Through the Enterprise-Directed Disinformation Campaign,
  17 Defendants KORKMAZ, DERMEN, and KINGSTON succeeded in creating
  18 treacherous business and personal environments for BoraJet and Dr. Ayasli. Supra,
  19 ¶ 554-58, 568-83.
  20         900. The false, terrorism-based claims were intended to, and in fact did,
  21 directly impact BoraJet’s ability to operate as an airline as major contracts were
  22 terminated, reliable lines of credit were closed, ridership dropped precipitously, and
  23 its value plummeted during the four month period in the fall of 2016 when Dr
  24 Ayasli and BoraJet were targeted by the Enterprise-Directed Disinformation
  25 Campaign. Supra, ¶ 568-83.
  26         901. Smaller scale operations, such as the Turkish offices of Dr. Ayasli’s
  27 U.S.-based charity Turkish Coalition of America, were forced to shut down
  28

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   1 operations due to the threats to its employees arising from the publication of these
   2 false, terrorism-based claims. Supra, ¶ 559-67.
   3         902. The Enterprise-Directed Disinformation Campaign posed a direct
   4 threat to Dr. Ayasli’s personal safety and freedom, initially causing him to leave
   5 Turkey in September 2016 and precluding his much needed return to help guide
   6 BoraJet through the torrent of false claims that cratered its value and threatened its
   7 continued existence. Supra, ¶ 554-58.
   8         903. Having spent over $27 million in U.S.-based funds in little more than
   9 three months to minimize the mounting financial challenges triggered by the
  10 Enterprise-Directed Disinformation Campaign and with no sign that these false
  11 attacks and attendant damage against BoraJet would cease as long as he owned the
  12 company, Dr. Ayasli was coerced in December 2016 to transfer ownership of both
  13 BoraJet and his XRS executive jet – assets in which he had invested approximately
  14 a quarter of a billion dollars – to Defendant BUGARAJ for only a contractual
  15 interest to 25 % of the net profits from a future sale of BoraJet. Supra, ¶ 582-83,
  16 599-607.
  17         904. After having succeeded in the scheme to extortionately acquire
  18 BoraJet, Defendants KORKMAZ, DERMEN and KINGSTON pursued additional
  19 extortion schemes to divest Dr. Ayasli of significant monetary funds and property
  20 though the weaponization of unfounded criminal allegations against Dr. Ayasli and
  21 his associates, the manipulation of accounts at financial institutions, the filing of
  22 sham lawsuits, and the use of threats of violence and actual violence.
  23         905. Within two months of acquiring BoraJet and during the period when
  24 the RICO Enterprise was acting to exploit its assets, Defendants KORKMAZ,
  25 DERMEN and KINGSTON, through Defendant BUGARAJ, successfully
  26 accelerated each of BoraJet’s loans that Dr. Ayasli had personally guaranteed,
  27 including loans that were Defendant BUGARAJ’s responsibility under the
  28 ownership agreement.

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   1         906. In the BUGARAJ/MEGA VARLIK Loan Acceleration Scheme, supra
   2 624-32, Defendant KORKMAZ, through Defendant BUGARAJ, successfully
   3 manipulated Odea bank into accelerating the $5,300,000 balance on the outstanding
   4 loan and then having that debt obligation assigned to Defendant MEGA VARLIK,
   5 which immediately placed liens on all of Dr. Ayasli’s commercial and residential
   6 real estate in Turkey. Upon threat of loss of that real estate – valued at
   7 approximately $150 million – Dr. Ayasli was forced to pay Defendant MEGA
   8 VARLIK $5,800,000 to pay off a $5,300,000 loan that was never in default, which
   9 he did on March 10, 2017.
  10         907. As Defendants KORMAZ, DERMEN and KINGSTON, through
  11 Defendant BUGARAJ, simultaneously were pursuing a series of similar loan
  12 acceleration schemes that threatened Dr. Ayasli’s holdings, Dr. Ayasli, was forced
  13 out of fear of significant financial loss, to prematurely pay off $20 million in
  14 outstanding loans held by BoraJet, which he did in March 2017, and approximately
  15 $3,200,000 following Defendant BUGARAJ’s default on BoraJet’s trade debts,
  16 which he did in March 2017. Supra, ¶ 632-41.
  17         908. The RICO Enterprise’s extortionate activities also extended to its
  18 efforts to extract tens of millions of dollars in additional U.S.-based funds from Dr.
  19 Ayasli and to acquire control of Dr. Ayasli’s extensive real estate holdings through
  20 sham litigation and other “settlement” demands and included, but were not limited
  21 to the following acts of violence, force, and intimidation designed to impose fear:
  22         a. In or about February 2017, Defendant KORKMAZ assaulted Defendant
  23            AKOL with an iron ashtray, at least in part, to intimidate him into
  24            assisting with the civil fraud claims that Defendants KORKMAZ and
  25            BUGARAJ would be bringing against Dr. Ayasli; Supra, ¶ 617, 751.
  26         b. On February 25, 2017, Defendant KORKMAZ initiated a series of text
  27            messages sent by WhatsApp phone messaging to Dr. Ayasli in the United
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   1          States in which he threatened Dr. Ayasli, Dr. Ayasli’s family, and several
   2          associates; Supra, ¶ 617.
   3       c. On March 13, 2017, Defendant KORKMAZ, through Defendant
   4          BUGARAJ, filed a sham civil fraud suit against Dr. Ayasli seeking
   5          approximately $72 million in damages related to its acquisition of
   6          BORAJET. As part of this suit, Defendant BUGARAJ unsuccessfully
   7          attempted to attach liens to all of Dr. Ayasli’s commercial and residential
   8          real estate in Turkey; Supra, ¶ 645-46.
   9       d. On March 18, 2017, Defendants KORKMAZ, AKOL, and
  10          OZKARAMAN attended a meeting at the offices of Dr. Ayasli’s attorney
  11          to advance Defendant BUGARAJ’s claims of fraud and to pursue
  12          settlement. At this meeting, Defendant KORKMAZ smashed a table,
  13          attempted to physically assault Ms. Uner, and verbally threatened Dr.
  14          Ayasli, his family, and Ms. Uner; Supra, ¶ 649-51.
  15       e. In April 2017, Defendant OZKARAMAN engaged in multiple threatening
  16          communications with Ms. Uner in efforts to secure her testimony against
  17          Dr. Ayasli, making clear that Dr. Ayasli and Ms. Uner faced potential
  18          criminal liability if Dr. Ayasli did not agree to a monetary settlement with
  19          Defendant KORKMAZ; Supra, ¶ 666-76.
  20       f. On May 5, 2017, Defendant KORKMAZ, through Defendant BUGARAJ,
  21          weaponized criminal charges and penalties when it filed an unfounded
  22          criminal complaint alleging Dr. Ayasli and Ms. Uner had engaged in
  23          aggravated fraud in connection with the BoraJet transaction; Supra, ¶
  24          663-65.
  25       g. On May 10, 2017, Defendant KORKMAZ surreptitiously attempted to
  26          contact and/or locate Ms. Uner by calling the Turkish Cultural Foundation
  27          under an assumed name and when unsuccessful in doing so, identified
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   1             himself while threatening to physically assault the individual with whom
   2             he was speaking; Supra, ¶ 677-81.
   3           h. On May 17, 2017, Defendant KORKMAZ elevated his weaponization of
   4             criminal charges and penalties when he personally filed a FETO-based
   5             terrorism complaint against Dr. Ayasli, Ms. Uner, Dr. Ayasli’s attorney in
   6             the civil suit, and Dr. Ayasli’s publicist responsible for countering the
   7             false FETO allegations. Defendant KORKMAZ well knew the FETO
   8             allegations were false but filed the complaint to ensure Dr. Ayasli would
   9             not return to Turkey to help defend his civil fraud suit, to frame Dr.
  10             Ayasli’s character in an exceptionally negative light, and to threaten the
  11             safety and liberty of individuals who were critical to Dr. Ayasli’s defense
  12             of his civil fraud suit;42 Supra, ¶ 657-62.
  13           i. In July 2017, Defendant KORKMAZ targeted former BoraJet General
  14             Manager Peker with physical and economic threats, thereby coercing Mr.
  15             Peker into providing sworn false testimony against Dr. Ayasli; Supra, ¶
  16             682-690.
  17           j. In late summer 2017, Defendant KORKMAZ, through Defendant
  18             BUGARAJ, sought to engage U.S.-based criminal authorities against Dr.
  19             Ayasli by “self-reporting” alleged OFAC violations involving BoraJet
  20             flights to Iran; Supra, ¶ 695-700.
  21           k. In late summer 2017, Defendant KORKMAZ reignited the Enterprise-
  22             Directed Disinformation Campaign, resulting in a new round of published
  23             articles falsely identify Dr. Ayasli as a FETO associate; Supra, ¶ 706-15.
  24
  25
  26      42
           While Dr. Ayasli and his associates were exonerated after full investigation by the
     government in both criminal matters, such exoneration did not come before Defendant
  27 KORKMAZ, through Defendant BUGARAJ, was able to secure a $90 million civil judgment
  28 against Dr. Ayasli at a hearing in which he was not present and not represented by counsel.

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   1       l. On October 5, 2017, Defendant KORKMAZ threatened Dr. Ayasli’s
   2          counsel before a hearing in the civil fraud proceedings that he was
   3          working to expose this attorney as a FETO associate; Supra, ¶ 726.
   4       m. In late November 2018, Defendant KORKMAZ offered $5 million in an
   5          unsuccessful attempt to bribe one of Dr. Ayasli’s attorneys into
   6          transferring all of Dr. Ayasli’s real estate to Defendant KORKMAZ;
   7          Supra, ¶ 729.
   8       n. In February 2018, Defendant KORKMAZ, in Utah, threatened harm to
   9          Professor Yavuz’s family in Turkey should Professor Yavuz not cease
  10          publicly defending Dr. Ayasli against the false FETO allegations
  11          advanced by Defendant KORKMAZ and not assist Defendant
  12          KORKMAZ in securing Dr. Ayasli’s presence at a one-on-one meeting
  13          that Defendant KORKMAZ to address Defendant KORKMAZ’s financial
  14          demands; Supra, ¶ 731-53.
  15       o. In March 2018, Defendant KORKMAZ sent a series of text messages by
  16          WhatsApp phone messaging to Dr. Ayasli in the United States in which
  17          Defendant KORKMAZ attempted to compel Dr. Ayasli to meet him in the
  18          United States outside the presence of counsel to address their dispute;
  19          Supra, ¶ 716-722.
  20       p. On February 14, 2019, two weeks before a hearing in the civil fraud
  21          proceedings in which the court was to consider expert valuation reports,
  22          the attorney against whom Defendant KORKMAZ had filed FETO
  23          terrorism charges and whom he had threatened to unmask as FETO before
  24          the October 5, 2017 court hearing, was arrested on FETO charges and had
  25          his law office searched in connection with this Terrorism Investigation.
  26          Although subsequently released, this attorney did not appear on Dr.
  27          Ayasli’s behalf at the court hearing resulting in a $90 million judgment
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   1            being issued against Dr. Ayasli at a hearing in which he was not able to
   2            participate and lacked representation; Supra, ¶ 754-55, 760-61.
   3         q. In connection with this judgment, Defendant KORKMAZ secured liens
   4            on all of Dr. Ayasli’s commercial and real property in Turkey. Defendant
   5            KORKMAZ since acquired one property through auction in 2020 and
   6            attempted to similarly acquire a second property in May 2021. Supra, ¶
   7            761, 765-774.
   8         909. Defendants KORKMAZ and BUGARAJ’s repeated acts and threats of
   9 violence and his propagation of unfounded criminal claims against Dr. Ayasli were
  10 tied to a common end purpose: to force Dr. Ayasli to meet the Enterprise’s
  11 extortionate demands for the payment of millions of dollars held by Dr. Ayasli in
  12 the U.S. and to force him to forfeit ownership of his commercial and real property.
  13         910. To date, Defendants KORKMAZ’ and BUGARAJ’s extortionate
  14 actions have both caused Dr. Ayasli to credibly and reasonably fear physical and
  15 economic harm and to actually experience multiple forms of economic harm, as
  16 addressed above.
  17          Predicate Acts involving Travel Act Violations (18 U.S.C. § 1952)
  18         911. Defendants KORKMAZ, DERMEN and KINGSTON committed
  19 multiple Travel Act violations, prohibited under Title 18, United States Code,
  20 Section 1952, when they: (1) traveled in interstate or foreign commerce or used
  21 facilities of interstate commerce, including telephones; (2) with the intent to
  22 commit or otherwise promote, manage, establish or carry on unlawful acts, namely,
  23 obstruction of justice, in violation of Title 18, United States Code, Section 1512,
  24 Hobbs Act extortion, in violation of Title 18, United States Code, Section 1951, and
  25 money laundering, in violation of Title 18, United States Code, Sections 1956 and
  26 1957 and (3) then did, or attempted to do, an act that promoted, managed,
  27 established, or facilitated the unlawful act.
  28

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   1         912. In April 2019, Defendant KORKMAZ flew to the State of Utah for the
   2 purpose of obstructing the U.S. government’s mail fraud and money laundering
   3 investigation into Defendants DERMEN, KINGSTON and ISAIAH KINGSTON.
   4 Upon arriving for his interview, Defendant KORKMAZ made a series of materially
   5 false statements to federal agents in an effort to hinder the government’s
   6 investigation. Supra, ¶ 466-73. Through this act of willful obstruction, Defendant
   7 KORKMAZ precluded the U.S. government from obtaining an understanding of the
   8 full scope the money laundering operations conducted by Defendants KORKMAZ,
   9 DERMEN, KINGSTON and ISAIAH KINGSTON in the United States, Turkey,
  10 and elsewhere, which remained ongoing, and which included the repeated use of
  11 laundered funds to deprive Dr. Ayasli of money and property.
  12         913. From February 2017 to September 2017, Defendant KORKMAZ used
  13 a facility of interstate commerce, namely, a cellphone, with the intent to extort tens
  14 of millions of dollars of Dr. Ayasli’s U.S.-based wealth, to send from a location
  15 outside the United States more than 100 text messages received by Dr. Ayasli in the
  16 United States that threatened harm to Dr. Ayasli, his children, and his close
  17 associates, as well as the release of additional FETO-related claims, should Dr.
  18 Ayasli not meet the RICO Enterprise’s extortionate demands. Supra, ¶ 615-19.
  19         914. Through a series of trips beginning in September 2013 and extending
  20 through February 2018, Defendants KINGSTON and DERMEN traveled from the
  21 United States to Turkey with the intent initially of establishing, and then
  22 maintaining, under Defendant KORKMAZ’S oversight, the Enterprise’s cross-
  23 border money laundering operations in Turkey and Luxembourg. This includes the
  24 following instances of travel, each of which constitutes a separate violation and
  25 therefore a separate racketeering act for the involved parties:
  26               a. In September 2013, Defendants DERMEN and KINGSTON
                      traveled to Turkey to meet with Defendant KORKMAZ to address
  27
                      the expansion of the Enterprise’s money laundering operations, and
  28

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   1                as part of the discussions that followed, agreed to launder $9
                    million through Co-conspirator KOMAK;
   2
   3             b. In January 2014, Defendants DERMEN and KINGSTON traveled
                    to Turkey to meet with Defendant KORKMAZ to address the
   4
                    founding of a bank, at which time they set forth the creation of
   5                Defendant MEGA VARLIK, agreed that it would be funded using
                    Fraud Proceeds sent from the United States, and that it would be
   6
                    used by Defendant KORKMAZ to facilitate Defendant
   7                KORKMAZ’s ability to acquire distressed assets as part of the
                    Enterprise’s money laundering scheme. Consistent with this plan,
   8
                    Defendant KINGSTON completed documentation necessary to
   9                open this bank and through a series of laundering transactions in
  10                March 2014 and June 2015, funded Defendant MEGA VARLIK
                    with $10 million in Fraud Proceeds;
  11
  12             c. In August 2014, Defendants DERMEN and KINGSTON traveled
                    to Turkey to meet with Defendant KORKMAZ to address their
  13                ongoing money laundering operation, at which time they reviewed
  14                the sum total of payments laundered through Turkey to that date
                    and made plans regarding future laundering activities;
  15
  16             d. In June 2015, Defendants DERMEN and KINGSTON traveled to
                    Turkey to meet with Defendant KORKMAZ to address matters
  17                related to the Enterprise’s ongoing money laundering operations,
  18                which included additional planned transactions through Turkey
                    such as a $200,000 payment that Defendant ISAIAH KINGSTON
  19                would make to an Enterprise-controlled bank account later that
  20                month;

  21             e. In January 2016, Defendant KINGSTON traveled to Turkey to
  22                meet with Defendants KORKMAZ and DERMEN to address the
                    Enterprise’s ongoing money laundering operation, at which time
  23                they discussed the need to create false documents to bolster the
  24                “cycling” of fuel shipments that created a veneer of legitimacy to
                    the Enterprise’s mail fraud scheme and Defendant KINGSTON
  25                signed a bogus contract between Defendant WASHAKIE and Co-
  26                conspirators KOMAK and SPEEDY LION to provide coverage for
                    the ongoing money laundering between the companies;
  27
  28

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   1               f. In the fall of 2017, Defendant KINGSTON traveled to Turkey to
                      meet with Defendants KORKMAZ and DERMEN to address the
   2
                      Enterprise’s ongoing money laundering operations, at which time
   3                  they discussed Defendant DERMEN’s flight to Turkey following
                      the execution of search warrants at his residence and businesses,
   4
                      how long Defendant DERMEN would remain in Turkey, and what
   5                  steps should be taken to maintain the Enterprise’s money
                      laundering operations moving forward; and
   6
   7               g. In February of 2018, Defendant KINGSTON traveled to Turkey to
                      meet with Defendant KORKMAZ to address the continuation of the
   8
                      Enterprise’s money laundering operations, at which time
   9                  Defendants KORKMAZ and KINGSTON discussed the payments
  10                  that Defendant KINGSTON would be called on to send to
                      Defendant KORKMAZ that year.
  11
  12        915. These acts of travel were instrumental to the ongoing implementation

  13 and execution of the Enterprise’s ongoing transnational money laundering
  14 operations. As addressed throughout this Complaint, the funds laundered into
  15 Turkey funded the RICO Enterprise’s takeover of BoraJet, its looting of BoraJet’s
  16 assets, including but not limited to the $5,300,000 loan that Defendant MEGA
  17 VARLIK accelerated at a payment amount of $5,800,000, and the funding of sham
  18 litigation through which Defendants KORKMAZ and BUGARAJ have sought to
  19 extorts tens of millions of dollars in additional funds from Dr. Ayasli’s U.S.-based
  20 accounts as well as acquire, or liquidate, Dr. Ayasli’s property holdings throughout
  21 Turkey.
                      Predicate Acts of Wire Fraud (18 U.S.C. § 1343)
  22
  23        916. The RICO Enterprise also conspired to, and did in fact, engage in

  24 multiple acts of wire fraud as they targeted Dr. Ayasli’s business and property.
  25 Defendant KORKMAZ, on behalf of Defendants DERMEN and KINGSTON, and
  26 aided and abetted by Defendants AKOL and OZKARAMAN, knowingly, and with
  27 intent to defraud, devised a series of related schemes to fraudulently obtain Dr.
  28 Ayasli’s money and property by means of false and fraudulent pretenses,

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   1 representations, and promises, as well as the knowing concealment of material
   2 facts, and used wires in interstate and international commerce to do so, as
   3 prohibited under Title 18, United States Code, Section 1343.
   4         917. As addressed above, the principal scheme focused on the acquisition of
   5 BoraJet, which itself involved separate schemes to devalue the airline through the
   6 Enterprise-Directed Misinformation Campaign and then to deceive Dr. Ayasli into
   7 believing both that the RICO Enterprise’s offer was the best available and that
   8 Defendant KORKMAZ’S representations regarding future investment, his intent
   9 and ability to stabilize BoraJet, and his intent to then quickly sell BoraJet at a profit
  10 in which Dr. Ayasli would share were credible.
  11         918. As addressed throughout this Complaint, the Enterprise’s execution of
  12 the first step of this scheme – the devaluation and destabilization of BoraJet -- was
  13 devastatingly effective. Capitalizing on the fervent anti-FETO sentiment that
  14 marked the immediate aftermath of the 2016 coup attempt, Defendants
  15 KORKMAZ, on behalf of Defendants DERMEN and KINGSTON. planted stories
  16 for internet publication at several major news platforms in the fall of 2016 that were
  17 transmitted, or caused to be transmitted, by means of wire communication in
  18 interstate or foreign commerce, including into the United States, and that contained
  19 multiple misrepresentations falsely associating Dr. Ayasli with FETO, falsely
  20 claiming that he created the Bylock communication device, and falsely claiming
  21 that BoraJet’s planes and hangers facilitated the failed coup attempt. Supra, ¶ 538-
  22 553.
  23         919. These fraudulent statements, which were known by Defendants
  24 KORKMAZ, DERMEN, and KINGSTON to be false and which were advanced by
  25 Defendant KORKMAZ with the specific intent to deceive, succeeded in their
  26 purpose, causing BoraJet’s business, contracts, accounts, and valuation to crater,
  27 and forcing BoraJet and Dr. Ayasli into a manufactured state of acute financial
  28 distress. Supra, ¶ 568-83.

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   1         920. The RICO Enterprise’s weaponization of these false FETO charges
   2 had the additional impact of achieving essentially the banishment of Dr. Ayasli
   3 from Turkey. This precluded Dr. Ayasli from effectively rebutting the false FETO
   4 claims, stabilizing BoraJet, and/or from participating directly in the negotiation
   5 process through which competing suitors were closely analyzed. Supra, ¶ 554-58.
   6         921. This allowed for the second phase of materially misrepresentations and
   7 fraudulent omissions to be equally as effective.
   8         922. As Dr. Ayasli was tied to the U.S., he had to delegate in-person
   9 negotiation and principal due diligence responsibilities to Defendant AKOL. Supra,
  10 ¶ 584-601.
  11         923. Dr. Ayasli did not directly communicate with Defendant KORKMAZ
  12 and relied considerably upon Defendant AKOL’s recounting of the negotiation
  13 terms and his assessments of all competing offers. Supra, ¶ 586, 598.
  14         924. The use of the wires throughout the deal process was not only
  15 reasonably foreseeable, it was also absolutely necessary, which Defendants
  16 KORKMAZ, BUGARAJ, AKOL, and OZKARAMAN well knew.
  17         925. During the negotiation phase, Defendants KORKMAZ, BUGARAJ
  18 and OZKARAMAN, on behalf of RICO Enterprise, made multiple material
  19 misrepresentations and omissions designed to fraudulently deceive Dr. Ayasli into
  20 parting with BoraJet under the exceptionally favorable conditions sought by the
  21 RICO Enterprise.
  22         926. As recounted by Defendant AKOL, these representations included, but
  23 were not limited to, assertions that (1) Defendant KORKMAZ was a distressed
  24 property investor; (2) Defendant KORKMAZ was a well regarded businessman in
  25 Ankara; (3) the BoraJet acquisition would involve Defendant KORKMAZ infusing
  26 BoraJet with $50 million in new working capital; (4) that Defendant KORKMAZ
  27 would access his high-ranking contacts within the Ministry of Transportation to
  28 secure for BoraJet highly desirable space at Istanbul’s new airline terminal; (5) that

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   1 Defendant BUGARAJ planned to conduct a quick turnaround and resale of BoraJet
   2 to an established carrier or investor; and (6) that Dr. Ayasli would share in 25 % of
   3 the net profits of this sale. Each representation was false. Supra, ¶ 589, 593, 596-97.
   4         927. Defendants KORKMAZ, BUGARAJ, and OZKARAMAN, also
   5 materially omitted that, while Defendant BUGARAJ was the acquiring party,
   6 BoraJet was actually being acquired by a criminal Enterprise, that the Enterprise’s
   7 actual plan was not to infuse BoraJet with the adequate working capital needed to
   8 restabilize the company but rather to use it as a vehicle through which to launder a
   9 portion of the Fraud Proceeds, that Defendant KORKMAZ, through Defendant
  10 BUGARAJ, intended to accelerate portions of debt guaranteed by Dr. Ayasli under
  11 the December 2016 Agreement, that the RICO Enterprise intended to “gut” rather
  12 than “flip” the airline, and that there was no intent to follow through with a sale that
  13 would allow Dr. Ayasli to ever profit from this transaction.
  14         928. Through e-mails and telephone calls that Defendant AKOL had with
  15 Dr. Ayasli during the two-month negotiation period transpiring in November and
  16 December 2016, Defendant AKOL also misrepresented the lack of interest of other
  17 suitors for BoraJet, the nature of his relationship with Defendant KORKMAZ, and
  18 his purported assessment that Defendant BUGARAJ’s offer was “better, faster, and
  19 safer” and would not come with any “additional costs.” Supra ¶ 597.
  20         929. Based on these representations, Dr. Ayasli, in fact, was defrauded into
  21 entering the agreement to sell BoraJet and Aydin Jet to Defendant BUGARAJ at a
  22 greatly reduced price and to far less advantageous terms than were available in a
  23 competing offer.
  24         930. The agreement was finalized on December 29, 2016 and executed via
  25 wire sent through interstate and foreign commerce from Dr. Ayasli in the United
  26 States to Defendants KORKMAZ and BUGARAJ, in Turkey. Supra, ¶ 604, 607.
  27         931. Following this acquisition, the RICO Enterprise advanced the related
  28 scheme to secure additional payments and property from Dr. Ayasli through a series

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   1 of material misrepresentations sent by Defendant KORKMAZ, on behalf of
   2 Defendant BUGARAJ, in interstate and foreign commerce regarding outstanding
   3 amounts purportedly owed by Dr. Ayasli under the December 2016 Agreement, and
   4 the amounts purportedly invested by Defendant BUGARAJ into BoraJet.
   5         932. For example, in the BUGARAJ/MEGA VARLIK Loan Acceleration
   6 Scheme, Defendant KORKMAZ, acting through Defendants BUGARAJ and
   7 MEGA VARLIK, demanded immediate payment of $5,800,000 to pay off a
   8 $5,300,000 debt obligation that was accelerated despite not being in default. In
   9 doing so, Defendant MEGA VARLIK materially omitted any reference to the fact
  10 that it was not a bank that purchased the debt obligation in a neutral transaction but
  11 rather was an Enterprise founded, funded and controlled entity operating under the
  12 concealed leadership of Defendant KORKMAZ. Supra, ¶ 624-32.
  13         933. Dr. Ayasli, therefore, lacked the critical information that would allow
  14 him to pursue a meritorious challenge to this demand.
  15         934.   Unable to challenge this demand, Dr. Ayasli, on March 10, 2017
  16 wired the $5,800,000 payment from his account in the United States to Defendant
  17 MEGA VARLIK’s account in Turkey, thereby extinguishing an undue debt at a
  18 $500,000 markup. Supra, ¶ 632.
  19         935. On March 17, 2017, in an effort to extract a $10 million payment,
  20 Defendant KORKMAZ, through WhatsApp text messages sent from outside the
  21 United States to Dr. Ayasli’s phone within the United States, knowingly and with
  22 intent to deceive, falsely represented that he had sustained losses of “83 mil dollars”
  23 and would proceed against Dr. Ayasli for the full amount and “take a cautionary
  24 judgment against all of your assets” if Dr. Ayasli did not meet his $10 million
  25 settlement demand. Supra, ¶ 716-721.
  26         936. On May 8, 2017, Defendant KORKMAZ, through WhatsApp text
  27 messages sent from outside the United States to Dr. Ayasli’s phone within the
  28 United States, knowingly and with intent to deceive, continued in his efforts to

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   1 extract a settlement from Dr. Ayasli, by misrepresenting that he succeeded in
   2 having “the tax evasion case from 2013 [] reopened.”
   3         937. On March 26, 2018, Defendant KORKMAZ, through WhatsApp text
   4 messages sent from outside the United States to Dr. Ayasli’s phone within the
   5 United States, knowingly and with intent to deceive, demanded an immediate
   6 “settlement” from Dr. Ayasli premised on what he represented was an impending
   7 suspension of BoraJet’s flight license that would increase the damages in the
   8 BoraJet litigation to “$150 mil dollars.”
   9         938. During the ensuing WhatsApp text conversations that occurred
  10 through April 11, 2018, Defendant KORKMAZ, knowingly and with intent to
  11 deceive, sought to entice Dr. Ayasli to meet with him in person, outside the
  12 presence of counsel, in Massachusetts so that Defendant KORKMAZ could extract
  13 a settlement.
  14         939. In doing so, Defendant KORKMAZ, knowingly and with intent to
  15 deceive, repeatedly made misrepresentations minimizing the physical threat that Dr.
  16 Ayasli would face by attending this meeting and further claiming that his intentions
  17 in acquiring BoraJet were, as represented at the time of the December 29, 2016
  18 acquisition, to stabilize and then sell BoraJet.
  19         940. On each such occasion, the RICO Defendant(s) participated in the
  20 scheme knowingly, willfully, and with the specific intent to deceive and/or defraud
  21 Dr. Ayasli, initially to sell BoraJet at a significantly reduced price, and later to
  22 secure his agreement to pay the claimed outstanding balances using additional cash
  23 from his U.S. bank accounts to the RICO Defendants and the RICO Enterprise as a
  24 whole.
  25         941. Each statement that the RICO Defendants transmitted over the wires
  26 related to a fact material to the allegations made in this Complaint, and was either
  27 (a) known by the RICO Defendants to be untrue either directly or by omission; or
  28 (b) made with reckless indifference to their truth or falsity; or (c) although not itself

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   1 deceptive, was sent with the purpose of assisting, carrying out, furthering or
   2 perpetuate the fraud.
   3                                 PRAYER FOR RELIEF
   4        942. As a direct, proximate, and reasonably foreseeable result of the RICO
   5 Enterprise’s commission of a pattern of racketeering activity, Dr. Ayasli has been
   6 injured in his business and property. Such injuries, include, but are not limited to:
   7        (1) the loss of Dr. Ayasli’s investment in BoraJet and Aydin Jet, valued at
   8        approximately a quarter of a billion dollars;
   9        (2) the loss as determined in difference between his investment and the
  10        appraised value of BoraJet immediately before the RICO Enterprise used
  11        laundered funds to conduct its disinformation campaign against Dr. Ayasli
  12        and BoraJet, significantly devaluing BoraJet;
  13        (3) the loss to Dr. Ayasli of his Nuruosmaniye property, which the RICO
  14        Enterprise liquidated in 2020;
  15        (4) the money expended by Dr. Ayasli to undue the RICO Enterprise’s
  16        fraudulent transfer of Dr. Ayasli’s Ortakoy family residence, artwork, and
  17        furniture in 2021;
  18        (5) the money expended by Dr. Ayasli to counter sham lawsuits filed by the
  19        RICO Enterprise as part of its ongoing efforts to extort additional money
  20        from Dr. Ayasli and to liquidate additional commercial and residential real
  21        estate owned by Dr. Ayasli;
  22        (5) the money expended by Dr. Ayasli to banks to pay off accelerated loan
  23        obligations artificially triggered by the RICO Enterprise’s extortionate efforts
  24        to secure additional capital or property from Dr. Ayasli;
  25        (8) losses incurred due to the disruption of Dr. Ayasli’s other business
  26        interests in Turkey as a result of having been targeted by the RICO
  27        Enterprise;
  28        (9) the reputational harm and lost goodwill to Dr. Ayasli as a result of having

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   1         been publicly accused by the RICO Enterprise in a sham court filing of being
   2         associated with FETO as part of its efforts to secure a litigation advantage;
   3         and
   4         (10) all attorney’s fees and costs incurred by Dr. Ayasli.
   5         943. The injuries and damages to Dr. Ayasli’s business and property, the
   6 full extent of which will be determined at trial, well exceed this Court’s
   7 jurisdictional minimum. Such damages will continue to accrue until the RICO
   8 Enterprise’s actions directed at him, which remain ongoing, are terminated.
   9         944. Pursuant to Title 18, United States Code, Section 1962(c), Dr. Ayasli
  10 is entitled to recover treble damages, costs, attorney’s fees, and both prejudgment
  11 and post judgment interest from the RICO Defendants.
  12         945. Dr. Ayasli’s recovery of damages under this statute is joint and several
  13 against one or more of the RICO Defendants.
  14                            SECOND CLAIM FOR RELIEF
  15                        (RICO Conspiracy, 18 U.S.C. § 1962(d))
  16                                     (All Defendants)
  17         946. Dr. Ayasli realleges and incorporates herein by reference each and
  18 every foregoing paragraph of this Complaint as if set forth in full.
  19         947. Defendants KORKMAZ, DERMEN, KINGSTON, ISAIAH
  20 KINGSTON, AKOL, YILMAZ, ZOUBKOVA, OZKARAMAN,WASHAKIE,
  21 SBK TURKEY, SBK USA, BUKOMBIN, BUGARAJ, MEGA VARLIK, NOIL
  22 ENERGY, SPEEDY LION, GT ENERGY, UNITED FUEL SUPPLY, ISANNE,
  23 BIOFARMA, BLANE, STONE, and KOMAK (“RICO Co-conspirators”), and
  24 others, unlawfully and knowingly combined, conspired, confederated, and agreed to
  25 violate Title 18, United States Code, Section 1962(c), that is, to conduct and
  26 participate, directly and indirectly, in the conduct of the affairs of the enterprise
  27 through a pattern of racketeering activity, as described more fully in paragraphs 775
  28

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   1 to 799. This agreement constitutes a violation of Title 18, United States Code,
   2 Section 1962(d).
   3         948. The RICO Co-conspirators are a group of persons associated together
   4 in fact for the common purpose of achieving the objectives of the enterprise (the
   5 “RICO Enterprise”).
   6         949. The RICO Enterprise engaged in, or had some effect on, interstate or
   7 foreign commerce.
   8         950. The RICO conspiracy originated in the United States by no later than
   9 2011 and remains ongoing.
  10         951. The RICO Enterprise operates within Los Angeles County, within the
  11 Central District of California, within the District of Utah, and internationally,
  12 principally in the Republic of Turkey.
  13         952. Each RICO Co-conspirator knowingly joined the conspiracy by
  14 indicating through words or actions an agreement to facilitate the affairs of the
  15 RICO Enterprise.
  16         953. Each of the RICO Co-conspirators agreed that a co-conspirator would
  17 participate in the operation and management of the RICO Enterprise by committing
  18 at least two acts of racketeering activity in the conduct of the affairs of the
  19 Enterprise.
  20         954. In furtherance of the RICO conspiracy, RICO Defendants
  21 KORKMAZ, DERMEN, KINGSTON, ISAIAH KINGSTON, AKOL,
  22 OZKARAMAN, WASHAKIE, SBK TURKEY, SBK USA, BUGARAJ, and
  23 MEGA VARLIK knowingly committed racketeering activity that included, but was
  24 not limited to, acts of mail fraud, wire fraud, money laundering, obstruction of
  25 justice, Hobbs Act Extortion, and Travel Act violations, including those acts
  26 specifically set forth in paragraphs 800 to 941.
  27         955. Also, in furtherance of the RICO Conspiracy, RICO Co-conspirators
  28 YILMAZ, ZOUBKOVA, BUKOMBIN, NOIL ENERGY, SPEEDY LION, GT

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   1 ENERGY, UNITED FUEL SUPPLY, ISANNE, BIOFARMA, BLANE, STONE
   2 and KOMAK agreed to facilitate and further the actions of one or more of the
   3 RICO Defendants.
   4         956. Over the course of, and as part of, the RICO conspiracy, the RICO
   5 Enterprise has directed, and continues to direct, racketeering activity against Dr.
   6 Ayasli as part of its ongoing efforts to deprive him of his business and property.
   7         957. This first included a series of racketeering acts designed to devalue
   8 BoraJet and to allow the RICO Enterprise to acquire BoraJet and Aydin jet at well
   9 below their appraised value, later extended to the RICO Enterprise’s use of BoraJet
  10 as a money laundering vessel rather than a viable airline, which caused the airline to
  11 implode and deprived Dr. Ayasli of his contracted property interest to 25% of the
  12 net profits from a future sale, and has continued with the exploitation of BoraJet’s
  13 assets and efforts to extort and defraud Dr. Ayasli of tens of millions of dollars in
  14 additional funds and to acquire up to $150 million of commercial and residential
  15 real estate owned by him.
  16                                PRAYER FOR RELIEF
  17         958. As a direct, proximate, and reasonably foreseeable result of the RICO
  18 Co-conspirators agreement, as effectuated in the acts of racketeering activity
  19 committed by the RICO Enterprise, Dr. Ayasli has been injured in his business and
  20 property by:
  21         (1) the loss of Dr. Ayasli’s investment in BoraJet and Aydin Jet, valued at
  22         approximately a quarter of a billion dollars;
  23         (2) the loss as determined in difference between his investment and the
  24         appraised value of BoraJet immediately before the RICO Enterprise used
  25         laundered funds to conduct its disinformation campaign against Dr. Ayasli
  26         and BoraJet, significantly devaluing BoraJet;
  27         (3) the loss to Dr. Ayasli of his Nuruosmaniye property, which the RICO
  28         Enterprise liquidated in 2020;

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   1        (4) the money expended by Dr. Ayasli to undue the RICO Enterprise’s
   2        fraudulent transfer of Dr. Ayasli’s Ortakoy family residence, artwork, and
   3        furniture in 2021;
   4        (5) the money expended by Dr. Ayasli to counter sham lawsuits filed by the
   5        RICO Enterprise as part of its ongoing efforts to extort additional money
   6        from Dr. Ayasli and to liquidate additional commercial and residential real
   7        estate owned by Dr. Ayasli;
   8        (5) the money expended by Dr. Ayasli to banks to pay off accelerated loan
   9        obligations artificially triggered by the RICO Enterprise’s extortionate efforts
  10        to secure additional capital or property from Dr. Ayasli;
  11        (8) losses incurred due to the disruption of Dr. Ayasli’s other business
  12        interests in Turkey as a result of having been targeted by the RICO
  13        Enterprise;
  14        (9) the reputational harm and lost goodwill to Dr. Ayasli as a result of having
  15        been publicly accused by the RICO Enterprise in a sham court filing of being
  16        associated with FETO as part of its efforts to devalue BoraJet; and
  17        (10) all attorney’s fees and costs incurred by Dr. Ayasli.
  18        959. The injuries and damages to Dr. Ayasli’s business and property, the
  19 full extent of which will be determined at trial, well exceed this Court’s
  20 jurisdictional minimum. Such damages will continue to accrue until the RICO
  21 Enterprise’s actions directed at him, which remain ongoing, are terminated.
  22        960. Pursuant to Title 18, United States Code, Section 1964(c), Dr. Ayasli
  23 is entitled to recover treble damages, costs, attorney’s fees, and both prejudgment
  24 and post judgment interest from the RICO Co-conspirators.
  25        961. Dr. Ayasli’s recovery of damages under this statute is joint and several
  26 against one or more of the RICO Co-conspirators.
  27
  28

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   1                                THIRD CLAIM FOR RELIEF
   2                                  (Violations of RSA 358:A)
                                           (All Defendants)
   3
             962. Dr. Ayasli repeats and incorporates his allegations contained in the
   4
       preceding paragraphs of this Complaint.
   5
             963. Defendants are natural persons and/or legal entities and are therefore
   6
       “persons” as defined under the New Hampshire Consumer Protection Act. See
   7
       RSA 358-A:1, I (2004) (“‘Person’ shall include, where applicable, natural persons,
   8
       corporations, trusts, partnerships, incorporated or unincorporated associations, and
   9
       any other legal entity”).
  10
             964. Defendants acted in trade or commerce by seeking to purchase assets
  11
       owned by a resident of the State of New Hampshire, and by doing so, participated
  12
       in trade or commerce directly or indirectly affecting a New Hampshire citizen. See
  13
       RSA 358-A:1, II (“‘Trade’ and ‘commerce’ shall include the advertising, offering
  14
       for sale, sale, or distribution of any services and any property, tangible or
  15
       intangible, real, personal or mixed, and any other article, commodity, or thing of
  16
       value, wherever situate, and shall include any trade or commerce directly or
  17
       indirectly affecting the people of this state.”)
  18
             965. Defendants committed acts in violation of 358-A:2 by causing
  19
       likelihood of confusion or of misunderstanding as to the affiliation, connection or
  20
       association with another. See 358-A:2(III).
  21
             966. Defendants committed acts in violation of 358-A:2 by representing
  22
       that that a person (Dr. Ayasli) has a status, affiliation or connection (with FETO)
  23
       that Dr. Ayasli does not have. See 358-A:2(V).
  24
             967. Defendants committed acts in violation of 358-A:2 by disparaging Dr.
  25
       Ayasli’s businesses by false or misleading representations of fact. See 358-
  26
       A:2(VIII).
  27
  28

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   1        968. Defendants committed acts in violation of 358-A:2 that are both
   2 unlawful and offends public policy as established by statutes and common law such
   3 that it is within the penumbra of established concepts of unfairness.
   4        969. Defendants’ conduct was objectionable and attained a level of rascality
   5 that would raise an eyebrow of someone inured to the rough and tumble of the
   6 world of commerce.
   7        970. Dr. Ayasli suffered actual damages as the result of Defendants’ acts
   8 and conduct.
   9        971. Because Defendants’ acts and conduct were willful and knowing, Dr.
  10 Ayasli is entitled to multiplication of his damages. 358-A:10
  11        972. Dr. Ayasli is also entitled to his reasonable attorney’s fees and costs.
  12 Respectfully submitted,
  13                                         DR. YALCIN AYASLI
  14                                         By His Attorneys,
  15
                                             MCGUIREWOODS LLP
  16
  17                                     By: /s/ Kevin M. Lally              .
                                            Kevin M. Lally, Esq. (CA Bar No. 226402)
  18                                        355 South Grand Avenue, Suite 4200
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  21                                         SHEEHAN PHINNEY, PA
  22
  23
                                         By: /s/ Robert H. Miller                  .
  24                                        Robert H. Miller, Esq.
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  26                                        603-627-8145
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  27
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   1                                                      VERJFJCATION

   2                     l, Yalcin Ayasti. declare as follows:
                         l.      lam the Plaintiff in the present case and a citizen of the Uniced States of America.
   3
                  1 have reviewed the forego ing First Amended Complaint and deda~e under penalty of perjury that
   4
                  it is true and correct to the best ofmy knowledge and information.
   5
   6                     Executed on:

   7

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